Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 1 of 291

 

 

, UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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a Ae of each plaintiff. (include case number {if one has-been _

assigned}

 

 

against AMENDED

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Write ‘the full name of ‘each defendant. If fou need maté -
space, please write “see attached” in the space above and | 05 tet fe bl seg
attach an additional sheet of paper with the full list of

names. The names listed above must be identical to those le
contained in Section ll.

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore nat contain: an individual's full social security number or full
birth date; the full name of a person known to be a minor; or a complete financia! account
number. A filing may include only: the last four digits of a social security number; the year of

an individual's birth; a minor’s initials; and the last four digits of a financial account number,
See Federal Rule of Civil Procedure 5.2.

 

 

 

i Rev. 2/10/17
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 2 of 291

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power}. Generally, only two types of
cases can be heard in federal court: cases involving a federai question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?

pxhederal Question
{] Diversity of Citizenship
A. If you checked Federal Question

Mc Which of your federai constitutional or federal statutory rights have been violated?
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1. Citizenship of the parties
Of what State is each party a citizen?

The plaintiff #4 Sat Ie . , is a citizen of the State of
f (Plaintiff's narne}

 

 

(State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

| if more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2

 
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 3 of 291

if the defendant is an individual:

The defendant, Y A Or Sf (- Ceo J, Vo. , is a citizen of the State of

efendant’s name)

 

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

if the defendant is a corporation:

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The seiendan tg (6/4, Ce. offs CC , is incorporated under the laws of

the State of FA om eR
and has its principal place of business in the State of Ay Ga fe va 7) C4

or is incorporated under the laws of (foreign state)

and has its principal place of business in Ped Ake /) Gy
ood 7

f more than one defendant is named in the complaint, attach additional pages providing
infermation for each additional defendant.

 

 

 

 

Yi. PARTIES

A. Plaintiff Information

Provide the folowing information for each plaintiff named in the complaint. Attach additional
er if needed.

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 4 of 291

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. tf the
correct information is net provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages tf needed.

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 6 of 291

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 7 of 291

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 8 of 291

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correct information is not provided, it could delay or prevent service of the complaint on the
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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 10 of 291

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 11 of 291

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 12 of 291

B. Defendant Information

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 13 of 291

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I. STATEMENT OF CLAIM

Place(s) of occurrence: OSS beef f PCy) Sfohe, 19

Date(s) of seouvenee Be SA AlO20r y M/s ~ / L Y, 2OL-O

FACTS:

 

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you, Attach

Additional pages if needed.
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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 14 of 291

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if you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required ar.

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 15 of 291

Vv. PLAINTIFF'S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by anonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11,

l agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

 
  

Each Plaintiff must sign and date the complaint. Attach additional a if sed
proceed without prepayment of fees, each plaintiff m ust 9 1s ss/subrit an IF "appiieati

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Ihave read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
Do Yes OO No

if you do consent to receive documents electronically, submit the completed form with your
compiaint. lf you do not consent, please do not attach the form.

Page 7
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 16 of 291

United States District Court
Southern District Of New York

 

20-CV-0524(MKV)
Amend Complain
According to

Mary Kay Vyskocil
Prinyah Godiah NMIAA Payne’s El-Bey

Piaintiff

~Agianst-

Defendant's:

Crocilla, Cona, Michels, Porter, Vollas, Ward

Metropolitan Authority Police Benevolent Association & Police Benevolent Association
Metropolitan Transportation Authority, MTA & MTA 34 precinct @ Penn Station, The
City Of New York, Bellevue Hospital & Staffs, etal.,

 

xX
According to Judge MARY KAY VYSKOCIL, United Sates District Judge:

Order granted me the court held status conference on August 19, 2021, to amend
complain in order to add additional party(ies) into the case and the correct the City Of
New York with MTA:

Those are the additional name’s | will amend/add into this case, even-though there were
eight officers whom part taking/allowing Crocilla and his partner to abuse me on that
day, but only those names seemed/were investigating under the report:

*LT Cona id#63 *PO Crocilla id#2477 *PO Michels id#4012
“DR Porter id#844510 *SGT Vollas id#414 *EMS Ward id#844509
 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

     
  
  
     

YAH GODIAL MIAA PAYNES EL BEY, LED: 8/1 9/2021 E

Plaintiff,
20-cv-524 (MEV)
-against-
ORDER
CROCILLO, MTA, and MTA 34 PRECINCT,

D efendants.

MARY KAY VYSKOCIL, United States District Judge:

The Court held a status conference on August 19, 2021. This order memorializes the
rulings at the conference.

The Court’s Order of Service dated November 16, 2020 [ECF No. 16) is VACATED. The
City of New York improperly was substituted as a Defendant in this action for the Metropolitan
Transportation Administration (“MTA”). The Clerk of Court respectfully is requested to
terminate the City of New York as a Defendant on the ECE docket and to reinstate the
Defendants terminated by ithe Court’s previous order. This order is without prejudice to Plaintiff
adding the City of New York in any amended complaint if she seeks to assert claims directly
against the city.

Plaintiff has requested [ECE No. 33] leave to file an amended complaint re-naming the
the MTA and Officer Crocilla as Defendants and adding new. defendants. Leave to file the
amended complaint is GRANTED. For the avoidance of doubt, Plaintiff’s claims agaist the
MTA will relate-back to the filing of her original complaint for the purposes of any statute of
limitations. The Court will enter an Order of Service following the filmg of any amended -

complaint.

 
Case 1:20: 0O5P 4 ISSN fic P ASME ae AGUNG BOGSS 6F 2%

Plaintiff also has requested the appointment of pro bono counsel. The Court will provide
Plaintiff by e-mail the appropriate form to request that counsel be appointed. IH Plaintiff still
wishes to have counsel appointed for her, she must return the form to the Court’s Pro Se Intake
Office, who will file it with the Court.

Defendant Crocilla’s request [ECF No. 35] for an extension of time to answer or respond
to Plaintiff’s complaint is GRANTED. Officer Crocilla need not respond to the Plaintiff’s
complaint until an amended complaint is filed.

F inally, the Clerk of Court respectfully is requested to correct the spelling on ECF of
Plaintiff’s name to “Quee’Prinyah Godiah NMIAA Payne’s El Bey” and to correct the spelling of

Defendant Crocilla’s name to “Leyland Crocilla”.

 

SO ORDERED.
Date: August 19, 2021 Meta, Kay, Veclnc
New York, NY Y¥ VYSIKOCIL

hited sta es District Judge

 
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 19 of 291

United States District Court

Southern District Of New York
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20-CV-0524(MKV}
Amend Complain
According to

Mary Kay Vyskocil
Prinyah Godiah NMIAA Payne’s El-Bey

Plaintiff

-Agianst-

Defendant’s:

Crocilla, Cona, Michels,Porter, Vollas, Ward

Metropolitan Authority Police Benevolent Association & Police Benevolent Association
Metropolitan Transportation Authority, MTA & MTA 34 Precint @ Penn Staion, The City
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Those are the additional name’s | will amend/add into this case, even-though there were
eight officers whom part taking/allowing Crocilla and his partner to abuse me on that
day, but only those names seemed/were investigating under the report:

* LT Cona id#63 *PO Crocilla id#2477 *PO Michels id#4012
*DR Porter id#844510 *SGT Vollas id#414 *EMS Ward id#844509
* Metropolitan Authority Police Benevolent Association & Police Benevolent Association
Metropolitan Transportation Authority, Police Accountability Unit/ New York County
District Attorney’s Office

*MTA *MTA 34 Street Precinct at Penn Station NY, et, al..
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 20 of 291

When Officer Crocilla and his partners on that day had attacked me, way before that
several times:
> whenever | arrived at 34 Penn Station to wait for my friends and groups that

usually meet at certain train station so we can all get together to go to our
meeting place(s) for the meetings, since some Meet-Up Groups does not have
their own set locations we meet certain piaces like Starbucks, other group
members families or sometimes they rent out space for hat meeting, several
times while reating at MTA trained stations/severail times when | passed by to
meet some of my friends that either arrived before me or | arrived before them |
saw how the MTA Police Officers treated seveal none-white people, it got to the
points where | started to speak up against the evil-wrongs they were doing and |
started recording them, how they acts, how they approached, how their
behaviors, how they treated the none-white people that passed or stand at 34
Street Penn Station so | started recording their wrongdoing and point them out
their behaviors. Several Times while waiting got Harrassed by Officer Crocilla
and his partners for simple waiting for friends and yes there is a video while |
was on the phone with one of my meeting friends talking tetting them know |
arrived first and no-one shown up yet because the rules were whoever arrived
first needs to group text or called the meeting head- person to let s/he know
arrived first and whereAwhat spot waiting that way everyone else can meet at one
spots so we all can go together to the place together to the meeting and
sometimes we rent the back of restaurants to do the meetings, that one time
while | called Shawn who was going to be the person was Selected to head that
Financial meeting that day and we were going to meet at this spot where the D
train on 33rd meet its a public piace where people handg-out and it was a nice
iate afterso he peak that spot while | arrived firs at Penn Station and was
speaking to him on the phone letting him know | arrived first and | am next to teh
shake-shack waiting for every-one ther Officer Crocilla & his his Partner came
over starting to harassing me, using manipulations tack-ticks and Officer Crocilla
and his partner drove the police golf-cart right in front of me to Harassed, violated

both my Constitutional Rights & Civil Rights under the Civil Rights Protections
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 21 of 291

Laws, bullied me, abuse their powers/authorities, used his police manipulated
behaviors: and so forth:
e Asking me if | need to go fo spychward when he said that | took Shawn off-Mute
and | told him | will called him back then started record the Officers.
According to Stephaine Minoque Assistant District Attorney who is part of the Public
Corruption Unit:
Stated “I do want to let you know that both officers are still going to face
disciplinary charges because of the work that Lieutenant Hosein with the
MTA’s Internal Affairs Bureau did in investigating your case. The fact that we
can’t go forward with criminal charges is not going to change that.”
| am indeed dishearten about such news and ! planned to fight until those officers
get criminal charges brought against them. | will not settle the case until the Court
and/or the Judge to find ways to bring Criminal Charges against those officers for
attacking me. The only way this case will be settle is when those officers are criminal
charges, the laws have been broking by those officers and { was told they will be
walking free the only thing they will get is disciplinary is this a joke or what?
> {fi must forward this case out of state or Country to get criminal charges against
those officers so | shali do.
» Why is the system and the agencies that suppose to protect the public is denying
me the lawful legal rights of Due-Process by denying me access to their
investigations and refused to criminally charge Officer Lyland_C. Crocilla for the

laws and the crimes that he had committed to me?...

oy
oo,

Justice must be served to me for the wrong that was done to me.
Harrassements.
e« Yes, | do have video’s of him harrassing me that day. | showned it to few of my
friends and they what happened in the video, they got concerned for my safety
they told me to upload it on Youtube just in-case so | did( Officer Crocilla even
stalked me on my YouTube Channel | eventually had to made it private for my
safety, after ! showed/send the video’s to Detective Derek Hossein and gave him

accessed to my accounts few days later fhe YouTube harassment the nasty
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 22 of 291

statements posted got worst that | eventually start blocking them then force to
make my account privates but kept few video’s online eventually Attorney Fu told
me to make them private so ft did completely.
* | gotso mad and erritated that those officers have the balls to harrassed anyone
that is none-white and they were coming after me for cailing them out.
« Several times | can hear them talking about stalk 33 rules it is this rules they
have: a rules they do | notice & | observed each times ! heard one of them stated
if your not white in the station and your there after five mintutes your inside the
Train Station they will come to you or find away/excuse to bullied, harrass you
again and again until you leave or they find a way to throw you out, after |
observed this few times over and over again each times | passed at the station
to used the bathroom or meets-up friends or visited friends that work at the train
station or going to transfer from A to 2/3 train or vice-versa or meet with Friends
with friends | notice such patterns after they said the rules.
e |even brought my concerned about such to the DOJ | called and filed several
complained with them each times | notice/saw something wrong yet the DOJ
done nothing.
« |had a video that a retired military-vet was extremely darkskin was in-line inside
the subway station near the A line train station was in-line waiting for his turned
to order Subway Sandwich the line was fong, | was also in line the vet he was
number eight in fine about six minute later those four white officers came out kept
looking at him, pointing then one of them stated the rule next thing ! notice they
walked to the vet told him he must leave, he have to leave because he was to
dark he does not belong there, they told him if he refused to leave they would
arrested him for trespassing the guy said he is a retired vet one officer said he
does not care then all | saw they were force him out of the line eventually they
got him out as the officer white the white-shirt was forcing the vet out one white-
man in the video high-five him said good job and those all white people was
laughing, | shock my head asked myself how evil can you be to throw someone

out in line inside a public place waiting in line to order food.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 23 of 291

e | started speaking out that is when | started having targets in my back, and that is
when the harassment started.

e Whenever they saw me, and they saw me recording them they would do body-
line-block so the camera would not be able to see clearly what is going on or one
of them would walk to me stood in front of the phone camera and each time |
move that officer would came stood in front of the camera.

e There was this old African American homeless lady in the station and one white
lady passed by her gave her some McDonaid so the lady came sat next to me
near shake-shack to eat the McDonald the officer kept looking at her but did not
do nothing to her until one of my friend called me in the other side the second |
move they walked where the African lady was sitting eating and started to
threated her saying she stole the McDonaid sandwich when | notice what they
were doing | pulled out my phone to record when they saw | started recording
and my friend was a tall white man next to me they did not came approach me
but they did body block so | would not be able to video/record them good, in the
video you can see they kept looking at me and | asked the African American lady
if she was okay and | started talking to her she was cursing them out and | was
encourage them to let them have it verbally for harassing her, when she wasn’t
nothing, she was extremely mad/angry she was cursing like hell.

e when told my friend at that time, he got mad because he was visiting from

Germany in NY. We lost contact because officer Crocilla stole my phones.

1.) Police Harassment:

e My Question that | have for New York, New York City, MTA, Police
Benevolent Association Metropolitan Transportation Authority and so-on is
why do you hired/have Racist Police Officers and why do you still have them
working for your company/part of your Unions especially with all those things
officers have been doing and what is going on in the Media’s about Police
Brutality why would you keep such bad-apple-characters in your books’...

Dear New York/New York Stated/New York City you supposed to be the Example
Stated what happen to you?...
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 24 of 291

e New York Can you honestly and truly NY stand up for real justice? ...

e NY. you're the first state that legalist same sex-marriage, legalist weeds, you
pushed for Police Reformed laws to change yet you allowing an abuser in
your book, are you for real N.Y.?

Why would you allowed NYC those officers that done the public-wrong/ill/evil

attack fo the public’s and to someone who have pre-existed health conditions

who disable that was attack by an MTA Officer and you still allow an abuser like

Crocilla employ/in your Book?

e Don’t you have no gusts, and no shames at all New York?

e What happen to you New York, NY you supposed to be Tuffs, NY you
supposed to have balls where are your balls’...

e Why does the Union, MTA and New York allowed Crocilla and his partners of
crimes who ttacked me just because they have the powers that is granted by
you New York, MTA and the Union, you have empower then them to abused
the public and they think/they know they can get away with it and you New
York, NY refused to make them pay and be accountable for wrong-doing/for
attacking innocents customer(s) just because they were born none-white.
What kind of example are you setting for future Generations NY if you don’t
stand for Justice and do the right things?...

> Yet the Union Metropolitan Authority Police Benevolent Association & Police
Benevolent Association Metropolitan Transportation Authority, Stephanie Minogue
Deputy Chief Police Accountability Unit, MTA and the City of New York still allowed
abusers work for them, for their organizations, be amongst them, where is true-
Justice New York?...

You supposed to be the example state New York where is your backbones for

what you preach’...

e You said you passed laws/Police Reforms laws yet you allow an abuser like
Crocilla and his mafia-partners in crimes still work for your systems’...

e fused to loves and Respect New York, now all l'am seeing is New York is
nothing but a corrupted state that have two different sets-of-rules: rules for

thee not for them... nor those whom works for them/those whom have the
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 25 of 291

back-up of the Unions sad that you sets those rules New York and yet you
yourself don’t honor them.

e indeed New York shown me NY have no shames?

e By agree and allowing continued those abusers’ officers like Crocilla still
works for them, still have access to their systems so they can continue
abused their victims and harassed their innocents’ victims.

« shames, shames, shames on you all for allowing who allow those abusers to
offficers like Crocilia works for your systems, is not like those innocents are
being abuse over and over and over again. You allowed those officers to
have access to your systems so they can continue harrassed, treating or try
everything possible to silence their victims, Crocilla did that he stalked me in
Social Medias to the pointed that | had to close my Social media’s accounts
that is why he knows and he made such lying statements about the riffle
statements in his false/lies report. | owned Guns and Riffles I’m darn proud
inheritance guns-NRA owner, it is my Constitutional Rights if | wants to own
Guns.

e why New York, NY why?

There are currently several cases against Officer Lyland C. Crocilla shield #2477 and
other officers whom abused people/individuai/the public’s:

> Joyner v. The Metropolitan Transportation Authority et al.,

> Plaintiff: Allen Joyner

Defendant: The Metropolitan Transportation Authority, MTA Police
Officer Joseph Interdonati, Metropolitan Transportation
Authority Police Department, MTA Police Officers John
Doe #1-10, MTA Police Officer Leyland Crocilla and MTA
Police Officer FNU Lomonaco
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 26 of 291

Case Number: 1:2021cv00080

Filed: _ January 5, 2021

Court: US District Court for the Southern District of New York
Presiding Judge: Paul A Engeimayer

Nature of Suit: Civil Rights: Other

Cause of Action: 42.1983

Jury Demanded By: Plaintiff

As Native American who Decided to be/part-taking of being in American citizens,
we expect the police to have high-standards and we expect officers to treat us
fairly and the rest of the none-white race fairly also keep us/the public that paid
their salaries safe:

e Police harassment occurs when an officer arbitrarily or continually stops
someone. Officers may engage in aggressive questioning of an innocent
person or conduct an illegal or unwarranted search and seizure, called a “stop
and frisk,” without any lega! basis.

e in New York, harassment is a crime, and the maximum penalty is
imprisonment up to four years. Each of the four types of harassment in New

York has an intent element where the defendant must intend to harass,
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 27 of 291

annoy, or alarm the victim. For the more severe forms of harassment, the
victim must have reasonably become apprehensive.
« The policeman or law enforcement official who caused the harassment has
demonstrated a pattern of harassing behavior.
e The policeman who caused the harassment did not have probable cause or
an appropriate warrant for an arrest.

e The excessive force used by the policemen caused serious injury or death.
New York Penal Law § 240.21 - 240.32
> First-Degree Harassment

Harassment in the first degree, a class B misdemeanor, occurs when the defendant's
conduct results in a victim being placed in reasonable fear of physical injury. The

maximum penalty is three months’ incarceration and a year’s probation.

» Second-Degree Harassment

When someone applies physical force to another person, follows that person around
in public places or engages in conduct intended to alarm or seriously annoy the
person, this constitutes second-degree harassment. As in all harassment cases, the
defendant must have the intent to harass, annoy or alarm the person, and the course
of conduct can have no legitimate purpose. Second-degree harassment is a violation,

and the maximum punishment is 15 days in jail.
>» First-Degree Aggravated Harassment

New York saves its stiffest sanctions for first-degree aggravated harassment, a class
E felony with a maximum penalty of four years’ imprisonment. Defined as intentionally
setting out to annoy, threaten or alarm someone because of race, color, national
origin, gender, religion, age, disability or sexual orientation, the charge also needs the
intent to commit one of the following acts: damage religious property, place a swastika
on real property without the owner's permission, set a cross on fire in public or place a

noose on real property without the owner’s permission.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 28 of 291

> Aggravated Harassment in the Second Degree

Aggravated harassment in the second degree occurs when, with the intent to harass,

annoy, threaten, or alarm another person they:

e communicate with a person, anonymously or not, by telephone, mail, or other
written communication in a manner likely to cause annoyance or alarm.

* causes a communication of this kind to take place.

« makes a telephone call, whether or not a conversation takes place, with no
purpose of legitimate communication:

« strikes, or attempts or threatens to strike, a person on account of their perceived
race, color, national origin, ancestry, gender, religion, age, disability, or sexual
orientation.

« strikes someone causing an injury to them; or

« is a repeat harassment offender.

> SECTION 240.30
>» Aggravated harassment in the second degree
Penal (PEN) CHAPTER 40, PART 3, TITLEN, ARTICLE 240
§ 240.30 Aqgravated harassment in the second degree.
A person is guilty of aggravated harassment in the second degree when:
1. With intent to harass another person, the actor either:

(a) communicates, anonymously or otherwise, by telephone, by computer
or any other electronic means, or by mail, or by transmitting or
delivering any other form of communication, a threat to cause physical
harm to, or unlawful harm to the property of, such person, or a member
of such person's same family or household as defined in subdivision one
of section 530.11 of the criminal procedure law, and the actor knows or
reasonably should know that such communication will cause such person to
reasonably fear harm to such person's physical safety or property, or to
the physical safety or property of a member of such person's same family
or household; or

(b) causes a communication to be initiated anonymously or otherwise,
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 29 of 291

by telephone, by computer or any other electronic means, or by mail, or
by transmitting or delivering any other form of communication, a threat
to cause physical harm to, or unlawful harm to the property of, such
person, a member of such person's same family or household as defined in
subdivision one of section 530.11 of the criminal procedure law, and the
actor knows or reasonably should know that such communication will cause
such person to reasonably fear harm to such person's physical safety or
property, or to the physical safety or property of a member of such
person's same family or household; or
2. With intent to harass or threaten another person, he or she makes a
telephone call, whether a conversation ensues, with no purpose of
legitimate communication; or
3. With the intent to harass, annoy, threaten or alarm another person,
he or she strikes, shoves, kicks, or otherwise subjects another person
to physical contact, or attempts or threatens to do the same because of
a belief or perception regarding such person's race, color, national
origin, ancestry, gender, gender identity or expression, religion,
religious practice, age, disability or sexual orientation, regardless of
whether the belief or perception is correct; or
4. With the intent to harass, annoy, threaten, or alarm another person,
he or she strikes, shoves, kicks, or otherwise subjects another person to
physical contact thereby causing physical injury to such person or toa
family or household member of such person as defined in section 530.11
of the criminal procedure law; or
5. He or she commits the crime of harassment in the first degree and
has previously been convicted of the crime of harassment in the first
degree as defined by section 240.25 of this article within the preceding
ten years.

Aggravated harassment in the second degree is a class A misdemeanor.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 30 of 291

» Third-Degree Stalking

Third-degree stalking occurs when a person intends to harass, annoy or aiarm
someone and acts in a way likely to cause the victim to fear physical injury, sexual
assault, kidnapping or death, either personally or to a family member. This is a class A

misdemeanor, which may bring up to a year’s imprisonment and three years’ probation

2.)Police Brutality:

Police brutality is the excessive and unwarranted use of force by law enforcement.
it is an extreme form of police misconduct or violence and is a civil rights violation. It
also refers to a situation where officers exercise undue or excessive force against a
person. Police violence includes but is not limited to physical or verbai harassment,
physical or mental injury, property damage, inaction of police officers, and in some
cases, death.

« Individual persons like myself as a pro se can actively sue an officer that is
suspected of violating someone's civil rights or causing death, serious
bodily harm, or injury. Qualified immunity will not be a sufficient response
in cases of officers violating the rights granted by the Bill of Rights and the
Amendments of the Constitution (24-31-904).

Let me remain The Officers who Attack me, The City of New York, Those
Unions that Support those Officers brutal behaviors & the MTA.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 31 of 291

3.) Police Misconduct:

* As civilians, we expect that police officers will protect and serve our
communities, as required by their oath. However, some police officers abuse
their power and harass innocent citizens. Police harassment occurs when an
officer arbitrarily or continually stops someone. Officers may engage in
aggressive questioning of an innocent person or conduct an illegal.
Since Police harassment is different to/from police misconduct as it refers to an officer
continuously stopping, aggressively questioning, or searching someone, without proper

legai grounds to do so. Here are some more forms of police harassment:

» Using excessive force

» Making comments of a racist, homophobic, or sexist nature

« Doing iliegal surveillance on someone

« Holding someone against their will

» Police misconduct encompasses several different types of claims against the
police, including discrimination, false arrest, and excessive use of force in view of
the circumstances.

- That] indeed had suffered all/both under Officer Crocilla and his Partners-Mafia
Workers:

* 340U.S.C. § 12601

§12601. Cause of action

(a) Unlawful conduct
It shall be unlawful for any governmenta! authority, or any agent thereof, or any
person acting on behalf of a governmental authority, to engage in a pattern or practice
of conduct by law enforcement officers or by officials or employees of any governmental
agency with responsibility for the administration of juvenile justice or the incarceration of
juveniles that deprives persons of rights, privileges, or immunities secured or protected

by the Constitution or laws of the United States.

(b) Civil action by Attorney General
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 32 of 291

Whenever the Attorney General has reasonable cause to believe that a violation of
paragraph (1) + has occurred, the Attorney General, for or in the name of the United
States, may in a civil action obtain appropriate equitable and declaratory relief to

eliminate the pattern or practice.

(Pub. L. 103-322, title XX1, §210401, Sept. 13, 1994, 108 Stat. 2071 .), CITE: 34 USC
12601

42 USC § 14141 (2011)

§14141. Cause of action(a) Uniawful conduct

« It shall be unlawful for any governmental authority, or any agent thereof, or any
person acting on behalf of a governmental authority, to engage in a pattern or
practice of conduct by law enforcement officers or by officials or employees of
any governmental agency with responsibility for the administration of juvenile

justice or the incarceration of juveniles that deprives pers.

4.) Constitutional Right’s
The Constitution's 5th and 14th amendments prohibit all levels of government,
which includes the police, from unfairly or arbitrarily depriving individuals of their
rights to life, liberty, and property.
e« Ail United States peopie, regardiess of immigration or citizenship status, have
rights should they be stopped or detained by police, that include the following
protections by the U.S. Constitution’s 4th, 5th, and 6th Amendments:

Color Laws: To say out loud that they wish to remain silent,

To refuse search of one’s body, car, or home without probable cause,

>» under color of state jaw.” Under color of state law does not mean action taken
pursuant to state law, instead “a misuse of power possessed by virtue of state
law and made possible only because the actor is colored with authority of
state law” constitutes “color of law.”
* Monroe v. Pape, 365 U.S. 167 (1967).
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 33 of 291

5.) The “Due Process” of Law
My due process was violation because when the police arbitrarily stop, detain, or
demand information from a citizen when no crime is being committed, and with no
apparent evidence that a crime may be committed. In these situations, if Native
American that part taking to be part of America-citizen is stopped by police but not
detained or arrested for a crime, they are not required to answer officer questions and
are lawfully free to leave an interrogation. Yet, Officer Crocilla and his Mafia Gangs

workers-breach my due process rights.

6.) Racial Profiling:

Title VI of the 1964 Civil Rights Act made illegal use of “public” funds to

discriminate based on race, color, and national origin. So, when an American

citizen has been unlawfully stopped or detained by police whose salaries are
paid by citizen’s tax dollars, it’s referred to as “racial profiling” and is a violation of

Title VI.

e This type of conduct by police also violates a citizen’s Constitutional “due
process’ rights and is considered harassment. In addition to the above types
of conduct, police harassment includes illegal detention; racial and ethnic
profiling; making racist, sexist, and homophobic remarks; illegal surveillance

and spying; and illegal search and seizure of property.

7.) My Civil Rights Protections Under the Law was violated?
Section 1983 of the Act prohibits the police from violating another person’s civil

rights. Other provisions of state law add to those protections. An individual whose
rights have been abused by a policeman or other government official may have a
cause of action under Section 1983 against both the policeman or official that
caused the abuse and the local government entity that employs the policeman.

> Title 18, U.S.C. §242

¢ §242. Deprivation of rights under color of law
Whoever, under color of any law, statute, ordinance, regulation, or custom,
willfully subjects any person in any State, Territory, Commonwealth, Possession,

or District to the deprivation of any rights, privileges, or immunities secured or
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 34 of 291

protected by the Constitution or laws of the United States, or to different
punishments, pains, or penalties, on account of such person being an alien, or by
reason of his color, or race, than are prescribed for the punishment of citizens,
shall be fined under this title or imprisoned not more than one year, or both; and
if bodily injury results from the acts committed in violation of this section or if such
acts include the use, attempted use, or threatened use of a dangerous weapon,
explosives, or fire, shall be fined under this title or imprisoned not more than ten
years, or both; and if death results from the acts committed in violation of this
section or if such acts include kidnapping or an attempt to kidnap, aggravated
sexua! abuse, or an attempt to commit aggravated sexual abuse, or an attempt to
kill, shall be fined under this title, or imprisoned for any term of years or for life, or

both, or may be sentenced to death.

« (June 25, 1948, ch. 645, 62 Stat. 696 ; Pub. L. 90-284 title |, §103(b), Apr.
11, 1968, 82 Stat. 75 ; Pub. L. 100-690, title Vil, §7019, Nov. 18, 1988, 102
Stat. 4396 ; Pub. L. 103-322, title VI. §60006(b), title XXXIL §§320103(b).
320201(b), title XXXIII, §330016(1)(H), Sept. 13, 1994, 108 Stat.

1970 , 2109, 2113, 2147; Pub. L. 104-294. title VI, §§604(b)(14)(B), 607(a),
Oct. 11, 1996, 110 Stat. 3507 , 3511.)
e Graham v. Connor, 490 U.S. 386 (1989), Johnson v. Glick, 481 F.2d 1028.

8.) False-Arrest/Detained:

false arrest in this action for, inter alia, alleged false arrest, false imprisonment,
malicious prosecution, and violations of 42 USC § 1983, defendants move seeking an

order granting them summary judgment pursuant to CPLR § 3212. Specifically:

is the unlawful restraint of a person's freedom of movement. It can occur any
time one person:

° holds another individual against his or her will or/and the deprivation was not
consensual.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 35 of 291

e takes another individual into custody without consent or without legal justification
to do so/ that deprivation compels the victim to go somewhere or to stay somewhere
for an appreciable time, and

s False arrest is an intentional tort. That means the person who committed it
must have done so purposefully.

1.) a victim can demand the officer face repercussions for their false arrest. In the
most egregious cases, the officer could get fired. He or she could also be

suspended or retrained.

> Malicious Prosecution and False Arrest as a Civil-Rights Violation:

In addition to any state-law claims, malicious (criminal) prosecution and false
arrest are record as separate violations of a person’s constitutional right against
unreasonable searches and seizures protected by the Fourth Amendment of the
U.S. Constitutions. Whether malicious-prosecution claims involve an arrest or
criminal proceeding.

« The official title of “Section 1983” is the Civil Rights Act of 1871. Codified as 42 U.S.C.
Section 1983, it is commonly referred fo as Section 1983. In iarger terms, Section 1983
bars a person from using “color of law” to excuse a violation of constitutional rights.

¢ Moving past civil nghts protections under Section 1983, the next section will explore
unreasonable search or seizure under the Fourth Amendment.

« Whiteley v. Warden, 401 U.S. 560 (1971)-An arrest or search made by officers
relying on relayed police information, a teletype, a bulletin, a warrant, etc. is only
valid if the issuing officer had probable cause to make the arrest or search. It is
irrelevant that the officers reasonably assumed the issuing officer had probable

cause.
>» Dunaway v. New York, 442 US 200 (1979)-The involuntary seizing of a
person from his home without probable cause and compelled him to go to the
station for interrogation violated the person's Fourth Amendment rights. The
Miranda rights advisory does not overcome the taint of the illegal arrest.
Factors that should be considered in determining whether a confession was

obtained by exploiting an illegal arrest are:
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 36 of 291

>» Hayes v. Florida, 470 US 811 (1985)}-Without probable cause, consent, or
judicial authorization, the investigative detention of a person for the purpose
of taking him from his home to the station for fingerprinting violated the Fourth
Amendment. The court further added that the police can fingerprint a suspect

(not arrestee} under the following circumstances:

« The officer has reasonable suspicion that the suspect committed a crime

e That there is a reasonable basis that the fingerprints would establish or negate
the suspect's involvement in the crime, and

e The fingerprinting is quickly conducted in the field

e« temporal proximity of the arrest and the confession

* presence of intervening circumstances

¢« purpose and flagrancy of the official misconduct.

>» Stufflebeam v. Harris, 06-4046 (8th Cir. 2008}-The Court held: Police could
not arrest a passenger in a vehicie simply because he did not comply with the
officer and show identification. The officer needs reasonable suspicion that
the passenger is engaged in criminal conduct before compelling him to show
identification. The Court stated, "...arresting Stufflebeam, a passenger not
suspected of criminal activity, because he adamantly refused to comply with
an unlawful demand that he identifies himself. No reasonable police officer
could believe he had probable cause to arrest this stubborn and irritating, but

iaw-abiding citizen.

9.) Breach of the Laws:
18 U.S.C. sec. 242: This statute is a federal statute that creates criminal liability
for the intentional violation of rights granted by the Constitution or by federal
statutes. As a matter of policy, the United States Justice Department reserves
use of this statute for the most egregious cases. Some considerations which are
considered before the Justice Department will proceed are: the extent of injuries;
the availability of independent witnesses; the history of the officer involved in the

incident and whether or not punitive action sufficient to satisfy federal interests
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 37 of 291

have already been imposed. This statute is nearly identical to sec. 1983 in that
the government must show that an officer's action, committed under color of law,
has resulted in a violation of Constitutional or federally granted rights. The
difficulty that federal prosecutors face when prosecuting a section 242 case is the
government's burden to prove that the violation of rights was intentional.

e Officer(s) breach the Company laws when file false documents.

10.) Retaliation’s:
First Amendment Retaliation:

* “Congress shall make no law respecting an establishment of religion or
prohibiting the free exercise thereof; or abridging the freedom of speech, or of the
press; or the right of the people peaceably to assemble, and to petition the
Government for a redress of grievances.”

Whoever, under color of any law, statute, ordinance, regulation, or custom, willfully
subjects any person in any State, Territory, Commonwealth, Possession, or District to
the deprivation of any rights, privileges, or immunities secured or protected by the
Constitution or laws of the Unifed States, or to different punishments, pains, or
penalties, on account of such person being an alien, or by reason of his color, or race,
than are prescribed for the punishment of citizens, shall be fined under this title or
imprisoned not more than one year, or both; and if bodily injury results from the acts
committed in violation of this section or if such acts include the use, attempted use, or
threatened use of a dangerous weapon, explosives, or fire, shall be fined under this title
or imprisoned not more than ten years, or both; and if death results from the acts
committed in violation of this section or if such acts inciude kidnapping or an attempt to
kidnap, aggravated sexual abuse, or an attempt to commit aggravated sexual abuse, or
an attempt to kill, shall be fined under this title, or imprisoned for any term of years or for

life, or both, or may be sentenced to death.

(June 25, 1948, ch. 645, 62 Stat. 696; Pub. L. 90-284, title |, § 103(b), Apr. 11, 1968, 82
Stat. 75; Pub. L. 100-690, title VIl, § 7019, Nov. 18, 1988, 102 Stat. 4396; Pub. L. 103—

 
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 38 of 291

322, title VI, § 60006(b), title XXXII, §§ 320103(b), 320201 (b), title XXXII,
§ 330016(1)(H), Sept. 13, 1994, 108 Stat. 1970, 2109, 2113, 2147; Pub. L. 104-294
title VI, §§ 604(b)(14)(B), 607(a), Oct. 11, 1996, 110 Stat. 3507, 3511.)

 

11.) Mistreatments:

The Equal Protection Clause and Race

Although neither the Fourth nor the Fourteenth Amendment prohibits the use of
race when it must be employed and does not result in an unfair application of
the faws, the Constitution forbids police officers from targeting individuals for

investigation so/ely on the basis of their race.

« “New York State Attorney General Eliot Spitzer has also expressed skepticism
regarding the adequacy of the pool of reported UF-250s. As a result, the Attorney
General's Civil Rights Bureau disseminated a “Stop and Frisk Information
Collection Form,” that was designed to allow individual citizens to report stop and
frisk encounters. State investigators would then “compare [these forms] to the
250s to see what the correlation might be between the 250s that... . are within
the city’s repository, which is claimed by the [NYPD] to be essentially the totality

of the stop and frisk universe.”

12.} False reporting/lying in his report:

>» New York Consolidated Laws, Penal Law - PEN § 240.50 Falsely reporting an
incident in the third degree
* A person is guilty of falsely reporting an incident in the third degree when, knowing the

information reported, conveyed, or circulated to be false or baseless, he or she:

1. Initiates or circulates a faise report or warning of an alleged occurrence or
impending occurrence of a crime, catastrophe, or emergency when it is not unlikely that

public alarm or inconvenience will result.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 39 of 291

* The Language of PC 118.1 states

*8 U.S. Code § 1324c - Penalties for document fraud
* 18 U.S. Code § 1038.False information and hoaxes
(a)CRIMINAL VIOLATION. —

(1)IN GENERAL.—Whoever engages in any conduct with intent to convey false or
misleading information under circumstances where such information may reasonably be
believed and where such information indicates that an activity has taken, is taking, or
or 1138 of this title, section 236 of the Atomic Energy Act of 1954 (42 U.S.C. 2284), or
section 46502, the second sentence of section 46504, section 46505(b)(3) or (c),
section 46506 if homicide or attempted homicide is involved, or section 60123(b) of title
49, shall—

(A)

be fined under this title or imprisoned not more than 5 years, or both;

(B)

if serious bodily injury results, be fined under this title or imprisoned not more than 20
years, or both; and

(C)

if death results, be fined under this title or imprisoned for any number of years up to life,
or both.

(2) ARMED FORCES. —Any person who makes a false statement, with intent to convey
false or misleading information, about the death, injury, capture, or disappearance of a
member of the Armed Forces of the United States during a war or armed conflict in
which the United States is engaged—

(A)

shail be fined under this title, imprisoned not more than 5 years, or both;

(B)

if serious bodily injury results, shall be fined under this title, imprisoned not more than

20 years, or both; and
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 40 of 291

(C)
if death results, shall be fined under this title, imprisoned for any number of years or for
life, or both.

(b)Crvit ACTION. —

Whoever engages in any conduct with intent to convey faise or misleading information
under circumstances where such information may reasonably be believed and where
such information indicates that an activity has taken, is taking, or will take place that
section 236 of the Atomic Energy Act of 1954 (42 U.S.C. 2284), or section 46502, the
second sentence of section 46504, section 46505 (b)(3) or (c), section 46506 if
homicide or attempted homicide is involved, or section 60123(b) of titie 49 is liable in a
civil action to any party incurring expenses incident to any emergency or investigative

response to that conduct, for those expenses.

According to Officer Crocilla report:

Narrative of the case:

“On January 9,2019 at approximately 0241 hours, undersigned officers observed
a black female in a wheelchair yeiling and screaming for no apparent reason.

The femaie/EDP stated “ you white, red neck cops are harassing me, | pray

want an ambulance". Upon escorting the female/EDP up to the 34 Street
entrance, the female EDP did pick up a cone and attempt to throw it at
undersigned officers. The female EDP did attempt to scratch undersigned
officers and did attempt to strike us with both her hands. The female/EDP was
rear cuffed and escorted into the ambulance for transport along with all her
property. The female/EDP was lodged at CPEP located at Bellevue Hospital for a
psychiatric evaluation.”
» Office Crocilla filed a false/lie report because video evidence camera inside
MTA 34 Street Penn Station showed that the Office Flash his golf-cart-car

light in my eyes as | just came from out of the bathroom. When | arrived at the
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 41 of 291

bathroom there was a long-line | saw my good-friend whom at that time
worked for an Agency, | saw her sweating we spoke for about 3 min then she
told me she was thirsty but it’s been extremely busy she does not have a
chance to go buy something to drink. | told her | will be right back | went to the
2™ level near New Jersey Transit at the Walgreen there brought her some
drink water and Pierre Drunk extremely cold then | made my way back to the
bathroom where | gave her the drink and the gift that | had got for her, for her
dad and for her kid’s. Then we spoke some more while waiting in the line
while we were speaking the line getting shorter and shortest so when it was
finally my turn to use the bathroom, Jenny went back to work and | left. After |
watch my hands and told Jenny by see you next times | have to go pick up
Medications that my Doctor had send me at the Ride-Aid on 125" and Lenox
that | did not want to missed before they closing so we said our goodbye, then
when | arrived in the Corner the Officers where in Golf-car, Officer Crocilla
pull right in front of me flash that bright lights in my eyes because | ama
seizure person/have history of seizures and | do take three different kind of
seizure meds to keep me balance, flashing a flash light in someone that have
pre-existing health history like seizure can trigger seizure in that person so |
stop my wheelchair put both my hands up in my eyes trying to block the lights
that’s flashing in my eyes because the last thing | did not wants is for a
seizure attack inside Penn Station especially when | was on my way to go
pick up two of the meds were the seizures meds at the pharmacy. As ji have
my hands up cover my eyes | felt a hands touching my hip so | removed one
of my had and pushed that hands out whom was touching me next things |
knew officer Crocilla started abusing me when | asked why did I've done he
told me to shut the Fuck up, | told him am a Muslim if i done anything am
requesting for a female police officer(| requested for female officer five time)
each time | was met with Shut the Fuck Up and racist-slur.

« Next thing | knew another white man came over officer Crocilla told him to hold

my hands behind my back and pushed my head down as he done so Officer

Crocilla wheel my wheelchair against the wall and started saying extremely
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 42 of 291

unprofessional stuffs, and how they used to have funs rapping none-white people
back in the old-days and a lot of racist discussed statements, officers Crocilla told
his partner he will wheel me inside the elevator to deal with me since there were
no working camera there. | was scared/afraid for my life because | was not sure if
they would rap me then killed me. As the wheeled me | fought hard in fear for my
life and my safety. When arrived in front of the elevator more racist statements
about women was made. Then the elevator door open |! start praying in my heart
please Allah do not allow today the day | died since | cannot say goodbye to
those | love and those whom loves me.

« When we got inside the elevator Officer Crociila cut the purse that i had around
me started going to my stuffs then he stated, “I know where you resigned, and |
have your personal information’s if you talk or tried to do any actions | will come
after you.” Then he put my personal stuffs inside his pockets.

e He then threw me out of my wheeichair on the floor then started to abuse me,
kick me eleven time on my side.

« !was bleeding from the baton that was attack on my head while | was handcuff
face down on my chest.

« started pleading for my iife and asking what | have done, Officer Crocilla kept
telling to shut the “fuck up” as he kicks me over and repeatedly eleven times.
When he finished abused me, he told his partner to push the elevator button to
go up.

when arrived at the street level Officer Crocilla drags me like | was worst then piece of
shits by my shirts and half of my coat that he opened during the abused inside the
elevator. When the elevator door opened, | was dragged from the elevator door into the
street where Officer Crocilla and his partners in crimes made me sat on-top of the
handcuffs that was tights around my wrists that | was bleeding from, | was forced to sit
on top the handcuffs until ambulance showed up.

« As waited for the Ambulance eight Officers total Join Officers Crocilla laughing
and making statements about back in the days how white men have it easy when

they can get away with anything and but now in days none-white think they have
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 43 of 291

rights and demands whites, tell white men whom are superiors then them what to
do.

Lyland C. Crocilla have his foot on top of chest/ between my breast because he
well knew !| have a heart monitor device implanted since inside the elevator one
of the stuff he took was my heart device card if or when | need to go to medal
detections | can show it to them, he even asked me “you have a device huh”. He
knew | had the device between my chest yet outside while waiting for the
ambulance he have his food right the center of my chest pressuring it and he
damage the device in my heart now i need to go back to surgery to have it
removed and have another one replace/put on.

they were smoking Cigars as they laughing about certain old moving what the
white men used to do when they were ruling the rights and correct ways, they
were making racist statements that cause me extremely distress. | honestly did
not know what would happen to me, if those hours would be my last hours in the
physical whelms.

When the Ambulance finally arrived about thirty to forty minutes later, the
officers pulled the two ambulance men aside extremely-far away from me all |
saw them chatting, laughing, and pointing at me while blood gushing down my

face, all over my eyes for about fifteen minutes.

Then when the gentlemen returned back with the officer the old one asked me

questions he wants me to get up to get in the stretcher told him | cannot then he look at

me then asked is that your broken wheelchair | said yes then he asked what happen to

it | replied asked officer Crocilla he threw me out of it, then he asked how did you hand

up on the floor | told him the officer threw me out of the chair did you heard what I said

the first time,.

then the two ambulance men grabbed me and put me on the stretcher got me
inside the ambulance then more abused happened.

Officer Crocilla touch me unprofessional inside the ambulance when the older
man went in the front of the passenger temporary to talk with the younger man
who was driving the ambulance, because officer Crocilla refused to remove the

handcuff in order for him to give me medical attentions, the old man seemed
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 44 of 291

frustrated but did not want to get into it with the officer so he left temporarily to go
speak to his partner about the matter.

When | arrived in the hospital bleeding rather get medical attaching Officer
Crocilla went spoke to some nurse far away so | could not hear the conversations
then point at me next things | knew the nurse said “You will be transfer to
spychward” | asked why’...

She refused to give me an answered. | told her i needed medical attentions she
just said that is not my called, all | remember while my outfits is soaks with my
own blood | hand up in the spychward without my consent bleeding while | was in
the stretcher waiting ! kept fading in and out, the lady that was watching me kept
asking me if | was okay, if | was feeling okay, | remember pleading with her |
needed medical attentions please give me medical help stop the bleeding but |
was force to way almost hours while bleeding and kept going in and out waiting
to see a spych doctor.

When | was finally was seeing by a psych doctor she came in and she started to
evaluated me, | honestly do not know what Crocilla told her nor the rest of the
hospital staffs nor the nurse when | first arrived.

when | explained to the spcyh doctor what took place and | had my one of my
phone inside my coat pocket was recording because when | saw the police
coming at me | pushed the button and said record, | had a voice record
activations app on my phones at that time because of history of seizure’s also |
knew those officers enjoys hurting none white people it was a safety app in my
mind when | had download that app just in case because | knew as | exposed
those officers behaviors | would became they toys targets so.

so after | told her and told her to pulled out fhe phone out of my coat pocket that
was inside my sweater hiding away | gave her the past word fo unlock my phone,
she heard everything her face was like she saw a ghost then she said “thatis a
lawsuit that | do not want to be part off, she then added your bleeding way to
much you need to be in medical” and she left with my phone in her hand next

things | knew | was been rushed fo medical to be treated .
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 45 of 291

« when got to medical just like inside the ambulance Officer Crocilla refused to
remove the handcuffs in other for me to get medical treatments, Officer Crocilia
partner fallow him in the police car in the hospital, then when Officer Crocilla
found out and saw they were rushing me to Medical he was extremely mad and
start to argued with the gentleman that was transporting me, the gentleman said
am only doing my Job Sir. When arrived at Medical Officer Crocilla refused to
remove the handcuffs so the staffs and the nurse that came to draw my blood
since | told them | have history of seizure she asked me what times | took the last
medication toid her she said | have to let the doctor know the doctor might
requested bloodwork’s so make sure your medications levels are up to where
need to be at

« When she returned with changing cloth, things to draw my blood and other stuffs
to proper treatment even-thought they put me in a private room with two other
staffs watching me. Officer Crocilla argued with the nurse that came to change
my gown eventuaily he left and left me with the handcuffs inside the hospital
private room the staffs had to called a hospital police over to remove the

handcuffs out of my hands so! could get the medical treatments that | needed.

13.) Power Hungry/Abusive of Power/Authority

- FR§ 11.448 - Abuse of office.
> § 11.448 Abuse of office.
A person acting or purporting to act in an official capacity or taking advantage of such

actual or purported capacity commits a misdemeanor if, knowing that his or her conduct
is illegal, he or she:

(a) Subjects another to arrest, detention, search, seizure, mistreatment, dispossession,
assessment, lien or other infringement of personal or property rights; or

(b) Denies or impedes another in the exercise or enjoyment of any right, privilege,
power or immunity.

Police Misconduct

e Police misconduct illegai or inappropriate action taken by an officer. It can involve

a violation of state law, federal law, or police department rules and regulations.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 46 of 291

Federal law also makes it a crime to willfully deprive a person of their
constitutional rights. (18 U.S.C. § 242 (2020); Minn. Stat. § 609.43 (2020).)
Under the Civil Rights Act of 1871, a victim of police misconduct involving a
violation of the person's civil rights can sue the offending officer and the
department that employed the officer. Often referred to as a Section 1983
lawsuit (based on the statutory citation 42 U.S.C. § 1983).

Americans with Disabilities Act (ADA)
July 2020 marked the 30th anniversary of the Americans with
Disabilities Act (ADA), the landmark federal legislation that prohibits
discrimination against individuals with disabilities in all aspects of public
life:
A person is guilty of assault in the third degree if he intentionally or recklessly
case physical injury to another person, or if he causes physical injury with
criminal negligence “by means of a deadly weapon or a dangerous instrument.”
N.Y. Penal Law § 120.00 On the morning of October 31, 2006, Duran repeatedly
toid the Lincoln Center security guards and NYPD officers that Glassman had
shoved her out of bed and slammed a door in her face. Combined with the

= 2tft wp th kK

ified o by the police officers—and her

discoiored lump on her forehead------ tes
distraught demeanor, these facts gave the NYPD officers probable cause to
believe that Glassman had caused Duran “Physical injury” either intentionally or
recklessly. See Curley 268 F.3d at 69; Ricciuti, 124 F. 3d at 128; Sforza v. City of
N.Y., No. 07 Civ. V. Timberlake, 300 A.D.2d 219, 220, 752 N.Y. S.2d 315, 316
(18' Dep't 2002).
Kidnapping:

Officer Lyland C. Crocilla had committed a crime when he unlawfully

seizing and carrying away a person by force or Fraud, or seizing and detaining m

e against my owned will with an intent lo carry that person away at a later time.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 47 of 291

Generally, kidnapping occurs when a person, without lawful authority, physically
asports (i.e., moves} another person without that other person's consent, with the
intent to use the abduction in connection with some other nefarious objective.

New York State also has a second-
degree kidnapping statute. A person is guilty of second-
degree kidnapping if he or she abducts another person (§ 135.20).
A person who is convicted of a class B felony in New York State can be sentence
d to one to eight years in prison (§ 70.00).
It is prohibited by the Fifth
Amendment to the U.S. Constitution. Kidnapping often is an act that facilitates a
nother offense, such as rape, Robbery, or assault. Rape, robbery, and assault of
ten involve the act of moving a person against his or her will, which is the gravam
en (i.e., the significant element) of a kidnapping charge.
In most states, an asportation of a few foot may constitute the separate offense o
f kidnapping; in other states, distance is not a factor. In New York State, for exam
ple, the focus of the kidnapping statute is not distance, but purpose. Thus, an asp
ortation of 27 city blocks might not constitute kidnapping if it is merely incidental t
o a companion crime (People v. Levy, 15 N.Y.2d 159, 256 N.Y.S.2d 793, 204 N.
E.2d 842 [N.Y. 1965]). Likewise, an asportation from the borough of Manhattan t
o the borough of Queens might not constitute kidnapping if it plays no significant
role in the commission of another crime (People v. Lombardi, 20 N.Y.2d 266, 282
N.Y.S.2d 519, 229 N.E.2d 206 [Ct. App. 1967]).
« New York State also has a second-
degree kidnapping statute. A person is guilty of second-
degree kidnapping if he or she abducts another person (§ 135.20). This crime jac
ks the aggravating circumstances in first-
degree kidnapping, and it is ranked as a class B felony. A person who is convicte
d of a class B felony in New York State can be sentenced to one to eight years in
prison (§ 70.00).
In contrast, in State v. Wagner, 191 Wis. 2d 322, 528 N.W.2d 85 (Ct. App. 1995),

the appeals court upheld a separate conviction for kidnapping. In Wagner, the d
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 48 of 291

efendant approached two women on two separate occasions in a laundromat. Bo
th times, the defendant tried to force the women into a bathroom to rape them. H
e was convicted of two counts of attempted first-
degree sexual assauit, one count of kidnapping while armed, and one count of att
empted kidnapping while armed. On appeal, he argued that he shouid not have b
een convicted of kidnapping because, under section 940.31(1)(a) of the Wisconsi
n Statutes, kidnapping is defined in part as the carrying of a person “from one pla
ce to another," and he had not taken his victims to another place. The court disag
reed, holding that forced movement from one room to other falls within the meani
ng of the kidnapping statute. Ultimately, the appeals court affirmed the defendant’

s sentence of 72 years in prison.

« Since Thief is one who steal, Officer Lyland C. Crocilla stole my properties
without my consents, my items by putting them inside his pockets

« By cutting off my purse shoulder strap that was across from my shoulder,

» By fighting me for my personal possessions when he was fighting to get the
purse that have my personal privates information’s when he realist he could not
get it, he took out something that look like scissor cut the shoulder strap of the
purse then hit me in the back of my head then threw me into the floor.

+ Still to these days do not received/get my stuffs back that is including libraries
books that | had borrowed that was stolen and | was force to complain to Mr.
Derek Hosein about it who reached out to the libraries to have the items removed

and the fines to be removed.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 49 of 291

Assistance District Attorney Public Corruption Unit, New York
County District Attorney’s Office:
e Since Stephanie Minogue the Assistant
¢ District Attorney Public Corruption Unit stated on December 9, 2020 e-mail

“Investigator Johnson told me that you were asking for the case number for

our investigation. Unfortunately, that’s not something we can give out. It’s an

internal tracking number that we’re not allowed to share since it relates toa
pending investigation. We’ve got what’s called a “grand jury investigation”

Opened for your case, but those are by jaw completely secret and

confidential. That means that legally we can’t share information about your

case with anyone, except for your Lieutenant Hosein because he is helping
us with the investigation. So, because we can’t help you with your lawsuit,
you may want to hire your own attorney to heip with that.”
As the victim that requesting information about my case and it is me that happened too
so am in title to get information’s about the case, rather my requested have been denied
over and over again so I can find ways to get True-Justice: But according below the
laws and re-adjusted the laws stated.

1.} Federal Regulation of State and Local Law Enforcement Existing federal remedies for
constitutional violations by state and tocai law enforcement include civil and criminai
enforcement by the U.S. Department of Justice (DOJ) and private suits by individuals deprived
of their rights by someone acting “under color of” state law. In addition, the federal
government encourages states to enact certain policies related to law enforcement by placing
conditions on federal funding. Federal agencies also independently investigate and gather
data on law enforcement activities

2.) Federal Criminal Law A provision of the federal criminal code, 18 U.S.C. § 242 (Section 242},
makes it a crime for (among other things) a person acting “under color of any law, statute,
ordinance, regulation, or custom” to “willfully subject[ ] any person... to the deprivation of
any rights, privileges, or immunities secured or protected by the Constitution or laws of the
United States[.]” Section 242 also prohibits a person acting Congressional Research Service
https://crsreports.congress.gov LSB10486 Congressional Research Service 2 under color of jaw

from subjecting any person to “different punishments, pains, or penalties, on account of such
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 50 of 291

3.)

person being an alien, or by reason of his color, or race, than are prescribed for the
punishment of citizens[.]” A simple violation of the statute is punishable by a fine and/or up to
a year in prison. If bodily injury results, the offender may be fined and/or imprisoned for up to
ten years. If death results or other aggravating factors are present, Section 242 provides for a
fine and/or imprisonment for ten years to life or a death sentence (though the Constitution
forbids imposition of the death penalty for non-homicide offenses). A related provision, 18
U.S.C. § 241 (Section 241}, makes it acrime for “two or more persons [to] conspire to injure,
oppress, threaten, or intimidate any person ...in the free exercise or enjoyment of any right
or privilege secured to him by the Constitution or laws of the United States{.]” Violations of
Section 241 are punishable by up to ten years in prison or, if certain aggravating factors are
present, up to life in prison or death. The Supreme Court has held that “officers of the State . .
. performing official duties,” including public safety officials, act “under calor of .. . law” for
purposes of Section 242, As DOJ has explained, law enforcement officers may violate Section
242 through “excessive force, sexual assault, intentionai false arrests, theft, or the intentional
fabrication of evidence resulting in a loss of liberty to another.” DOJ enforces Sections 241 and
242 by bringing criminal charges against officers accused of violating those statutes. People
who believe their rights have been infringed may report such violations to DOJ, but Sections
241 and 242 provide no private right of enforcement. Notabiy, if DOJ elects to pursue criminal
charges under Section 242, it faces a high standard of proof: in Screws v. United States, the
Supreme Court held that to show a violation of a prior statute whose wording mirrored that of
Section 242, the prosecution must prove the defendant had “a specific intent to deprive a
person of a federal right made definite by decision or other rule of law.” The Supreme Court
extended this holding to Section 241 cases in United States v. Guest. In practice, the specific
intent requirement requires the prosecution to prove that a local official intended to violate a
federal right, as opposed to simply intending to, for example, assault a victim. This results in
what some view as a significant hurdle to bringing Section 241 and 242 claims.

DOJ Civil Enforcement Another section of the U.S. Code, 34 U.S.C. § 12601 (formerly codified
at 42 U.S.C. § 14141) renders it “unlawful for any governmental authority, or any agent
thereof,... to engage in a pattern or practice of conduct by law enforcement officers or by
officials .. . that deprives persons of rights, priviteges, or immunities secured or protected by
the Constitution or laws of the United States. “According to DOJ, potential violations of this

provision include “excessive force, discriminatory harassment, false arrests, coercive sexual
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 51 of 291

conduct, and unlawful stops, searches or arrests.” DOJ enforces this provision by filing civil
complaints against allegedly offending law enforcement agencies. The statute does not create
a private right of action {ie., a right for individuals harmed by violations to sue). Moreover,
because the law applies only to a “pattern or practice of conduct,” it cannot remedy isolated
instances of misconduct. Finally, the statute does not provide for monetary penalties. If DOJ
successfully sues under the provision, it may “obtain appropriate equitable and declaratory
relief to eliminate the pattern or practice.”

Private Civil Rights Litigation Federal law also allows individuals to seek civil redress for
violations of their legal rights. The applicable statute, 42 U.S.C. § 1983 (Section 1983), provides
in relevant part: Every person who, under color of any statute, ordinance, regulation, custom,
or usage, of any State... subjects, or causes to be subjected, any citizen of the United States
or other person within the jurisdiction thereof to the deprivation of any rights, privileges, or
immunities secured by the Constitution and laws, shall be liable to the party injured[.] Unlike
the foregoing statutory provisions, Section 1983 creates a private right of action, meaning that
anyone suffering a covered deprivation of rights may sue the persons responsible. Moreover,
unlike Congressional Research Service 3 Sections 241 and 242, courts have interpreted Section
1983 not to contain a specific intent requirement. A prevailing Section 1983 plaintiff may be
entitled to injunctive relief, attorney’s fees, and/or money darnages. Recovery may include
both compensatory damages (designed to make the plaintiff whole and compensate for the
legal injury) and punitive damages (designed to punish the defendant and deter future, similar
misconduct). Similar to Section 242, Section 1983 applies to persons acting “under color of”
state law. State and local public safety officers generaily act under color of state law for
purposes of Section 1983: as the Supreme Court has stated, “a public employee acts under
color of state law while acting in his official capacity or while exercising his responsibilities
pursuant to state law.” However, law enforcement liability under Section 1983 is subject to a
significant judicially created limitation: based on concerns that frequent litigation could
interfere with the work of law enforcement officers, the Supreme Court has held that law
enforcement officers’ benefit from qualified immunity from suit. The Supreme Court
announced the madern qualified immunity test in Harlow v. Fitzgerald, holding that
“sovernment officials performing discretionary functions, generally are shielded from liability
for civil damages” if they do not “violate clearly established statutory or constitutional rights

of which a reasonable person would have known.” The Supreme Court has explained that
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 52 of 291

qualified immunity is “an immunity from suit rather than a mere defense to liability; and like
an absolute immunity, it is effectively lost if a case is erroneously permitted to go to trial.” As
a result, courts generally consider qualified immunity early in a Section 1983 case, anda
defendant whose qualified immunity defense is denied is entitled to an immediate
interlocutory appeal. A court evaluating a claim of qualified immunity considers two
questions: (1) whether, viewed in the light most favorable to the plaintiff, “the facts alleged
show the officer’s conduct violated a constitutional right”; and (2) “whether the law clearly
established that the officer’s conduct was unlawful in the circumstances of the case.” While
that two-step analysis was once considered mandatory, in the 2009 case Pearson v. Callahan,
the Supreme Court held that judges could “exercise their sound discretion in deciding which of
the two prongs of the qualified immunity analysis should be addressed first.” In a series of
recent cases involving police use of force, the Roberts Court has reversed lower court denials
of qualified immunity, stating that “clearly established law” must not be defined at a high level
of generality and instead needs to be particularized to the facts of the case, which can amount
to a high bar for plaintiffs to overcome. The Supreme Court articulated another limitation on
Section 1983 suits in Monell v. Department of Social Services. In that case, the Court held that
a municipality is a “person” subject to sult under Section 1983. However, the Court further
held that a local government cannot be sued “for an injury inflicted solely by its employees or
agents” under the theory of respondeat superior (the legal doctrine that an employer may be
liable to suit for w
must show that an injury stems from a “policy or custom” of the municipality. This requires a
showing that “through its deliberate conduct, the municipality was the ‘moving force’ behind
the injury alleged,” and that the municipality acted with “deliberate indifference to the risk
that a violation of a particular constitutional or statutory right will follow.” This exacting
standard has led one commentator to assert that municipal liability “is practically a dead
letter.”

5.) Grant Conditions and Federal Oversight The federal government provides financial support to
state and local law enforcement in the form of grants, and may require states to enact certain
policies to qualify for such funding. As one example, the Edward Byrne Memorial Justice
Assistance Grant (Byrne JAG} Program provides federal support for state and local criminal
justice programs. Among other conditions, states that receive Byrne JAG funding must certify

compliance with the Death in Custody Reporting Act (DCRA). Enacted in 2014 the DCRA
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 53 of 291

requires states to report to the Attorney General certain information regarding the deaths of
individuals in the custody of law enforcement agencies. Byrne JAG grants have also have been
used to train officers on Congressional Research Service 4 use of force and de-escaiation of
conflict. In addition to guiding state and local law enforcement policy through grant funding,
federal government agencies independently collect data related to the use of force by state
and local law enforcement.

6.) June 2020 Executive Order on June 16, 2020, President Donald Trump issued an Executive
Order on Safe Policing for Safe Communities. In perhaps its most consequential provision, the
Executive Order directs the Attorney General to establish best practices for law enforcement
agencies and condition federal grants on compliance with thase standards. Specifically, the
Executive Order directs the Attorney General to certify independent credentialing bodies that
can assess agencies’ policies in areas such as use of force, de-escalation, and identifying
officers who may require intervention. Of particular note, credentialing badies will need to
“confirm” that state and local use-of-force policies prohibit the use of chokehaolds. The
Executive Order directs the Attorney General to allocate DOJ discretionary grant funding only
to state and local law enforcement agencies that have sought or are in the process of seeking
such credentials. In addition, the Executive Order directs the Attorney General to create a
database to track and publish data related to instances of excessive use of force by law

enforcement, requiring law enforcement agencies that receive discretionary grant funding to

ion to the database. The Executive Order also requires the Attormey General
to develop and propose iegislation to improve law enforcement practices and buiid
community engagement, and to identify and develop opportunities to train law enforcement
officers with respect to encounters with individuals suffering from impaired mental health,
homelessness, and addiction. Importantly, the Executive Order provides that many of its
requirements must be implemented “as appropriate and consistent with applicable law.” Asa
result, provisions that seek to change existing grant conditions may be tempered by recent
court rulings expressing skepticism of the executive branch's ability to unilaterally change
conditions related ta federal grants, such as those provided under the Byrne JAG program.
Basically, with this statement above shown the systems get free tax payers monies to do
nothing except cover their Derriére.

7.) Qualified Immunity Qualified immunity has been the subject of significant debate in recent

years. A May 2020 report by Reuters found that “since 2005, the [federal appellate] courts
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 54 of 291

have shown an increasing tendency to grant immunity in excessive force cases.” Critics of
qualified immunity assert that the test the Supreme Court announced in Pearson v. Callahan
improperly hinders Section 1983 claims. Not only is it difficult for plaintiffs to overcome a
claim of qualified immunity, these commentators assert, but furthermore courts often
consider only whether a defendant violated clearly established law, without reaching the
question of whether the defendant violated the plaintiff's rights—albeit in circumstances
courts have not yet assessed. Legal commentators have argued that this limited inquiry
prevents the development of clearly established law that could govern future Section 1983
cases. Some commentators also assert that the current doctrine of qualified immunity fails to
protect law enforcement officers from suit. Others defend the doctrine or favor limited
judicial reforms, asserting the need to afford police officers some level of deference when
making split-second decisions about the use of force, for example to subdue a fleeing or
resisting suspect. Congressional Research Service 5 The doctrine of qualified immunity arises
from the Supreme Court’s interpretation of Section 1983. Thus, either the Court or Congress
could modify the doctrine, and some !egal scholars have called on both branches to address
the issue. The Court has considered multiple petitions for certiorari raising challenges to
qualified immunity, and Justice Thomas and Justice Sotomayor have both expressed concerns
about the doctrine. On the legislative side, the Ending Qualified Immunity Act introduced in
June 2020 would wholly “remove the defense of qualified immunity.” Another proposal aimed
at removing barriers to Section 1983 liability is the Reforming Qualified immunity Act. Uniike
current law, which grants officials qualified immunity if the constitutional right alleged to have
been violated is not “clearly established,” this proposal would place the burden on Section
1983 defendants to affirmatively show with some particularity that the conduct at issue was
authorized by law. Specifically, the proposal would seek to remove the existing doctrine of
qualified immunity and instead provide that an individual defendant “shail not be liable” if the
defendant reasonably believed that his or her conduct was lawful and either (1) the conduct
at issue was “specifically authorized or required” by federal or state law, or (2) a federal or
state court had issued a final decision holding that “the specific conduct alleged to be unsawful
was consistent with the Constitution of the United States and Federai laws.” The Reforming
Qualified Immunity Act would also revise the rule articulated in Monell by providing that “a
municipality or other unit of local government shall be liable for a violation [of Section 1983]

by an agent or employee of the municipality or other unit of local government acting within
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 55 of 291

the scope of his or her employment,” in effect applying the doctrine of respondeat superior to

such governmental entities.

8.) Criminal Liability While changes to the doctrine of qualified immunity could alter civil liability

9.)

for law enforcement officers, other proposals would aim to expand criminal liability for civil
rights violations by officers. For example, the Eric Garner Excessive Use of Force Prevention
Act of 2019 would amend Section 242 to provide explicitly that “the application of any
pressure to the throat or windpipe which may prevent or hinder breathing or reduce intake
of air is a punishment” that may not be imposed on a racially disparate basis. The Police
Accountability Act of 2020 would provide a federal criminal penalty for assault or homicide
committed by certain state or local law enforcement officers. Some commentators also
advocate removing the specific intent requirement for Sections 241 and 242 announced in
Screws and Guest. According this statement in paragraph 9 clearly stated, yet video
surveiilance’s have shown that officer Crocilla had his foot between my chest pressuring with
the medical device place for more than twenty minute, | knew it andthe Assistant District
Attorney Public Corruption Unit on the day | went in to speaking to them and viewed the
video's tapped and to give my testimonies to them it clearly showed the office foot between
my breast and chess pressuring the Device that he had damage yet they refused to Criminal
Charges him, what good is it that laws passed and those in power refused to honor such laws.
Limitations on Military-Grade Equipment Under a federal program known as the 1033
Program, the federal government transfers certain excess military equipment to state and
local law enforcement agencies. Some commentators contend that this type of equipment
contributes to militarization of police forces without increasing public safety and increases the
risk of incidents of excessive force. The 1033 Program is authorized by statute, so Congress
has the power to alter or discontinue the program. There are a number of specific proposals
on this front. For instance, on May 31, 2020, Sen, Brian Schatz announced his intention to
introduce legislation that would end the 1033 Program. Another proposal related to the 1033
Program, the Stop Militarizing Law Enforcement Act, would maintain the program but impose

additional limitations and reporting requirements.

10.) Grants and Conditions on Federal Funds Numerous proposals currently before Congress

would invoke the Spending Clause in an effort to regulate state and loca! law enforcement
activities. Some proposals would fund voluntary state and local measures, such as use of force

and bias awareness training or body cameras. Other proposals would require states to enact
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 56 of 291

certain policies in exchange for federal! grants. For instance, the Police Training and
Independent Review Act of 2019 would fund training on cultural diversity and de-escalation
tactics while requiring participating states to “enact laws requiring the independent
investigation and prasecution of the use of Congressional Research Service 6 deadly force by
law enforcement officers.” The Preventing Tragedies Between Police and Communities Act of
2015 would oblige Byrne JAG grant recipients to mandate training on ways to reduce the use
of force. The Police Exercising Absolute Care with Everyone Act of 2019 (PEACE Act) would
require Byrne JAG grantees to enact laws limiting the use of lethal and less than lethal force by
law enforcement. The Next Step Act of 2019 would, among other things, direct Byrne IAG
grant recipients to submit quarterly reports te the Attorney General on officers’ use of force.
11.) The Justice in Policing Act of 2020 On June 8, 2020, Members of Congress led by the
Congressional Black Caucus presented the Justice in Policing Act of 2020, According to the
reported version of the bill from June 19, 2020, the jegislation would build on some of the
foregoing proposals ta reform multiple facets of federal, state, and local law enforcement,
including, but not limited to, the following: * Section 101 of the bill would amend Section 242
to change the mental state required for conviction from “wilfully” to “knowingly or
recklessly.” It would also remove the possibility of a death sentence for violating Section 242.
® Section 102 would limit qualified immunity for state and local law enforcement officers in
suits under Section 1983, and for federal law enforcement officers “in any action under any
source of law,” providing that it is not a defense to liability if an officer believed in good faith
that his or her conduct was lawful or that the rights the officer allegedly infringed were not
clearly established. © Sections 103 and 104 would seek to enhance investigations into
incidents involving law enforcement uses of force or a pattern or practice of law enforcement
misconduct by, among things, granting subpoena power to DOJ under 34 U.S.C. § 12601 and
authorizing state attorneys general to bring suit based on violations of that provision. e
Multiple provisions of the Act would facilitate federal data collection related to police reform.
For instance, Section 118 and Titie |, Subtitle B of the Act would require federal funding
recipients to report incidents involving uses of force by law enforcement, and Section 201
would create a federal law enforcement misconduct registry. « Section 362 would ban no-
knock warrants in drug cases at the federal level. The section would also condition certain
federalfunding upon states and localities prohibiting the use of no-knock warrants in similar

drug cases. e Section 363 would require states and municipalities that receive certain federal
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 57 of 291

funding to enact laws banning the use of chokeholds by law enforcement officers. # Section
364, the PEACE Act, would allow federal law enforcement officers to use deadly force only as a
fast resort to prevent imminent death or serious bodily injury when certain conditions are met
and impose limits on the use of “less lethal” force. This provision would also condition federal
grants on state and local law enforcement agencies’ establishing the same use of force
standard. Congressional Research Service 7 « Section 365, the Stop Militarizing Law
Enforcement Act, would limit the transfer of certain military-grade equipment (primarily
weapons and vehicles designed for combat} to state and local jaw enforcement. « Title III,
Subtitle A of the Act would seek to prevent and remedy racial profiling by law enforcement,
including by authorizing civil suits by DOJ and affected individuals. The Titie would also
establish various programs and policies to help eliminate racial profiling, such as by funding
training programs for state and local police. « Title Ill, Subtitle C would require the use of body
cameras by certain federal law enforcement officers and fund expanded use of body cameras
by state and local officers. « Title IV, the Justice for Victims of Lynching Act, would create a
new criminal prohibition on tynching, defined as conspiracy to violate certain federal hate
crime statutes.

12.) The JUSTICE Act on June 17, 2020, Senate Republicans unveiled the Just and Unifying
Solutions to Invigorate Communities Everywhere Act of 2020 (JUSTICE Act). The JUSTICE Act
would enact various reforms related to law enforcement, including but nat limited to the
following: « Under Title |, Section 101 of the bill, the George Floyd and Walter Scott
Notification Act, and Section 102, the Breonna Taylor Notification Act, would respectively
require recipients of certain federal funding to report to the federal government information
related to incidents involving law enforcement uses of force and no-knock warrants. « Section
105 would require recipients of certain federal funding to develop law enforcement agency
policies “prohibitling] the use of chokeholds except when deadly force is authorized,” This
section would also require the Attorney General to develop such a policy at the federal evel. e
Section 106 would create a new criminal offense of “knowingly and willfully falsify[ing] a
report... in furtherance of the deprivation of any rights, privileges, or immunities secured or
protected by the Constitution or laws of the United States where death or serious bodily injury
... occurs.” The penalty for violating this provision would be a fine and/or imprisonment for
up to twenty years. ¢ Title I! of the bill would provide grants to covered government agencies

to support the use of body-worn cameras by law enforcement officials. ¢ Title Hl would require
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 58 of 291

law enforcement agencies that receive certain federal funding to retain various disciplinary
records and to search the records of prior employers before hiring a law enforcement officer.
® Title IV, the Justice for Victims of Lynching Act, like the corresponding section of the Justice
in Policing Act, would create a new criminal prohibition on lynching, defined as conspiracy to
violate certain federal hate crime statutes. » Title V would create a Commission on the Social
Status of Black Men and Boys to “conduct a systematic study of the conditions affecting Black
men and boys.” Title VI would direct the Attorney General to develop training on
alternatives to use of force, de-escalation tactics, responding to behavioral health crises, and
duty to intervene when another officer uses excessive force. ¢ Titles VIl and IX would establish
a temporary National Criminal Justice Commission and require the Commission to create best
practices and conduct certain studies related to law enforcement oversight. Congressional
Research Service 8 « Title Vill would provide for development of an educational curriculum for
law enforcement personnel or candidates on the history of racism in the United States. © Title
X would impose criminal liability when a person “acting under color of law, knowingly engages
in a sexual act” with a person in federal custody. Violation of this provision would be
punishable by a fine and/or up to fifteen years in prison. This provision would also authorize

grants to states, municipalities, and Indian Tribes that enact similar laws.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 59 of 291

13.) Case:
325 U.S. 91 (1945)

SCREWS ETAL.
Vv.
UNITED STATES.

No. 42.
Supreme Court of United States.

Argued October 20, 1944.
Decided May 7, 1945.

* An indictment was returned against petitioners — one count charging a violation of § 20
of the Criminal Code, 18 U.S.C. § 52 and another charging a conspiracy to violate § 20
contrary to § 37 of the Criminai Code, 18 U.S.C. § 88. Sec. 20 provides:

"Whoever, under color of any law, statute, ordinance, regulation, or custom, willfully
subjects, or causes to be subjected, any inhabitant of any State, Territory, or District to the
deprivation of any rights, privileges, or immunities secured or protected by the Constitution
and laws of the United States, or to different punishments, pains, or penalties, on account of
such inhabitant being an alien, or by reason of his color, or race, than are prescribed for the
punishment of citizens, shall be fined not more than $1,000, or imprisoned not more than
one year, or both.” The indictment charged that petitioners, acting under color of the laws of
Georgia, 'willfully" caused Hail to be deprived of "rights, privileges, or immunities secured or
protected" to him by the Fourteenth Amendment — the right not to be deprived of life
without due process of law; the right to be tried, upon the charge on which he was arrested,
by due process of law and if found guilty to be punished in accordance with the laws of
Georgia; that is to say that petitioners “unlawfully and wrongfully did assault, strike and beat
the said Robert Hall about the head with human fists and a blackjack causing injuries" to
Hall "which were the proximate and immediate cause 94*94 of his death.” A like charge was
made in the conspiracy count.

The case was tried to a jury. The court charged the jury that due process of law gave one
charged with a crime the right to be tried by a jury and sentenced by a court. On the
question of intent, it charged that

"if these defendants, without its being necessary to make the arrest effectual or
necessary to their own persona! protection, beat this man, assaulted him or killed him while
he was Under arrest, then they would be acting illegally under color of law, as stated by this
statute, and would be depriving the prisoner of certain constitutional rights guaranteed to
him by the Constitution of the United States and consented to by the State of Georgia."

14.) More information with details facts: CRS In Focus |F10572, What Role Might the
Federal Government Play in Law Enforcement Reform?, by Nathan James and Ben Harrington

e CRS In Focus 1F11572, Police Accountability Measures, by Nathan James ¢ CRS Legal Sidebar
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 60 of 291

LSB10487, Congress and Law Enforcement Reform: Constitutional Authority, by Whitney K.
Novak # CRS Legal Sidebar LSB10492, Policing the Police: Qualified Immunity and
Considerations for Congress, by Whitney K. Novak « CRS Legal Sidebar LSB10495, Federal
Police Oversight: Criminal Civil Rights Violations Under 18 U.S.C. § 242, by Joanna R. Lampe
CRS Legal Sidebar LSB10494, Reforming Patterns of Unconstitutional Policing: Enforcement of
34 U.S.C. § 12601, by April J. Anderson # CRS Legal Sidebar LSB10498, Comparing Police
Reform Bills: the Justice in Policing Act and the JUSTICE Act, by Joanna R. Lampe « CRS Legal
Sidebar LSB10499, “No-Knock” Warrants and Other Law Enforcement identification
Considerations, by Peter G. Berris and Michaei A. Foster « CRS Legal Sidebar LSB10500,

Regulating Federal Law Enforcement: Considerations for Congress, by Whitney K. Novak

e On Frida, May 28, 2021 Email this: “| hope that you have been doing well and
staying safe and healthy. i'm writing to update you on the investigation of the
encounter you had with two MTA police officers at Penn Station in January 2020,
We were able to review surveillance video and speak to a number of witnesses,
and bring the officers in for questioning as well. Unfortunately, we simply could
not find enough evidence to establish beyond a reasonable doubt- the standard
we are required to meet in a criminal case- that either of the officers committed a

crime. One obstacle in particular was that several of the surveillance cameras at
Penn Station were not working that night, including the camera in the elevator
where the incident took place. We also were unable to find any eyewitnesses to
the incident itself.” According to Stephaine Minogue Police Accountability District.
State Attomey’s.

1.) My question that | have for Assistant District Attorney Stephanie
Minogue from Police Accountability District State Attorney’s is what
is the purpose of having camera’s inside train station that does not
work?

2.) MTA knew their cameras was not working why they did not fix it?
After all the cameras are there to protect the public/safety.

3.) The Officers knows the Camera’s not working that is why they
abused none-white people over and over again and they knew they

will get away with it because there is no evidence against them.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 61 of 291

4.) Why should | been denied of True-Justice because MTA who is worth
Billions failure to keep their equipment’s working, clean and up-to-

date?

LT Cona & SGT Vollas:
As leaders it is your job’s to lead by true, fair and just:
But refusal to do so and to hold those whom are
underneath you accountable for they and/or she action
you are “Association Fallacy,” You allowed and
continued to allow the behaviors/actions of your cloud
your judgement to be an effect leaders because of their
actions you are indeed as much as responsible as what
they've done to me and your indeed carry their burden.
- Your neglect your duties
- The Honors & Respects for any police officers in the public’s
eyes have become a joke because of those that work
underneath you.
- |assumed that you breach company rules/laws & regulation’
policies as someone in leadership because no company in
their company rules books would have such

behaviors/abuser attitude’s.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 62 of 291

People v. Lopez: Upholding conviction of adult under section 288(c)
for sexually molesting a 14— or 15—year—old child by “once touching
his penis, twice masturbating him, and once orally copulating him”
Robinson v. State, U.S. v. Ayala, U.S. V. Caldwell 560 F.3d 1214 (10" Cir.
2009),

U.S. v. Ofray-Campos 534 F.3d 7 (1st Cir. 2008), People v. Vansickle
A156274 (Cal. Ct. App. Oct. 23, 2020)

PO Michels
shame on you.

Your indeed guilty by association and you were there allowing your Partner
act in such awful behaviors

« You deserved to have your police batch taking away from you.
» Wilson v. Harrington Case No. 12-Cv-10059.
* State v. Clark 376 P.3d 1089 (Utah Ct. App. 2076)

EMS Ward:

It is your duty(ies) as a medical worker to provide proper medical
to who(m)’s ever became/was your client(s), rather chit-chatting
with your great-good friends the officers and joking around also
passing Prejudices Judgements against your clients it is not right,
fair nor just. When You arrived, you should had come straight to
me as a patient needed help, not those corrupt police officers.

- As an essential worker it is your duty to leave any prejudices

you have against anyone that you supposed to provided
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 63 of 291

cares for and for that | believes you need way more/way
better training.
Dr. Porter
| know being a Doctor is not easy especially working in the
hospital | do not hold it against you what took place. | know
your were doing your best with the false information’s and
reports that Officers Crocilla had provided when | first
arrived, we all learn from our mistake | hope in the future
whenever you see a patient that is handcuffs you should
spoke to the patient find out what is the real-true story from
that patient because Police Officer does lies in other to cover
their evil behaviors.
« | felt like | was not being heard by the hospital nor the Doctor
and no-one should never feel neglected to be heard by

essential workers.

The City Of New York
You are guilty by association because you gave license to
MTA to Hired abusive, racist and evil officers like Lyland C.
Crocilla and you have the power to force MTA and the Union
to fired also you have the power to make sure Criminal
Charges against Lyland C. Crocilla you The City Of New

York set laws, rules, edicts, regulations and organizations
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 64 of 291

example organization of like Police Accountability Unit/New
York County District Attorney’s Office and DOJ.

- Asa City it is your responsibilities that you protects the
Citizens and the Citizens Constitutional lawful and other
rights giving by them, it is your duty as a City to protect the
publics and you indeed City Of New York have dropped the
balls and you are accountable after all for those whom you
licenses/you gave businesses licenses too to do/operate
under your City.

- You set rules, laws and regulations for those organizations
and those whom work for such, yet you refused to honors
your owned laws.

- I know they are so many(ies) innocents’ clients who
complains and might even called certain organizations like
DOJ to complain yet nothing seemed was not done. If you

City Of New York be honest with yourself cares for your

Citizens a lot of abuser’s police officers or those whom work
in the essential field would not complain or report even file
sue.
| held you one-hundred percent for Lyland C. Crocilla
attacked on me that day and | hold you one-hundrend

percent for denying me true-Justice.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 65 of 291

City Of New York | honestly believe you have the power to
criminal charge the officers and especiaily officer Lyland C.
Crocilla

- You the city Of New York have the upper hands and the
powers to make sure Stephanie Minogue Deputy Chief
Police Accountability Unit New York County District
Attorney's Office to file criminal charges since your to busy
finding ways to pressed charges against President Donald J.
trump you can follow your own darn laws, rules, regulations,
edicts, the Constitutions, Federal Laws and any other laws
sets into place furthermore the laws that | stated above was
violate see | made it ways easy for you the City Of New York
by listed the laws and the violations for you. What happen to
me that day it is in your hands the City of New York. | do not
care if the Judge will remove you once | re-listed you in this
case i will bring it to higher courts and | am also ready to
take this case out of state eventually out of the U.S.
Jurisdictions if you the City Of New York refused to Criminal

Charges Officer Lyland L. crucilla.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 66 of 291

DOJ
U.S. Department of Justice:
Please do explained to me what are your job’s?
Because if you supposed to be and represented the United States
of America and you supposed to be Department of Justice why
did you/allowed those officers get away such abusive behaviors to
the public?

- It was not the first time’s any Citizen(s) in the state and city
Of New York called, complain, file grievance against those
officers, especially Lyland C. Crociila.

- You also share responsibilities for them and for Lyland C.
Crocilla attacked one me that because | had filed several
complained that returned void.

- You supposed to be Department of Justice where's the
justice to/for those Citizens that Officer Lyiand C. Crocilla
abused, | Know you should have a record of Crocilla

abusive-ways to the Citizen of City of New York.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 67 of 291

To Deputy Chief Stephanie Minogue, Police Accountability &
New York County District Attorney’s Office

Please do safe me the B’s excused. It seemed to me those
blockerages you’ve been giving me and denying me honest true-
Justice is unjust and unfair also denied me my Constitutional lawful
Rights of Due Process. Your Excused that you gave me for bring
Criminal Charges against the Officers especially Officer Lyland C.
Crocilla case me emotional duress when | know this officer still work
for these corrupted systems and still getting paid by yoir corrupted
systems.

+ What will it take for you to do your job correctly does it have to take a
future none-white person innocent blood/death in other for you to do
justice/do what is right for the citizen’s?

e You know those officers have record of Abusing the non-white
Citizens yet refusal to pressed Criminal Charges against then that is
indeed a future innocent death your refused.

+ Please be honest with me wnat will it take for you to be honest with
yourself and do your darn job criminal charge Officers Lyland C.

Crocilla in the name of his future Victims.

MTA, MTA 34" Precincts & Police Department Internal Affairs
Bureau:
They said one/few bad apples destroy the bunch indeed in this case
is it one-hundred percent rights:

¢ My question’s | have for you is how many innocent future victims will
you need to be in your books and paid in civil actions before you

throwed out completely those bad appies in/out of your books?
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 68 of 291

« You must indeed loves paying out monies that you charge high fees
to the publics so you can pay out civil actions sue that brought
against your bad apples?

- How many future dead-bodies of none-white does those bad apples
need to bring to your business/organization before you throw them?

- Ihave nothing against you nor your organization, if | can be honest, |
respect the MTA especially the train systems. But | do not respect the
MTA for allowing bad apples whom damages/doing unjust to the
public still works in your books

« [see it as weak, MTA you ran fast train and you're a big organization
but yet you allowed bad apples to make you looks weaks, evil in the
eyes of the public. Knowing that Lyland C. Crocilla still work for MTA
after what he has done to me and other clients, | lose every ounces of
respect | have for the MTA.

« Noamounts of money you can pay me can take away what’s have
done to me, can you turn back times to remove/wipe out the past?

- Your amounts of monies will not bring peace in my soui nor will bring
happiness to me because | will still have the horrified-horrible

memories of what have done to me in the past.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 69 of 291

Metropolitan Authority Police Benevolent Association:
You indeed a Guilty Union
How can you sleep at night that you well Known their bad apples
officers that your organizations are protecting?
« How much more innocent(s) innocents’ victims do you need in other
to do rights by the Citizens and fired those bad-apples officers.
« How many future blood-shied that you want to be in your hands
before you make a stand?
« Is your Union being the modern-day Communist Police Brutally?
- Why you still have those officers and Officers Lyland C. Crocilla in
your Union books after well know how many civil actions that
are/brought against them.

+ How many more victims is your Union will continue to allow?
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 70 of 291

Plaintiff:

According to New York law why is that the state of New York denying me such
laws/justice/ requested when | had request for the information’s under these
laws?

Relates to the disclosure of Jaw enforcement disciplinary records.
$8496 (ACTIVE) - SPONSOR MEMO

BILL NUMBER: $8496

SPONSOR: BAILEY
TITLE OF BILL:
An act to amend the civil rights law and the public officer’s law, in
relation to the disclosure of iaw enforcement disciplinary records; and
to repeal section 50-a of the civil rights Jaw relating thereto
PURPOSE:
To repeal Civil Rights Law § 50-a.
SUMMARY OF PROVISIONS:
Section 1 repeals Civil Rights Law § 50-a.
14.) Section 2 defines iaw enforcement agency (inciuding police agencies and
departments, sheriffs departments, the Department of Corrections and
Community Supervision, locai corrections and probation departments, fire

departments, and forces of individuals employed as firefighters or
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 71 of 291

VIEW MORE (90 LiNES)
$8496 (ACTIVE) - BILL TEXT

STATE OF NEW YORK

 

8496

INSENATE
June 6, 2020

introduced by Sen. BAILEY - read twice and ordered printed, and when

printed to be committed to the Committee on Codes

AN ACT to amend the civil rights law and the public officer’s law, in
relation to the disclosure of law enforcement disciplinary records.

and to repeal section 50-a of the civil rights law relating thereto

THE PEOPLE OF THE STATE OF NEW YORK, REPRESENTED IN SENATE AND
ASSEM-
BLY, DO ENACT AS FOLLOWS:

Section 1. Section 50-a of the civil rights law is REPEALED.

§ 2. Section 86 of the public officer’s law is amended by adding four
new subdivisions 6, 7,8 and 9 to read as follows:

6. "LAW ENFORCEMENT DISCIPLINARY RECORDS" MEANS ANY RECORD
CREATED IN
FURTHERANCE OF A LAW ENFORCEMENT DISCIPLINARY PROCEEDING,
INCLUDING, BUT
NOT LIMITED TO:

(A) THE COMPLAINTS, ALLEGATIONS, AND CHARGES AGAINST AN EMPLOYEE.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 72 of 291

(B) THE NAME OF THE EMPLOYEE COMPLAINED OF OR CHARGED.

(C) THE TRANSCRIPT OF ANY DISCIPLINARY TRIAL OR HEARING, INCLUDING
ANY
EXHIBITS INTRODUCED AT SUCH TRIAL OR HEARING.

(D) THE DISPOSITION OF ANY DISCIPLINARY PROCEEDING; AND

(E) THE FINAL WRITTEN OPINION OR MEMORANDUM SUPPORTING THE
DISPOSITION
AND DISCIPLINE IMPOSED INCLUDING THE AGENCY'S COMPLETE FACTUAL
FINDINGS
AND ITS ANALYSIS OF THE CONDUCT AND APPROPRIATE DISCIPLINE OF THE
COVERED EMPLOYEE.

7."LAW ENFORCEMENT DISCIPLINARY PROCEEDING" MEANS THE
COMMENCEMENT OF
ANY INVESTIGATION AND ANY SUBSEQUENT HEARING OR DISCIPLINARY
ACTION
CONDUCTED BY A LAW ENFORCEMENT AGENCY.

8. "LAW ENFORCEMENT AGENCY" MEANS A POLICE AGENCY OR
DEPARTMENT OF THE
STATE OR ANY POLITICAL SUBDIVISION THEREOF, INCLUDING AUTHORITIES
OR
AGENCIES MAINTAINING POLICE FORCES OF INDIVIDUALS DEFINED AS POLICE
OFFICERS IN SECTION 71.20 OF THE CRIMINAL PROCEDURE LAW, A SHERIFF’S
DEPARTMENT, THE DEPARTMENT OF CORRECTIONS AND COMMUNITY
SUPERVISION, A
LOCAL DEPARTMENT OF CORRECTION, A LOCAL PROBATION DEPARTMENT, A
FIRE
DEPARTMENT, OR FORCE OF INDIVIDUALS EMPLOYED AS FIREFIGHTERS OR
FIREFIGHTER/PARAMEDICS.

EXPLANATION--Matter in ITALICS (underscored) is new, matter in brackets

[] is old law to be omitted.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 73 of 291

In Conclusion
The Rules, Laws and Regulations should be abiding by everyone does not
matter what positions or governments agencies works/part/members of/groups/
parties belongs too. This is America there should not be two-tiers of rules, rules
for thee not for me. The Deputy Chief Police Accountability Unit New York
County District Attorney’s Office, Metropolitan Authority Police Benevolent
Association, MTA, DOJ, The City Of New York, et al, should be fair and just to
the/victim(s). Give the victims peace and justice for the sick of justice criminal
charges the individual(s) who committed the crimes/offense work for the
systems.

: |amrequesting this Court to grant me justice by Criminal Charge Officer Lyland
C. Crocilla for his wrong-doing for his attack to a civilian who wasn't committed
no crime/no offense.

« {am also requesting the Court and You Judge to make sure the other officers
whom part taking/whom allowed Officer Lyland C. Crocilla to abused his powers
& authorities/his behaviors they did not stop him nor point out his evil-wrong
doing

» they should be fired and should not work with no companies that they can
accessed the publics information’s.

« Those Officers should be responsible and have accountabilities’ for Lyland C.
Crocilla actions.

¢« l|amrequesting Criminal Charges should be brought against Lyland C. Crocilla

Name Correction:
lam also reminding the Court the way the spell my name on their
record is in correct please do correct
My name spelis
Queen’Prinyah Godiah NMIAA Payne’s E!-Bey

The NMIAA is abbreviate because my name indeed s long.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 74 of 291

 

8/26/2021
Attention: HRA East End Center (802)

2322 Second Avenue, NY, NY¥ 10035

To Whom it May Concern,

Prinyah Elbey DOB 4/18/1993 is a client at the Bronx Health Center and started taking Mirtazapine
7.5mg four days ago. She is being treated for major depressive disorder and post-traumatic stress
disorder. Any questions may be addressed to:

Peter Bulow MD

Pf bat D

¥ 2¢/202/

253 E, 142" STREET BRONX, NY 10454
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 75 of 291

UNITED STATES SUPREME COURT,

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
&
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

X

 

Supreme Court #:
&

FEDERAL COURT INDEX#:
20-CV-0524(MKV)

Queen’Prinyah Godiah NMIAA Payne’s El-Bey

Plaintiff

-against-

Crocilla, Cona, Michels, Porter, Vollas, Ward

Metropolitan Authority Police Benevolent Association & Police Benevolent Association
Metropolitan Transportation Authority, MTA & MTA 34 precinct @ Penn Station, The
City Of New York, Bellevue Hospital,

Bellevue Hospital, et al.,
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 76 of 291

Index#:

Affidavit
Grievance plead letter to Supreme Court
to Criminal Charge Officer Lyland C. Crocilla

for the crime that was done to me, this is my last-hope for true-justice

Dear, Supreme Court the Highest Court of the Land.
You're indeed the highest court of the lands.
You indeed make/created the laws, rules, regulations and/or interprets the laws.
As the highest Court of the land | am turning to you for last hope of true Justice.

When the taws’ breach/broken True-Justice must prevailed. | am turning to you for hope
with heavy heart and burdens of this case that is in the hand of federal court. | was told
if | add certain party in my amend compiain that the judge would remove it but the same
job stated that ! was able to file another sue and bring other parties in this case. As a
Pro-Se am not sure if that is legal or correct but | am doing accordingly what | was told.
After all | am not a Judge nor an Attorney all | have been asking and still asking is true-

Justice for the wrong that Officers Lyland C. Crocilla done to me.

They said the laws changes and there are police reforms if that is the honest true/ the
honest cases why is so hard for the officers to be criminal charges and why am las a
person who is the victim that those officers abused that | cannot/ | have been denied
over and over request access to the investigation that ! was told taking place according
to what | understood by Stephanie Minogue Assistant District Attorney Public Corruption
Unit New York County District Attorney's Officer since she claimed and she seemed she

is powerless to Criminal Charges Officer Lyland C. Crocilla under the laws, | am
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 77 of 291

honestly turning to you for jast-hope and if | failed in your systems | am indeed planning
on taking this case compietely outside the Jurisdictions of the United States of America
in the hope the courts of internationals one of them shail find those officers especially
officer Lyland C. Crocilia guilty and Criminal Charges him for the wrongdoing he have

done to me as a person-who have pre-existing health conditions and who is disable.

This case for me is not about money but is one-hundrend percent about true-justice. In
the hope the Highest court of this land can granted me my heart desires, my heart

requested Criminal Charges officer Lyland C. Crocilla.

 

 

ee a . ;
On this 5 day o' Sey lenb ar zh
fatiin

120 : Pa a
Before me came Mela Grodtah fe ff, tv, a, ey Raynes &t ~ Bay
fo me known to be the individual described in and
who execuied the foregoing instrument and

neanoieayc that he/she exeeuted the same

we fa
/ C pf, CS -— eB,
P v ,
}

—  BONNYALGOZZINE
NOTARY PUBLIC STATE OF NEW YORK
No. O7AL6394009 ,
QUALIFIED IN DUT CHESS NTY
MY COMMISSION EXPIRES ge ge

 
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 78 of 291

BELLEVUE HOSPITAL
Attention Legal Department @ BELLEVUE HOSPITAL:
462 First Avenue, New York, NY 10016

Dr. Porter @ Bellevue Hospital
462 First Avenue, NY 10016
Jessica Bonnie Poster, MD @Bellevue Hospital
462 First Ave NYC 10016
Aiden Rose Shapiro, MD/ED Supervisory @Bellevue Hospital
462 First Ave, NYC 10016
Amy A. Costa Social Worker @Bellevue Hospital
462 First Avenue, NYC 10016
Marina Rosa Gabaga RN @ Bellevue Hospital
462 First Av, NYC 10016
Audia Williams RN @Bellevue Hospital
462 First Ave, NYC 10016
William Plowe, MD @ Bellevue Hospital
462 First Av, NYC 10016
Shawnmarie Jackson, NP @ Bellevue Hospital
462 First Ave, NYC 10016
Marina Dela Rosa Gabaya RN @ Bellevue Hospital
462 First Ave, NYC10016
Kyle Pastenac, MD @ Bellevue Hospital
462 First Av, NYC 10016
Dawa Lhamo Dadak, RN
462 First Av, NYC 10016
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 79 of 291

New York State
Please forward to legal Dept/Right Dept
New York Secretary of State Corporations Division

Address: One Commerce Plaza, 99 Washington Ave, Albany, NY 12231-0001

NITA
Jason Douglas Barnes
Assistant Associate Counsel
Metropolitan Fransportation Authority
2 Broadway, C4.85
New York, NY 10004
&
NMITA’s Officers
PO Michels
ID# 4012
PO Lyland Crocilla
ID#:2477
SGT Vollas
ID# 414
Patrol Supervisor LT. Cona
ID#63
EMS Ward
ID#2

Da |, _ pt inbancl AFfars &
we am ‘AN St 30 MYC 1070

ft
fe whl ofl pol , fants fe Aor
ABS Wh 5 ” (SUSAR. 2930
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 80 of 291

The mayor Office
Attention: Bill De Blasio
City Hall, NYC 10017
Civilians Complaint Review Board
100 Church Street, 10" Floor
New York, NY 10007

New York City
City of New York, Attn: Corporation Counsel,
100 Church St., 5" FI., New York, NY 10007

Department of Investigation
180 Maiden Lane, 167 Floor
New York, NY 10038

New York City Department of Health
Elizabeth F. Whalen, MD, MPH, Commissioner

175 Green Street Albany, NY 12202Phone
(518) 447-4580Fax (518) 447-4698

New York New York Secretary of State
123 William Street
New York, New York, 10038
212-417-5800
The National Police Accountability project
499 Fashion Av, NYC 10018
Bureau & Unit District Attorney Office in Manhattan
One Hogan Place, NYC 10013

{ mo KSCME

 
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[-

Nb

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 81 of 291

District Attorney/Public Corruption Unit
Civil Right Division:
Attention Chief Civil Rights Unit
86 Chambers Street 3% Floor, NYC 10007

Police Accountability Unit
Attention National Police Accountability Unit
499 Fashion Ave, NYC 10018

Department of Justice (DOJ)
United States Department of Justice
950 Pennsylvania Av, NW
Washington, Dc 20530-0001

District Attorney, Public Corruption Unit
Civil Division Attention Chief Civil Rights Unit
86 Chambers Street 3 Floor
NYC 10017

Police Accountability Unit
Attention: The Nationa! Poiice Accountability
99 Fashion Av, NYC 10018

Office of Internal Affairs

Office of Internal Affairs
Attention Deputy Commissioner of Internal Affairs

P.O. Box 10001, NYC 10014

. (212)741-8401
Word:
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 82 of 291

incident Report 20-595 suplemant No
M.T.A. POLICE DEPARTMENT

Reported Date

420 LEXINGTON AVENUE 02/09/2020
Nature of Call
SUITE 425 AIEDPN
‘ Officer
NEW YORK, NY 10170 CROCILLA , LEYLAND

(212) 878-1000

       

 

 

 

 

 

 

 

 

 

 

 

 

Agency Case No Supplement No | Reported Date Reported Time | CAD Call No
M.T.A. POLICE DEPARTMENT 20-595 01/09/2020 03:33 |200090056
Status Nature of Calf

AIDED REMOVED TO HOSPITAL AIDED-EDP~N

Lecation City Rep Dist County

W 34TH ST/TTH AV MANHATTAN MPSTO2 | MANHATTAN
Peat From Date From Time =| To Date To Time

NA 01/09/2020 02:41 [01/09/2026 02:41

Officer Assignment 2nd Officer

C86673 /CROCILLA, LEYLAND PATROL OFFICER MICHELS , DOUGLAS
Entered by Assignment RMS Transfer Property? | Fransit iD Org Nature of Call

C86673 | PATROL OFFICER Successful None | NONE AIEDPN

 

 

 

 

 

 

Approving Officer

      

Approval Bate Approval Time

    
 
      

  
  
   

  

 

 

 

 

 

 

 

Invi No Name MN 50B
AID |1 I EL BEY,PRINYAH GODIAH 844508 B F 04/18/1993
Invl Invi No Type Name MNi Race Sex BOB
EMS | 1 G WARD 844509
Invi Invl No Type Name MN Race Sex DOB
MED ;1 I DR PORTER 844510
Inv invi No Type Name MNI Race Sex DOB
MoS ji G PO MICHELS
Invi Invi No Type Name MNi Race Sex DOB
MOS |2 G PO CROCILLA
Invi invl No Type Name MNI Race Sex DOB
PSV {1 G SGT VOLLAS
Invi Invi No Type Name MINI Race Sex DOB
2 LT CONA

 

 

 

 

 

 

 

 

   

  

(ss
Type License No State Lic Year Year Make Model Style Color
0 7c NY 2020 2020 *AMB

pick up
Hospital along with a police escort.

 

ove

 

Report Officer Printed At
C86673/CROCILLA, LEYLAND 10/14/2020 11:30 Page 1 of 3

Supervisor Signature

 

 

 

 

 

 

MTA-000007
Case 1:20-cv-00524-LTS-GWG Document 38

 

 

 

Filed 09/09/21 Page 83 of 291

 

 

 

 

 

 

 

a Supplement No
incident Report 20-595 ORIG
M.T.A. POLICE DEPARTMENT

Bi sy & eal 4 OBIF
Involvement | Seq Type Name MINE Race Sex
AIDED jl INDIVIDUAL EL BEY,PRINYAH GODIAH 844508 BLACK | FEMALE
DOs Age Juvenile’?
04/18/1993 | 26 No
Type Address Cily
HOME ADDRESS 40 ANN ST NEW YORK
State ZIP Code
NEW YORK |10038

 

 

Type

OPERATOR LICENSE/STATE ID CARD

ID No

 

16240839045608

 

Emptoyer/School
NONE

VIOLENT EDP

 

 

Treatment

 

involvement

 

 

  

   
 

 

MNi

 

 

 

 

Involvement

MEDICAL PERSONNEL/DOCTOR

  
 

EMPLOYEE-SIRTOA 844509
Type ID No

EMS/FIRE ID NUMBER (SHITELD-ETC} 2396

Employer/Schoo! Position/Grade

FDNY EMT

  
  

INDIVIDUAL

       

Name

DR PORTER

 

MINI
844510

 

 

Employer/Schoot
BELLEVUE HOSPITAL

Involvement

MEMBER OF SERVICE-MTA

Seq

Position/Grade

DOocTOR

 

Type

GOVERNMENT

 

Name

PO MICHELS

 

 

1D No
4012

Type
FD SHIELD

 

 

Employer/School
MTA POLICE DEPT

 

MEMBER OF SERVICE-MTA

   
    

Position/Grade

P.O.

GOVERNMENT

  

 

 

PO CROCILLA

 

Type iD No
PD SHIELD 2477

 

 

Employer/School
MTA POLICE DEPT

PATROL SUPERVISOR

      
      

P.O

Position/Grade

SGT VOLLAS

 

Type ID No
PD SHIELD 414

 

 

Employer/School
MTA POLICE DEPT

PATROL SUPERVISOR

 
    

  
   
 
 
  

yp
GOVERNMENT

Position/Grade

LT CONA

 

Type ID No

 

 

 

 

PD SHIELD 63

Employer/School Position/Grade

MTA POLICE DEPT LIEUTENANT

Report Officer Printed At

C86673 /CROCILLA, LEYLAND 10/14/2020 11:30 Page 2 of 3

 

 

 

Supervisor Signature

 

 

 

MTA-000008
 

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 84 of 291

Incident Report 20-595 Supplement Ho
M.T.A. POLICE DEPARTMENT

AMBULANCE - GENERAL AMBULANCE 2020 | AMBULANCE

Make
AMBULANCE - GENERAL

     

, ata Ath , undersigned officers o e ck fem wheelcha
yelling and screaming for no apparent reason. The female/EDP stated " you white red neck cops are harassing
me, | pray to Allah that you get killed with a rifle, !'m gonna come back and kill you fags and | want an ambulance".

Upon escorting the female/EDP up to the 34 Street entrance, the female EDP did pick up a cone and attempt to
throw it at undersigned officers. The female EDP did attemtp to scratch undersigned officers and did attempt to
strike us with both her hands, The female/EDP was rear cuffed and escorted into the ambulance for transport

along with all of her property. The female/EDP was lodged at CPEP located at Bellevue Hospital for a psychiatric
evaluation.

 

 

Report Officer Printed At
C86673/CROCILLA, LEYLAND 10/14/2020 11:30 Page 3 of 3
Supervisor Signature

 

 

 

 

MTA-000009
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 85 of 291

United States District Court
Southern District Of New York

 

20-CV- 0524(MKV)
Motion:
Movant Matier of The Law

To Criminal Charge
Officer Lyland C. Crocilla

&
to Fired Officer Crocilla

Partner/other officers.
Queen'Prinyah Gediah NMIAA Payne's El-Bey

Piaintiff

-Against-

Defendant’s: |

Crocilla, Cona, Michels,Porter, Vollas, Ward

Metropolitan Authority Police Benevolent Association & Police Benevolent Association
Metropolitan Transportation Authority, Policed Accountability... New York County
District Attorney's Office, MTA & MTA 34 Precinct @ Penn Station, et al...

Dear, Judge MARY KAY VYSKOCIL

You are indeed a far, honest Judge and a Judge that abide by the laws and the oaths
that you took.

| am putting this request of Motion to Movant Matter of the Laws that Officers Lyland
C. Crocilla had breached the laws and according to Stephanie Minogue Deputy Chief
Police Accountability Unit her stated email“! do want to let you know that both officers
are still going to face disciplinary charges because of the work hat Lieutenant Hosein
with the MTA’s Interna! Affairs Bureau did in investigating your case. The Fact that we

can’t go forward with criminal charges is not going to change that.”
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 86 of 291

Honestly am not sure if they have the power/authority(ies) to pressed Criminal Charges
and if they can’t who does, then. Aiso, | had been requesting copies of the
investigations so | can properly understand so far have been done, my requested
returned void to me. | honestly will not rest until Criminal Charges have been assigned
against Officer Lyland C. Crocilla, this MTA officer have abuse his powers, positions
and authorities to attack the public, to stalked, bullying, harassed and threaten so forth
his victims yet this Officer after everything he have done to me, put me through, stalking
me on social media, harassed me and threaten my life and those who | love in order to

keep me silence still work as an officer.

How many people need to be endangered or be kills before the systems, the
organizations, the Unified Courts Systems to put a stop into Officer Lyland C. Crocilla

Abuser authorities’ behaviors/ways.

« | thought they were police reform laws if that is the case why this officer still has
his job?

« Why this officer style has access to the systems where he can continued
victimize his victims?

s How can | have peace when | know Officer Lyland C. Crocilla still have access

bw eretaene ba narie fo

or the systems because am in fear for my life and my safety |
hand up have to be low-key. | hand up closing ail of my social media’s including
my Youtube Accounts had to became private because of Officer Lyland C.
Crocilla Bullying, Harassment's and threaten, ! had turn all of the details and
gave accesses to all of my personal information’s including my social media’s
and Youtube accounts access to the Internal Affairs Bureau yet after this Officer
turns my life upside down, caused me PTSD that | was diagnosed, depression
and other medical stuffs by my doctors that am under medications and
treatment’s for them plus other traumas that he lefi me with yet he still have
access to the system as police officer, a fast Google Search shown other cases
that this Officer have against him. Since the !nternal Affair Bureau refused to
follow the iaws the Court are there to make sure the laws are followed. | cannot

and | will not accept any forms kind of cash/fiats settlements without Criminal
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 87 of 291

Charge Officer Lyland C. Crociila, he needs to be Criminal Charge that is one of
my settlement demands.

s Since the Internal Affairs Bureau refused to give me the information’s that | need
and denying me fairness of Due-Process by denying me access to the report am
also requesting you Judge and the Court to request those record from them
along with information’s from the Foi! that will shown over and over again how
Officer Lyland C. Crociila abuse his powers, authorities to breach the laws, and
since the Union that he is under refused to fired him allowed him free access to
the systems to continue his abusive behaviors to his victims it is sad. Lyland C.
Crocilla turn my life upside down, put fears of life and fears for safety for my
loves one that | cannot be normal! nor enjoy my life as | used too, so ’'m
requesting the Court and you Judge follow the laws/to abide the laws and
granted me what | have been requesting after the attack that is Criminal Charges
need to be pressed against the officers that will be the only hope of peace I can
get knowing that by him having criminal charges against him and he is fire he will
never used his powers and authorities to abuse if any more to anyone, any future
public victims. My only peace and my only desire Judge are to have Lyland C.
Crocilla to be Criminal Charge for the crimes of abuse he has done to me that is
my only piead to you Judge and to the Court...

e |am asking the Court and you Judge put yourself in my shoe if you were in my
position that suffered pre-existing health conditions that is disable and was not
doing anything wrong/nor crimes nor created disturbing the public yet an officer
approached you after using a public bathroom, pull up his golf cart in front of you
with heavy flash-light got off the vehicle touch you unappropriated on your side
and you made several requested total of five to have a female officer to be there
dea! with whatever the male officer have rather that was granted when the officer
well-know he is violating your constitutional rights freedom of religion because
you're a Muslim and as you requested for female officer your requested was
ignored rather racist-slur was throwing at you, and false imprisonments for no
reason and still this day still does not know why?.. If you were in my position
Judge all you be asking after the attack is for Justice is for Officer Lyland C.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 88 of 291

Crocilla to be criminal charge yet ali you got is block from the systems rather
protect and help the victims in this case the systems are protected the abuser.

e The Officer breach/broke the laws, the officer abuses his power, his authorities
and his trust to the public, how much none-white have to be abused before
another-one/one died again in the hands of this officer in other for true justice be
serve to the victim (s)?

e lf the Systems in New York refused to granted me True Justice | will have to
move this case out of state or out the Country because | want Criminal Charges

to be brought against Officer Lyland C. Crocilla.

The laws stated:

e In New York, harassment is a crime, and the maximum penalty is
imprisonment up to four years. Each of the four types of harassment in New
York has an intent element where the defendant must intend to harass,
annoy, or alarm the victim. For the more severe forms of harassment, the
victim must have reasonably become apprehensive.

e Yet the Union Metropolitan Authority Police Benevolent Association & Police

Benevolent Asscciation Metrepolitan Transportation Authority, Stephanie
Minogue Deputy Chief Police Accountability Unit, MTA and the City of New

York

The policeman or law enforcement official who caused the harassment has

demonstrated a pattern of harassing behavior.

» The policeman who caused the harassment did not have probable cause or an
appropriate warrant for an arrest.

» The excessive force used by the policemen caused serious injury or death.

New York Penal Law § 240.21 - 240.32

>» First-Deqgree Harassment
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 89 of 291

Harassment in the first degree, a class B misdemeanor, occurs when the
defendant's conduct results in a victim being placed in reasonable fear of
physical injury. The maximum penaity is three months' incarceration and a
year’s probation.

> Second-Degree Harassment

When someone applies physical force to another person, follows that person
around in public places or engages in conduct intended to alarm or seriously
annoy the person, this constitutes second-degree harassment. As in all
harassment cases, the defendant must have the intent to harass, annoy or
alarm the person, and the course of conduct can have no /egitimate
purpose. Second-degree harassment is a violation, and the maximum

punishment is 15 days in jail.
> First-Decgree Aqaravated Harassment

New York saves its stiffest sanctions for first-degree aggravated harassment, a
class E felony with a maximum penalty of four years’ imprisonment. Defined
as intentionally setting out to annoy, threaten or alarm someone because of
race, color, national origin, gender, religion, age, disability or sexual
orientation, the charge also needs the intent to commit one of the following
acts: damage religious property, place a swastika on real property without
the owner's permission, set a cross on fire in public or place a noose on real

property without the owner's permission.
> Aggravated Harassment in the Second Degree

Aggravated harassment in the second degree occurs when, with the intent to

harass, annoy, threaten, or alarm another person they:

e communicate with a person, anonymously or not, by telephone, mail, or other

written communication in a manner likely to cause annoyance or alarm.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 90 of 291

* causes a communication of this kind to take place.

e makes a telephone call, whether or not a conversation takes place, with no
purpose of jegitimate communication:

e strikes, or attempts or threatens to strike, a person on account of their perceived
race, color, national origin, ancestry, gender, religion, age, disability, or sexual
orientation.

e strikes someone causing an injury to them; or

e« is a repeat harassment offender.

>» SECTION 240.30
» Aggravated harassment in the second degree
Penal (PEN) CHAPTER 40, PART 3, TITLE N, ARTICLE 240
§ 240.30 Aggravated harassment in the second degree.
A person is guilty of aggravated harassment in the second degree when:
{. With intent to harass another person, the actor either:

(a) communicates, anonymously or otherwise, by telephone, by computer
or any other electronic means, or by mail, or by transmitting or
delivering any other form of communication, a threat to cause physical
harm to, or unlawful harm to the property of, such person, or a member
of such person's same family or household as defined in subdivision one
of section 530.11 of the criminal procedure law, and the actor knows or
reasonably should know that such communication will cause such person to
reasonably fear harm to such person's physical safety or property, or to
the physical safety or property of a member of such person's same family
or househoid: or
(b) causes a communication to be initiated anonymously or otherwise,
by telephone, by computer or any other electronic means, or by mail, or
by transmitting or delivering any other form of communication, a threat
to cause physical harm to, or unlawful harm to the property of, such
person, a member of such person's same family or household as defined in
subdivision one of section 530.11 of the criminal procedure law, and the

actor knows or reasonably should know that such communication will cause
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 91 of 291

such person to reasonably fear harm to such person's physica! safety or
property, or to the physical safety or property of a member of such
person's same family or household; or
2. With intent to harass or threaten another person, he or she makes a
telephone call, whether a conversation ensues, with no purpose of
legitimate communication; or
3. With the intent to harass, annoy, threaten or alarm another person,
he or she strikes, shoves, kicks, or otherwise subjects another person
to physical contact, or attempts or threatens to do the same because of
a belief or perception regarding such person's race, color, national
origin, ancestry, gender, gender identity or expression, religion,
religious practice, age, disability or sexual orientation, regardless of
whether the belief or perception is correct; or
4, With the intent to harass, annoy, threaten, or alarm another person,
he or she strikes, shoves, kicks, or otherwise subjects another person to
physical contact thereby causing physical injury to such person ortoa
family or household member of such person as defined in section 530.11
of the crimina! procedure law; or
5. He or she commits the crime of harassment in the first degree and
has previously been convicted of the crime of harassment in the first
degree as defined by section 240.25 of this article within the preceding
ten years.

Aggravated harassment in the second degree is a class A misdemeanor.
» Third-Degree Stalking

Third-degree stalking occurs when a person intends to harass, annoy or alarm
someone and acts in a way likely to cause the victim to fear physical injury,
sexual assault, kidnapping or death, either personally or to a family member.
This is a class A misdemeanor, which may bring up to a year’s

imprisonment and three years’ probation.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 92 of 291

1.)Police Brutality:

Police brutality is the excessive and unwarranted use of force by law enforcement. It is

an extreme form of police misconduct or violence and is a civil rights violation. It also

refers to a situation where officers exercise undue or excessive force against a

person, Police violence includes but is not limited to physical or verbal harassment,

physical or mental injury, property damage, inaction of police officers, and in some

cases, death.

e

Individual persons like myself as a pro se can actively sue an officer that is
suspected of violating someone's civil rights or causing death, serious
bodily harm, or injury. Qualified immunity will not be a sufficient response
in cases of officers violating the rights granted by the Bill of Rights and the
Amendmenis of the Constitution (24-31-904),.

Let me remain The Officers who Attack me, The City of New York, Those Unions

that Support those Officers brutal behaviors & the MTA.

3.) Police Misconduct:

* As civilians, we expect that police officers will protect and serve our communities,

as required by their oath. However, some police officers abuse their power and

harass innocent citizens. Police harassment occurs when an officer arbitrarily or

continually stops someone. Officers may engage in aggressive questioning of an

innocent person or conduct an illegal.

> Since Police harassment is different to/from police misconduct as it refers to
an officer continuously stopping, aggressively questioning, or searching
someone, without proper legal grounds fo do so. Here are some more forms

of police harassment:

Using excessive force
Making comments of a racist, homophobic, or sexist nature
Doing illegal surveillance on someone

Holding someone against their will
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 93 of 291

» Police misconduct encompasses several different types of claims against the
police, including discrimination, false arrest, and excessive use of force in view of
the circumstances.

« Thatl indeed had suffered all/both under Officer Crocilla and his Partners-Mafia
Workers:

= 34U.S.C. § 12601

§12601. Cause of action

(a) Unlawful conduct

{t shal! be unlawful for any governmental authority, or any agent thereof, or
any person acting on behalf of a governmental! authority, to engage in a
pattern or practice of conduct by law enforcement officers or by officials or
employees of any governmental agency with responsibility for the
administration of juvenile justice or the incarceration of juveniles that deprives
persons of rights, privileges, or immunities secured or protected by the

Constitution or laws of the United States.

(b) Civilaction by Attorney General

Whenever the Attorney General has reasonable cause to believe that a
violation of paragraph (1) + has occurred, the Attorney General, for or in the
name of the United States, may in a civil action obtain appropriate equitable

and declaratory relief to eliminate the pattern or practice.

(Pub. L. 103-322, title XXL §210401, Sepi, 13, 1994, 108 Stat. 2071 ..), CITE:
34 USC 12601

42 USC § 14141 (2011)
§14141. Cause of action(a) Unlawful conduct

e Itshall be unlawful for any governmental authority, or any agent thereof, or any
person acting on behalf of a governmental authority, to engage in a pattern or
practice of conduct by law enforcement officers or by officials or employees of
any governmental agency with responsibility for the administration of juvenile

justice or the incarceration of juveniles that deprives pers
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 94 of 291

4.) Constitutional Right’s
The Constitution's 5th and 14th amendments prohibit all levels of government, which
includes the police, from unfairly or arbitrarily depriving individuals of their rights
to life, liberty, and property.
e All United States people, regardless of immigration or citizenship status, have
rights should they be stopped or detained by police, that include the following
protections by the U.S. Constitution’s 4th, 5th, and 6th Amendments:

Color Laws: To say out loud that they wish to remain silent,

To refuse search of one’s body, car, or home without probable cause,

> under color of state jaw.” Under color of state law does not mean action taken
pursuant to state law, instead “a misuse of power possessed by virtue of state
law and made possible only because the actor is colored with authority of
state law” constitutes “color of law.”
* Monroe v. Pape, 365 U.S. 167 (1967).

5.) The “Due Process” of Law

My due process was violation because when the police arbitrarily stop, detain, or
demand information from a citizen when no crime is being committed, and
with no apparent evidence that a crime may be committed. In these
situations, if Native American that part taking to be part of America-citizen is
stopped by police but not detained or arrested for a crime, they are not
required to answer officer questions and are lawfully free to leave an
interrogation. Yet, Officer Crocilla and his Mafia Gangs workers-breach my

due process rights.

6.) Racial Profiling:
Title VI of the 1964 Civil Rights Act made illega! use of “public” funds to discriminate
based on race, color, and national origin. So, when an American citizen has been
unlawfully stopped or detained by police whose salaries are paid by citizen’s tax

dollars, it’s referred to as “racial profiling” and is a violation of Title VI.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 95 of 291

e@ This type of conduct by police also violates a citizen’s Constitutional “due
process” rights and is considered harassment. In addition to the above types
of conduct, police harassment includes illegal detention; racial and ethnic
profiling; making racist, sexist, and homophobic remarks; illegal surveillance
and spying; and illegal search and seizure of property.

e discriminatory practice by law enforcement officials of targeting individuals for
suspicion of crime based on the individual's race, ethnicity, religion, or
national origin. Yet Officer Crocilla and his Partners in Crime committed a
crime when they decided to racial profile me for being Native American,
Brown and for practice my Constitutional religious rights for being a Muslim;
because according to Crocilla statement “observed a black female ina
wheelchair yelling and screaming for no apparent reason.”

e Why every-so call-white people group called everyone that is not white like
themselves “black,” am not black am brown get my skin-color and my race
correct since your statement clearly shown that your racial profiling me.

® Because Surveillances Camera’s inside the stations clearly shown when |
came out of the bathroom and everything that happen plus when they got
inside the elevator with me, | knew such fact and also when | had to meet with
Detectives Derek Hosein, Edward Johnson and Deputy Chief Stephanie
Minogue Assistance District Attorney from Police Accountability Unit at 1
Hogan Place, room 755 New York, NY 10013, phone number (212) 335-9099
who sat me down and shown me the surveillance’s cameras step by steps |
had to explained to them what took place the only surveillance’s that they did
not have is the elevator one since the one inside the elevator was not
work/out of services and before they asked me | told them the cameras inside
the elevators was not working because Officers Crocilla told his partner that,
they knew the elevator is out of service, evidence exhibits email’s to contact
those individual's will be added.

e According to Officer Crocilla Statement” you white-red neck cops are
harassing me, | pray to Allah that you get killed with a rifle, im gonna come

back and kill you fags, and | want an ambulance". First, this statement is a lie,
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 96 of 291

yes, | did call him a red-neck before this accident when that day | was waiting
for my group meeting friends next to shake-shack restaurant when they came
harassed me. They came to target me first for just waiting inside Penn Station
for friends and yes | did straight them out on their harassment’s builshits
attack on me for just simply waiting inside the station for friends and yes heck
am from deep down south where i stand my ground would not allowed
anyone to attack me or abused me if | know | am not guilty and { do not care
whom they are | was waiting in a public space Officer Crociila harassed me
for not doing nothing is illegal.

Officer Crocilla Statement “I’m gonna come back and kill you fags and | want an

ambulance”. Upon escorting the female.”

7.) My Civil Rights Protections Under the Law was violated?
Section 1983 of the Act prohibits the police from violating another person’s civil rights.
Other provisions of state law add to those protections. An individual whose rights
have been abused by a policeman or other government official may have a cause of
action under Section 1983 against both the policeman or official that caused the

abuse and the local government entity that employs the policeman.

» Title 18, U.S.C. §242

@ §242. Deprivation of rights under color of law

Whoever, under color of any law, statute, ordinance, regulation, or custom, willfully
subjects any person in any State, Territory, Commonwealth, Possession, or
District to the deprivation of any rights, privileges, or immunities secured or
protected by the Constitution or laws of the United States, or to different
punishments, pains, or penalties, on account of such person being an alien, or by
reason of his color, or race, than are prescribed for the punishment of citizens,
shail be fined under this title or imprisoned not more than one year, or both; and
if bodily injury results from the acts committed in violation of this section or if such
acts inciude the use, attempted use, or threatened use of a dangerous weapon,

explosives, or fire, shall be fined under this title or imprisoned not more than ten
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 97 of 291

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years, or both; and if death results from the acts committed in violation of this
section or if such acts include kidnapping or an attempt to kidnap, aggravated
sexual abuse, or an attempt to commit aggravated sexual abuse, or an attempt to
kill, shail be fined under this title, or imprisoned for any term of years or for fife, or
both, or may be sentenced to death.

e (June 25, 1948, ch. 645, 62 Stat. 696 ; Pub. L. 90-284, title |, §103(b), Apr.
11, 1968, 82 Stat. 75 ; Pub. L. 100-690, title Vil, §7019, Nov. 18, 1988, 102
Stat. 4396 ; Pub. L. 103-322. title VI, §60006(b), title XXXIL, §§320103(b),
320201 (b), title XXXII, §330016(1}(H), Sept, 13, 1994, 108 Stat.

1970 , 2109, 2113, 2147; Pub. L. 104—294, title Vi, §§604(b)(14)(B), 607(a),
Oct. 11, 1996, 110 Stat. 3507 , 3511.)

e Graham v. Connor, 490 U.S. 386 (1989), Johnson v. Glick, 481 F.2d 1028.

8.) False-Arrest/Detained:

false arrest in this action for, inter alia, alleged false arrest, false imprisonment,
malicious prosecution, and violations of 42 USC § 1983, defendants move
seeking an order granting them summary judgment pursuant to CPLR § 3212.

Specifically:

is the unlawful restraint of a person's freedom of movement. It can occur any time
one person:

holds another individual against his or her will or/and the deprivation was not
consensual.

takes another individual into custody without consent or without legal justification
to do so/ that deprivation compels the victim to go somewhere or to stay somewhere
for an appreciable time, and

False arrest is an intentionai tort. That means the person who committed it
must have done so purposefully.
1.) a victim can demand the officer face repercussions for their false arrest. In the
most egregious cases, the officer could get fired. He or she could also be
suspended or retrained.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 98 of 291

> Malicious Prosecution and False Arrest as a Civil-Rights Violation:

in addition to any state-law claims, malicious (criminaf) prosecution and false arrest
are record as separate violations of a person’s constitutional right against
unreasonable searches and seizures protected by the Fourth Amendment of the
U.S. Constitutions. Whether malicious-prosecution claims involve an arrest or
criminal proceeding.

e The official title of “Section 1983” is the Civil Rights Act of 1871. Codified as 42 U.S.C.
Section 1983, it is commonly referred to as Section 1983. In larger terms, Section 1983
bars a person from using “color of law’ to excuse a violation of constitutional rights.

e Moving past civil rights protections under Section 1983, the next section will explore
unreasonable search or seizure under the Fourth Amendment.

s Whiteley v. Warden, 401 U.S. 560 (1971)-An arrest or search made by officers
relying on relayed police information, a teletype, a bulletin, a warrant, etc. is only
valid if the issuing officer had probable cause to make the arrest or search. It is
irrelevant that the officers reasonably assumed the issuing officer had probable
cause.
» Dunaway v. New York, 442 US 200 (1979)-The involuntary seizing of a
person from his home without probabie cause and compelled him to go to the
station for interrogation violated the person's Fourth Amendment rights. The
Miranda rights advisory does not overcome the taint of the illegal! arrest.
Factors that should be considered in determining whether a confession was
obtained by exploiting an illegal arrest are:
> Hayes v, Florida, 470 US 811 (1985)-Without probable cause, consent, or
judicial authorization, the investigative detention of a person for the purpose
of taking him from his home to the station for fingerprinting violated the Fourth
Amendment. The court further added that the police can fingerprint a suspect
(not arrestee) under the following circumstances:
e The officer has reasonable suspicion that the suspect committed a crime
e ‘That there is a reasonable basis that the fingerprints would establish or negate

the suspect's involvement in the crime, and
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 99 of 291

The fingerprinting is quickly conducted in the field
temporal proximity of the arrest and the confession
presence of intervening circumstances

purpose and flagrancy of the official misconduct.

» Stufflebeam v. Harris, 06-4046 (8th Cir. 2008)-The Court held: Police couid
not arrest a passenger in a vehicle simply because he did not comply with the
officer and show identification. The officer needs reasonable suspicion that
the passenger is engaged in criminal conduct before compelling him to show
identification. The Court stated, "...arresting Stufflebeam, a passenger not
suspected of criminal activity, because he adamantly refused to comply with
an unlawful demand that he identifies himself. No reasonable police officer
could believe he had probable cause to arrest this stubborn and irritating, but

law-abiding citizen.

9.) Breach of the Laws:

18 U.S.C. sec. 242: This statute is a federal statute that creates criminal liability for

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the intentional violation of rights granted by the Constitution or by federal
statutes. As a matter of policy, the United States Justice Department reserves
use of this statute for the most egregious cases. Some considerations which are
considered before the Justice Department will proceed are: the extent of injuries;
the availability of independent witnesses; the history of the officer involved in the
incident and whether or not punitive action sufficient to satisfy federal interests
have already been imposed. This statute is nearly identical to sec. 1983 in that
the government must show that an officer’s action, committed under color of law,
has resulted in a violation of Constitutional or federally granted rights. The
difficulty that federal prosecutors face when prosecuting a section 242 case is the
government's burden to prove that the violation of rights was intentional.

Officer(s} breach the Company laws when file false documents.

19.) Retaliation’s:
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 100 of 291

First Amendment Retaliation:
« “Congress shail make no law respecting an establishment of religion or

prohibiting the free exercise thereof; or abridging the freedom of speech, or of the
press; or the right of the people peaceably to assemble, and io petition the
Government for a redress of grievances.”

Whoever, under color of any law, statute, ordinance, regulation, or custom,
wilifully subjects any person in any State, Territory, Commonweaith,
Possession, or District to the deprivation of any rights, privileges, or
immunities secured or protected by ihe Constitution or laws of the United
States, or to different punishments, pains, or penalties, on account of such
person being an alien, or by reason of his color, or race, than are prescribed
for the punishment of citizens, shall be fined under this title or imprisoned not
more than one year, or both; and if bodily injury resuits from the acts
committed in violation of this section or if such acis include the use, attempted
use, or threatened use of a dangerous weapon, explosives, or fire, shail be
fined under this title or imprisoned not more than ten years, or both; and if
death results from the acts committed in violation of this section or if such
acts include kidnapping or an attempt to kidnap, aggravated sexual abuse, or
an aitempt to commit aggravated sexual abuse, or an attempt to kill, shall be
fined under this title, or imprisoned for any term of years or for life, or both, or

may be sentenced to death.

(June 25, 1948, ch. 645, 62 Stat, 696; Pub. L. 90-284, title I, § 103(b), Apr. 11,
1968, 82 Stat. 75: Pub. L. 100-690, title VII, § 7019, Nov. 18, 1988, 102 Stat.
4396: Pub. L. 103-322, title Vi, § 60006(b), title XXXII, §§ 320103(b),

320201 (b), title XXXII, § 330016(1)(H), Sept. 13, 1994, 108 Stat. 1970, 2109,
2113, 2147; Pub. L. 104-294, title VI, §§ 604(b)(14)(B), 607(a), Oct. 11,
1996, 110 Stat. 3507, 3511.)

11.) Mistreatments:
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 101 of 291

The Equal Protection Clause and Race

Although neither the Fourth nor the Fourteenth Amendment prohibits the use of
race when if must be employed and does not result in an unfair application of
the laws, the Constitution forbids police officers from targeting individuals for

investigation solely on the basis of their race.

« “New York State Attorney General Eliot Spitzer has also expressed skepticism
regarding the adequacy of the pool of reported UF-250s. As a result, the Attorney
General's Civil Rights Bureau disseminated a “Stop and Frisk Information
Collection Form,” that was designed to allow individual citizens to report stop and
trisk encounters. State investigators would then “compare [these forms] to the
250s to see what the correlation might be between the 250s that... are within
the city’s repository, which is claimed by the [NYPD] to be essentially the totality
of the stop and frisk universe.”

12.) Faise reporting/lying in his report:
» New York Consolidated Laws, Penal Law - PEN § 240.50 Falsely reporting an
incident in the third degree
* A person is guiity of falsely reporting an incident in the third degree when, knowing the

information reported, conveyed, or circulated to be false or baseless, he or she:

1. Initiates or circulates a false report or warning of an alleged occurrence or
impending occurrence of a crime, catastrophe, or emergency when it is not unlikely that

public alarm or inconvenience will result.
* The Language of PC 118.1 staies

*8 U.S. Code § 1324c - Penalties for document fraud
* 18 U.S. Code § 1038.False information and hoaxes

(a)CRIMINAL VIOLATION. —
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 102 of 291

(1)IN GENERAL.—Whoever engages in any conduct with intent to convey false or
misieading information under circumstances where such information may reasonably be
believed and where such information indicates that an activity has taken, is taking, or

or 113B of this title, section 236 of the Atomic Energy Act of 1954 (42 U.S.C. 2284), or
section 46502, the second sentence of section 46504, section 46505(b)(3) or (c),
section 46506 if homicide or attempted homicide ts involved, or section 60123(b) of title
49, shall—

(A)

be fined under this title or imprisoned not more than 5 years, or both;

(B)

if serious bodily injury results, be fined under this title or imprisoned not more than 20

 

years, or both; and

(C)
if death results, be fined under this title or imprisoned for any number of years up to life,
or both.

(2) ARMED FORCES. —Any person who makes a false statement, with intent to convey
false or misleading information, about the death, injury, capture, or disappearance of a
member of the Armed Forces of the United States during a war or armed conflict in
which the United States is engaged—

(A)

shall be fined under this title, imprisoned not more than 5 years, or both;

(B)

if serious bodily injury results, shall be fined under this title, imprisoned not more than
20 years, or both; and

(C)
if death results, shall be fined under this title, imprisoned for any number of years or for
life, or both,

(b)CiviL ACTION. —
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 103 of 291

Whoever engages in any conduct with intent to convey false or misleading information
under circumstances where such information may reasonably be believed and where
such information indicates that an activity has taken, is taking, or will take place that
would constitute a violation of chapter 2, 10, 11B, 39, 40, 44, 111, or 113B of this title,
section 236 of the Atomic Eneray Act of 1954 (42 U.S.C. 2284), or section 46502, the
second sentence of section 46504, section 46505 (b)(3) or (c), section 46506 if
homicide or attempted homicide is involved, or section 60123(b) of title 49 is liable in a

civil action to any party incurring expenses incident to any emergency or investigative
response to that conduct, for those expenses.

According to Officer Crocilla report:

Narrative of the case:

“On January 9,2019 at approximately 0241 hours, undersigned officers observed

a black female in a wheelchair yelling and screaming for no apparent reason.

The female/EDP stated " you white, red neck cops are harassing me, | pray to

Allah that you get killed with a rifle, I'm going to come back and kill you fags and I

want an ambulance”. Upon escorting the female/EDP up to the 34 Street

entrance, the female EDP did pick up a cone and attempt to throw it at
undersigned officers. The female EDP did attempt to scratch undersigned
officers and did attempt to strike us with both her hands. The female/EDP was
rear cuffed and escorted into the ambulance for transport along with all her

property. The female/EDP was lodged at CPEP located at Bellevue Hospital for a

psychiatric evaluation.”

» Office Crocilla filed a false/lie report because video evidence camera inside
MTA 34 Street Penn Station showed that the Office Flash his golf-cart-car
light in my eyes as | just came from out of the bathroom. When | arrived at the
bathroom there was a long-line i saw my good-friend whom at that time
worked for an Agency, | saw her sweating we spoke for about 3 min then she
told me she was thirsty but it’s been extremely busy she does not have a
chance to go buy something to drink. | told her | will be right back ! went to the

2" level near New Jersey Transit at the Walgreen there brought her some
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 104 of 291

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drink water and Pierre Drunk extremely cold then ! made my way back to the
bathroom where | gave her the drink and the gift that | had got for her, for her
dad and for her kid’s. Then we spoke some more while waiting in the line
while we were speaking the line getting shorter and shortest so when it was
finally my turn to use the bathroom, Jenny went back to work and |! left. After |
watch my hands and told Jenny by see you next times | have to go pick up
Medications that my Doctor had send me at the Ride-Aid on 125% and Lenox
that | did not want to missed before they closing so we said our goodbye, then
when | arrived in the Corner the Officers where in Golf-car, Officer Crocilla
pull right in front of me flash that bright lights in my eyes because | ama
seizure person/have history of seizures and | do take three different kind of
seizure meds to keep me balance, flashing a flash light in someone that have
pre-existing health history like seizure can trigger seizure in that person so |
stop my wheelchair put both my hands up in my eyes trying to block the lights
that’s flashing in my eyes because the last thing | did not wants is for a
seizure attack inside Penn Station especially when | was on my way to go
pick up two of the meds were the seizures meds at the pharmacy. As | have
my hands up cover my eyes ! felt a hands touching my hip so | removed one
of my had and pushed that hands out whom was touching me next things |
knew officer Crocilla started abusing me when | asked why did I’ve done he
told me to shut the Fuck up, ! told him am a Muslim if ! done anything am
requesting for a female police officer(! requested for female officer five time)
each time | was met with Shut the Fuck Up and racist-stur.
Next thing | knew another white man came over officer Crocilla told him to hold
my hands behind my back and pushed my head down as he done so Officer
Crocilla wheel my wheelchair against the wail and started saying extremely
unprofessional stuffs, and how they used to have funs rapping none-white people
back in the old-days and a lot of racist discussed statements, officers Crocilla told
his partner he will wheel me inside the elevator to deal with me since there were
no working camera there. | was scared/afraid for my life because | was not sure if

they would rap me then killed me. As the wheeled me | fought hard in fear for my
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 105 of 291

life and my safety. When arrived in front of the elevator more racist statements
about women was made. Then the elevator door open | start praying in my heart
piease Allah do not allow today the day | died since | cannot say goodbye to
those | love and those whom loves me.

When we got inside the elevator Officer Crocilla cut the purse that | had around
me started going to my stuffs then he stated, “! know where you resigned, and |
have your personal information’s if you talk or tried fo do any actions ! will come
after you.” Then he put my persona! stuffs inside his pockets.

He then threw me out of my wheelchair on the floor then started to abuse me,
kick me eleven time on my side.

| was bleeding from the baton that was attack on my head while | was handcuff
face down on my chest.

| started pleading for my life and asking what | have done, Officer Crocilla kept
telling to shut the “fuck up” as he kicks me over and repeatedly eleven times.
When he finished abused me, he told his partner to push the elevator button to

go up.

when arrived at the street level Officer Crocilla drags me like | was worst then piece of

shits by my shirts and half of my coat that he opened during the abused inside the

elevator. When the elevator door opened, | was dragged from the elevator door into the

street where Officer Crocilla and his partners in crimes made me sat on-top of the

handcuffs that was tights around my wrists that | was bleeding from, | was forced to sit

on top the handcuffs until ambulance showed up.

e

As | waited for the Ambulance eight Officers total Join Officers Crocilla laughing
and making statements about back in the days how white men have it easy when
they can get away with anything and but now in days none-white think they have
rights and demands whites, tell white men whom are superiors then them what to
do.

Lyland C. Crocilla have his foot on top of chest/ between my breast because he
well knew | have a heart monitor device implanted since inside the elevator one
of the stuff he took was my heart device card if or when | need to go to medal

detections | can show it to them, he even asked me “you have a device huh’, He
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 106 of 291

knew I had the device between my chest yet outside while waiting for the
ambulance he have his food right the center of my chest pressuring it and he
damage the device in my heart now | need to go back to surgery to have it
removed and have another one replace/put on.

they were smoking Cigars as they laughing about certain old moving what the
white men used to do when they were ruling the rights and correct ways, they
were making racist statements that cause me extremely distress. | honestly did
not know what would happen to me, if those hours would be my last hours in the
physical whelms.

When the Ambulance finally arrived about thirty to forty minutes later, the
officers pulled the two ambulance men aside extremely-far away from me all |
saw them chatting, laughing, and pointing at me while blood gushing down my

face, all over my eyes for about fifteen minutes.

Then when the gentlemen returned back with the officer the old one asked me

questions he wants me to get up to get in the stretcher toid him |! cannot then he look at

me then asked is that your broken wheelchair i said yes then he asked what happen to

it | replied asked officer Crocilla he threw me out of It, then he asked how did you hand

up on the floor | told him the officer threw me out of the chair did you heard what! said

the first time,.

a

then the two ambulance men grabbed me and put me on the stretcher got me
inside the ambulance then more abused happened.

Officer Crocilla touch me unprofessional inside the ambulance when the older
man went in the front of the passenger temporary to talk with the younger man
who was driving the ambulance, because officer Crocilla refused to remove the
handcuff in order for him to give me medical attentions, the old man seemed
frustrated but did not want to get into it with the officer so he ‘eft temporarily to go
speak to his partner about the matter.

When | arrived in the hospita! bleeding rather get medical attaching Officer
Crocilla went spoke to some nurse far away so | could not hear the conversations
then point at me next things | Knew the nurse said “You will be transfer to Psych-

ward” | asked why’...
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 107 of 291

She refused to give me an answered. | told her | needed medical attentions she
just said that is not my called, all | remember while my outfits is soaks with my
own blood | hand up in the Psych ward without my consent bleeding while | was
in the stretcher waiting | kept fading in and out, the lady that was watching me
kept asking me if | was okay, if | was feeling okay, | remember pleading with her |
needed medical attentions please give me medical help stop the bleeding but |
was force to way almost hours while bleeding and kept going in and out waiting
to see a psych doctor.

When | was finally was seeing by a psych doctor she came in and she started to
evaluated me, | honestly do not know what Crocilla told her nor the rest of the
hospita! staffs nor the nurse when | first arrived.

when | explained to the psych doctor what took place and | had my one of my
phone inside my coat pocket was recording because when | saw the police
coming at me | pushed the button and said record, | had a voice record
activations app on my phones at that time because of history of seizure’s also |
knew those officers enjoys hurting none white peopie it was a safety app in my
mind when | had download that app just in case because | knew as | exposed
those officers behaviors | would became they toys targets so.

so after ! told her and told her to pulled out the phone out of my coat pocket that
was inside my sweater hiding away | gave her the past word to unlock my phone,
she heard everything her face was like she saw a ghost then she said “that is a
lawsuit that | do not want to be part off, she then added your bleeding way to
much you need to be in medical” and she left with my phone in her hand next
things | knew | was been rushed to medical to be treated .

when got to medical just like inside the ambulance Officer Crocilla refused to
remove the handcuffs in other for me to get medical treatments, Officer Crocilla
partner fallow him in the police car in the hospital, then when Officer Crocilla
found out and saw they were rushing me to Medical he was extremely mad and
start to argued with the gentleman that was transporting me, the gentleman said
am only doing my Job Sir. When arrived at Medical Officer Crocilla refused to

removed the handcuffs so the staffs and the nurse that came to draw my blood
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 108 of 291

since | told them | have history of seizure she asked me what times | took the last
medication told her she said | have to let the doctor know the doctor might
requested bloodwork’s so make sure your medications levels are up to where
need to be at

e When she returned with changing cloth, things to draw my blood and other stuffs
to proper treatment even-thought they put me in a private room with two other
staffs watching me. Officer Crocilla argued with the nurse that came to change
my gown eventually he left and left me with the handcuffs inside the hospital
private room the staffs had to called a hospital police over to remove the

handcuffs out of my hands so | could get the medical treatments that | needed.

13.} Power Hungry/Abusive of Power/Authority

25 FR § 11.448 - Abuse of office.
> § 11.448 Abuse of office.
A person acting or purporting to act in an official capacity or taking advantage of such
actual or purported capacity commits a misdemeanor if, knowing that his or her conduct
is illegal, he or she:

(a) Subjects another to arrest, detention, search, seizure, mistreatment, dispossession,
assessment, lien or other infringement of personal or property rights; or

{b) Denies or impedes another in the exercise or enjoyment of any right, privilege,

power or immunity.

Police Misconduct

2 Police misconduct illegal or inappropriate action taken by an officer. It can involve
a violation of state law, federal law, or police department rules and regulations.

e Federal law also makes it a crime to willfully deprive a person of their
constitutional rights. (18 U.S.C. § 242 (2020); Minn. Stat. § 609.43 (2020}.)

e Under the Civil Rights Act of 1871, a victim of police misconduct involving a
violation of the person's civil rights can sue the offending officer and the
department that employed the officer. Often referred to as a Section 1983
lawsuit (based on the statutory citation 42 U.S.C. § 1983).
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 109 of 291

Americans with Disabilities Act (ADA)
July 2020 marked the 30th anniversary of the Americans with
Disabilities Act (ADA), the landmark federal legislation that prohibits
discrimination against individuals with disabilities in all aspects of public
life:

* A person is guilty of assault in the third degree if he intentionally or recklessly
case physical injury to another person, or if he causes physica! injury with
criminal negligence “by means of a deadly weapon or a dangerous instrument.”
N.Y, Penal Law § 120.00 On the morning of October 31, 2006, Duran repeatedly
told the Lincoln Center security guards and NYPD officers that Glassman had
shoved her out of bed and slammed a door in her face. Combined with the
discolored lump on her forehead------testified o by the police officers—and her
distraught demeanor, these facts gave the NYPD officers probable cause to
believe that Glassman had caused Duran “Physica! injury” either intentionally or
recklessly. See Curley 268 F.3d at 69; Ricciuti, 124 F. 3d at 128; Sforza v. City of
N.Y., No. 07 Civ. V. Timberlake, 300 A.D.2d 219, 220, 752 N.Y. S.2d 315, 316
(15! Dep't 2002).

The Rules, Laws and Regulations should be abiding by everyone does not
matter what positions or governments agencies works/part/members of. This is
America there should not be two-tiers of rules, rules for thee not for me. The
Deputy Chief Police Accountability Unit New York County District Attorney's
Office should be fair and just to the victim(s) especially the individual(s) who
committed the crimes/offense work for the systems. | am requesting the Court fo
grant me justice by Criminal Charge Officer Lyland C. Crocilla for his wrong doing
for his attack to a civilian who wasn’t committed no crime/no offense. | am also
requesting the Court and You Judge to make sure the other officers whom part

taking/whom allowed Officer Lyland C. Crocilla to abused/his behavior and they
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 110 of 291

did not stop him/point out his evil-wrong doing they should be fired and should

not work with no companies that they can accessed the publics information’s.

> Am bring this Motion Movant is the Matter of The Law because Officer Lyland
C. Crocilla breach/broke the laws, the laws he breaches are listed above and
iam asking for the Court to move and to listening to my plead to Criminal
Charge Officer Lyland C.Crocilla for abuse his powers/ his positions to attack
me, false arrest, breach the ADA, For breach my Constitutional Lawful-Legai
Rights. Since it seemed to me Stephanie Minogue Deputy Chief Police
Accountability Unit refused to listening my cried for true Justice and my plead
to Criminal Charge the officers, | am hoping this Court can and if this Court
cannot | will like to know which venue can because | cannot and will not let
this case settle without Criminal Charge against the Officer and he serve
some forms of Jail times, after all the Officer enjoy handcuff individual(s)
maybe a taste of his own medicines should be good cure for him to cure his
bad abuse behaviors.

» Since the City Of New York & New York State refused to Criminal Charge
Officer Lyniand C. Crocilla rather giving me the running around and blocking
me in every way/forms or shapes to get the proper documents that | needed
to find ways to have Criminal Charges to be Brought against Officer Crocilla
and his Partners in Crime | will be left with no choice if this court might/if
denied me request for True-Justice remove this case out of New York
Jurisdictions Completely and file it with another State or Country who actually
give cares for the laws and for Justice.

» | have been asking, screaming and crying to Thee Creator of all things, to
Universe and to the Systems for true Justice yet my cried for True-Justice is
being ignored so | hope somehow my heart desire/hopes and dreams for
Criminal Charges brought/bring against Officer Lyland C. Cocilla come to
passed.

» Since | know Judge you're a fair and Just Judge | hope you help my cried for
true Justice come true by some form of Criminal Charges bring against

Crocilla and | hope the Court stand for the laws and for True-Justice.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 111 of 291

®» | was raised in house of Muslim in one side and Christian another but | will
quote some justice verse from the bible:

Proverbs 21:15

« [itis] joy to the, last to do judgment
It is with pleasure he does it; he delights in the law of God, after the inward man,
and finds much peace of mind and joy in the Holy Ghost in keeping it, and
observing its commands, which are holy, just, and good: yea, it gives him
pleasure to see justice done by others; both by private persons in their dealings
with one another; and especially by judges putting the laws in execution, as their
office requires; whereby much good comes to a nation in general, and to

particular.

Romans 13:3

For the authorities do not strike fear in people who are doing right, but in those who are
doing wrong. VVould you like to live without fear of the autho For rulers are not a terror
to good works

That ts, to them that do good works in a civil sense; who behave well in the
neighborhood’s, towns, cities, and countries where they dwell. The apostie seems to
anticipate an objection made against governors, as if there was something very terrible
and formidable in them; and which might be taken up from the last clause of the
preceding verse; and which he removes by observing, that governors neither do, nor
ought to inject terror into men that behave well, obey the laws, and keep a good
decorum among their fellow subjects, not doing any injury to any man's person,

property, and estate. The Jews €! have a saying,
“that a governor that injects more fear into the people, than is for the honour of God,
shall be punished, and shall not see his son a disciple of a wise man."

But to the evil;
to wicked men, who make no conscience of doing hurt to their fellow creatures, by
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 112 of 291

abusing their persons, defrauding them of their substance, and by various illicit methods
doing damage to them; to such, rulers are, and ought to be terrors; such are to be
menaced, and threatened with inflicting upon them the penalty of the laws they break;
and which ought to be inflicted on them by way of punishment to them, and for the terror

of others.rities? Do what Is right, and they will honor you.

Job 12:22

He reveals the deep things of darkness and brings utter darkness into the light.

Justice

Proverbs 21:15

When justice is done, it is a joy to the righteous but terror to evildoers.

Amos 5:24

But let justice roll down like waters, and righteousness like an ever-flowing stream.
Isaiah 1:17

Learn to do good; seek justice, correct oppression; bring justice to the fatherless, plead the

widow's cause.
Romans 12:19

Beloved, never avenge yourselves, but leave it to the wrath of God, for it is written, “Vengeance

is mine, | will repay, says the Lord.”
Isaiah 30:18

Therefore, the LORD waits to be gracious to you, and therefore he exalts himself to show mercy

to you. For the LORD is a God of justice: biessed are all those who wait for him.

Micah 6:8
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 113 of 291

He has told you, O man, what is good; and what does the LORD require of you but to do justice,

and to love kindness, and to walk humbly with your God?
isaiah 61:8

For | the LORD love justice; 1 hate robbery and wrong; | will faithfully give them their

recompense, and | will make an everlasting covenant with them.
Psalm 37:27-29

Turn away from evil and do good; so shall you dweil forever. For the LORD loves justice; he will
not forsake his saints. They are preserved forever, but the children of the wicked shall be cut off.

The righteous shall inherit the land and dwell upon it forever.

Psaim 106:3

Blessed are they who observe justice, who do righteousness af ail times!

Proverbs 28:5

Evil men do not understand justice, but those who seek the LORD understand it completely.
Leviticus 19:15

“You shall do no injustice in court. You shail not be partial to the poor or defer to the great, but in

righteousness shall you judge your neighbor.
Proverbs 24:24-25

Whoever says to the wicked, “You are in the right,” will be cursed by peoples, abhorred by
nations, but those who rebuke the wicked will have delight, and a good blessing will come upon

them.
Zechariah 7:9

“Thus, says the LORD of hasts, render true judgments, show kindness and mercy to one

another,
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 114 of 291

Ecclesiastes 3:17

| said in my heart, God will judge the righteous and the wicked, for there is a time for every

matter and for every work.
Luke 18:1-8

And he told them a parable to the effect that they ought always to pray and not lose heart. He
said, “In a certain city there was a judge who neither feared God nor respected man. And there
was a widow in that city who kept coming to him and saying, ‘Give me justice against my
adversary.’ For a while he refused, but afterward he said to himself, ‘Though | neither fear God
nor respect man, yet because this widow keeps bothering me, ! will give her justice, so that she

will not beat me down by her continual coming.” ...

Psalm 33:5

He loves righteousness and justice; the earth is full of the steadfast love of the LORD.
Proverbs 21:3

To do righteousness and justice is more acceptable to the LORD than sacrifice.

 

Justice, and only justice, you shall follow, that you may live and inherit the land that

the LORD your God is giving you.
Luke 6:37

“Judge not, and you will not be judged; condemn not, and you will not be condemned; forgive,

and you will be forgiven;
Proverbs 31:8-9

Open your mouth for the mute, for the rights of all who are destitute. Open your mouth, judge

righteously, defend the rights of the poor and needy.

Jeremiah 22:3
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 115 of 291

Thus, says the LORD: Do justice and righteousness, and deliver from the hand of the oppressor
him who has been robbed. And do no wrong or violence to the resident alien, the fatherless, and

the widow, nor shed innocent blood in this place.
Romans 13:4

For he is God's servant for your good. But if you do wrong, be afraid, for he does not bear the
sword in vain. For he is the servant of God, an avenger who carries out Gad's wrath on the

wrongdoer.

Deuteronomy 27:19

“Cursed be anyone who perverts the justice due to the sojourner, the fatherless, and the

widow.’ And all the people shall say, ‘Amen.’
Proverbs 25:26

Like a muddied spring or a polluted fountain is a righteous man who gives way before the

wicked.
Jeremiah 9:23-24

Thus says the LORD: “Let not the wise man boast in his wisdom, lef not the mighty man boast in
his might, let not the rich man boast in his riches, but let him who boasts boast in this, that he
understands and knows me, that | am the LORD who practices steadfast love, justice, and

righteousness in the earth. For in these things | delight, declares the LORD.”
Matthew 7:12

“So whatever you wish that others would do te you, do also to them, for this is the Law and the

Prophets.
Isaiah 42:1-9

Behoid my servant, whom | uphoid, my chosen, in whom my soul delights; | have put my Spirit
upon him; he will bring forth justice to the nations. He will not cry aloud or lift up his voice, or

make it heard in the street; a bruised reed he will not break, and a faintly burning wick he will not
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 116 of 291

quench; he will faithfully bring forth justice. He will not grow faint or be discouraged till he has
established justice in the earth; and the coastlands wait for his law. Thus, says God, the LORD,
who created the heavens and stretched them out, who spread out the earth and what comes

from it, who gives breath to the people on it and spirit to those who walk in it: ...

Psaim 50:6

The heavens declare his righteousness, for God himself is judge! Selah

Psalm 82:3

Give justice to the weak and the fatherless; maintain the right of the afflicted and the destitute.
Proverbs 29:7

A righteous man knows the rights of the poor, a wicked man does not understand such

knowledge.

Deuteronomy 10:18

He executes justice for the fatherless and the widow, and loves the sojourner, giving him food

and clothing.
Matthew 23:23

“Woe to you, scribes and Pharisees, hypocrites! For you tithe mint and dill and cumin, and have
neglected the weightier matters of the law: justice and mercy and faithfulness. These you ought

to have done, without neglecting the others.
Psalm 89:14

Righteousness and justice are the foundation of your throne; steadfast love and faithfulness go

before you.
Hosea 12:6

“So you, by the help of your God, return, hold fast to love and justice, and wait continually for

your God.”
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 117 of 291

Ecclesiastes 5:8

if you see in a province the oppression of the poor and the violation of justice and
tighteousness, do not be amazed at the matter, for the high official is watched by a higher, and

there are yet higher ones over them.
Hebrews 10:30

For we know him who said, “Vengeance is mine: | will repay.” And again, “The Lord will judge

his people.”
Psalm 140:12

| know that the LORD will maintain the cause of the afflicted, and will execute justice for the

needy.

Job 12:22

He uncovers the deeps out of darkness and brings deep darkness to light.
Isaiah 56:1-12

Thus, says the LORD: “Keep justice, and do righteousness, for scon my salvation will come, and
my deliverance be revealed. Blessed is the man who does this, and the son of man who holds it
fast, who keeps the Sabbath, not profaning it, and keeps his hand from doing any evil.” Let not
the foreigner who has joined himself to the LORD say, “The LORD will surely separate me from
his people”; and let not the eunuch say, “Behold, | am a dry tree.” For thus says the LORD: “To
the eunuchs who keep my Sabbaths, who choose the things that please me and hold fast my
covenant, | will give in my house and within my wails a monument and a name better than sons

and daughters; | will give them an everlasting name that shall not be cut off. ...
Luke 4:18-19

“The Spirit of the Lord is upon me, because he has anointed me to proclaim good news to the
poor. He has sent me to proclaim liberty to the captives and recovering of sight to the blind, to

set at liberty those who are oppressed, to proclaim the year of the Lord's favor.”
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 118 of 291

James 1:27

Religion that is pure and undefiled before Gad, the Father, is this: to visit orphans and widows in

their affliction, and to keep oneself unstained from the world.
Luke 11:42

“But woe to you Pharisees! For you tithe mint and rue and every herb, and neglect justice and

the love of God. These you oughi to have done, without neglecting the others.
Matthew 12:18

“Behold, my servant whom | have chosen, my beloved with whom my soul is well! pleased. | will

put my Spirit upon him, and he will proclaim justice to the Gentiles.
Matthew 5:38-39

“You have heard that it was said, ‘An eye for an eye and a tooth for a tooth.’ But | say to you, do
not resist the one who is evil. But if anyone slaps you on the right cheek, turn to him the other

also.

Proverbs 18:5

it is not good to be partial to the wicked or to deprive the righteous of justice.
Psalm 58:11

Mankind will say, “Surely there is a reward for the righteous; surely there is a God who judges

on earth.”

Deuteronomy 32:4

“The Rock, his work is perfect, for all his ways are justice. A God of faithfulness and without

iniquity, just and upright is he.

Isaiah 30:18-19
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 119 of 291

Therefore, the LORD waits to be gracious to you, and therefore he exalts himself to shaw mercy
to you. For the LORD is a God of justice; blessed are all those who wait for him. For a people
shall dwell in Zion, in Jerusalem; you shall weep no more. He will surely be gracious to you at

the sound of your cry. As soon as he hears it, he answers you.
1 John 3:17-18

But if anyone has the world’s goods and sees his brother in need, yet closes his heart against
him, how does God's love abide in him? Little children, fet us not love in word or talk but indeed

and in truth.

Psalm 101:1

A Psalm of David. | will sing of steadfast love and justice; to you, O LORD, | will make music.
Isaiah 61:1-11

The Spirit of the Lord Gop is upon me, because the LORD has anointed me to bring good news
to the poor; he has sent me to bind up the brokenhearted, to proclaim liberty to the captives,
and the opening of the prison to those who are bound; to proclaim the year of the LORD's favor,
and the day of vengeance of our God; to comfort all who mourn; to grant to those who mourn in
Zion— to give them a beautiful headdress instead of ashes, the oil of gladness instead of
mourning, the garment of praise instead of a faint spirit; that they may be called oaks of
righteousness, the planting of the LORD, that he may be glorified. They shail build up the ancient
ruins; they shail raise up the former devastations; they shall repair the ruined cities, the
devastations of many generations. Strangers shall stand and tend your flocks; foreigners shall

be your plowmen and vinedressers, ...
isaiah 51:4-5

“Give attention to me, my people, and give ear to me, my nation; for a law will go out from me,
and | will set my justice for a light to the peoples. My righteousness draws near, my salvation
has gone out, and my arms will judge the peoples; the coastlands hope for me, and for my arm
they wait.

Isaiah 9:7
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 120 of 291

Of the increase of his government and of peace there will be no end, on the throne of David and
over his kingdom, to establish it and to uphold it with justice and with righteousness from this

time forth and forevermore. The zeal of the LORD of hosts will do this.
Malachi 3:5

“Then | will draw near to you for judgment. | will be a swift witness against the sorcerers, against
the adulterers, against those who swear falsely, against those who oppress the hired worker in
his wages, the widow and the fatherless, against those who thrust aside the sojourner, and do

not fear me, says the LORD of hosts.
Jeremiah 23:5

“Behold, the days are coming, declares the LORD, when | will raise up for David a righteous
Branch, and he shall reign as king and deal wisely, and shall execute justice and righteousness

in the land.
Psalm 7:6

Arise, O LORD, in your anger; lift yourself up against the fury of my enemies; awake for me; you

have appointed a judgment.
isaiah 45:21

Declare and present your case; let them take counsel together! Who told this long ago? Vvho
declared it of oid? Was it not |, the LORD? And there is no other god besides me, a righteous

God and a Savior: there is none besides me.
Luke 10:30-37

Jesus replied, “A man was going down from Jerusalem to Jericho, and he fell among robbers,
who stripped him and beat him and departed, leaving him half dead. Now by chance a priest
was going down that road, and when he saw him, he passed by on the other side. So likewise, a
Levite, when he came to the place and saw him, passed by on the other side. But a Samaritan,
as he journeyed, came to where he was, and when he saw him, he had compassion. He went to
him and bound up his wounds, pouring on oil and wine. Then he set him on his own animal and

brought him to an inn and took care of him. ...
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 121 of 291

Isaiah §:23

Who acquit the guilty for a bribe, and deprive the innocent of his right!

Job 34:12

Of a truth, God will not do wickedly, and the Almighty will not pervert justice.
2 Chronicles 19:7

Now then, let the fear of the LORD be upon you. Be careful what you do, for there is no injustice

with the LORD our God, or partiality or taking bribes.”
Psalm 99:4

The King in his might loves justice. You have established equity; you have executed justice and

righteousness in Jacob.
Colossians 3:25
For the wrongdoer will be paid back for the wrong he has done, and there is no partiality.

Deuteronomy 24:17

“You shall not pervert the justice due to the sojourner or to the fatherless, or take a widow's

garment in pledge,
Genesis 18:19

For | have chosen him, that he may command his children and his household after him to keep
the way of the LorD by doing righteousness and justice, so that the LORD may bring to Abraham
what he has promised him.”

Exodus 23:6
“You shall not pervert the justice due to your poor in his lawsuit.

Ecclesiastes 3:8
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 122 of 291

A time to love, and a time to hate; a time for war, and a time for peace.
Revelation 19:11

Then | saw heaven opened, and behold, a white hoarse! The one sitting on itis called Faithful

and True, and in righteousness he judges and makes war.
James 4:1-2

What causes quarrels and what causes fights among you? Is it not this, that your passions are
at war within you? You desire and do not have, so you murder. You covet and cannot obtain, so

you fight and quarrel. You do not have, because you do not ask.
2 Samuel 15:4

Then Absalom would say, “Oh that | were judge in the land! Then every man with a dispute or

cause might come to me, and | would give him justice.”
Romans 713:1-14

Let every person be subject to the governing authorities. For there is no authority except from
God, and those that exist have been instituted by God. Therefore whoever resists the authorities
resists what God has appointed, and those who resist will incur judgment. For rulers are not a
terror to good conduct, but to bad. Would you have no fear of the one who is in authority? Then
do what is good, and you will receive his approval, for he is God's servant for your good. But if
you do wrong, be afraid, for he does not bear the sword in vain. For he is the servant of God, an
avenger who carries out God's wrath on the wrongdoer. Therefore, one must be in subjection,

not only to avoid God's wrath but also for the sake of conscience. ...
Matthew 10:28

And do not fear those who kill the body but cannot kill the soul. Rather fear him who can destroy

both soul and body in hell.

Proverbs 22:8-23:11
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 123 of 291

Whoever sows injustice will reap calamity, and the rod of his fury will fail. Whoever has a
bountiful eye will be blessed, for he shares his bread with the poor. Drive out a scoffer, and
strife will go out, and quarreling and abuse will cease. He who loves purity of heart, and whose
speech is gracious, will have the king as his friend. The eyes of the LORD keep watch over

knowledge, but he overthrows the words of the traitor. ...
Psalm 67:4

Let the nations be giad and sing for joy, for you judge the peoples with equity and guide the

nations upon earth. Selah
Isaiah 10:1-2

Woe to those who decree iniquitous decrees, and the writers who keep writing oppression, to
turn aside the needy from justice and to rob the poor of my people of their right, that widows

may be their spoil, and that they may make the fatherless their prey!
Psalm 119:126

it is time for the LORD to act, for your jaw has been broken.

Majachi 4:1

“For behold, the day is coming, burning like an oven, when all the arrogant and ail evildoers will
be stubble. The day that is coming shall set them ablaze, says the LORD of hosts, so that it will

leave them neither root nor branch.
Ezekiel 25:1-17

The word of the LORD came fo me: “Son of man, set your face toward the Ammonites and
prophesy against them. Say to the Ammonites, Hear the word of the Lord Gop: Thus says the
Lord Goo, Because you said, ‘Ahal’ over my sanctuary when it was profaned, and over the land
of Israel when it was made desolate, and over the house of Judah when they went into exile,
therefore behold, | am handing you over to the people of the East for a possession, and they
shall set their encampments among you and make their dwellings in your midst. They shail eat
your fruit, and they shal! drink your milk. | will make Rabbah a pasture for camels and Ammon a
fold for flocks. Then you will know that | am the LORD. ...
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 124 of 291

Psalm 34:17-18

When the righteous cry for help, the LORD hears and delivers them out of all their troubles.

The LORD is near to the brokenhearted and saves the crushed in spirit.
Ezekiel 18:21

“But if a wicked person turns away from all his sins that he has committed and keeps all my

statutes and does what is just and right, he shall surely live; he shall not die.
Psalm 86:13

For great is your steadfast love toward me; you have delivered my soul from the depths of
Sheol.

Esther 5:1-14

On the third day Esther put on her royal robes and stood in the inner court of the king's palace,
in front of the king's quarters, while the king was sitting on his royal throne inside the throne
room opposite the entrance to the palace. And when the king saw Queen Esther standing in the
court, she won favor in his sight, and he held out to Esther the golden scepter that was in his
hand. Then Esther approached and touched the tip of the scepter. And the king said to her,
“What is it, Queen Esther? What is your request? it shail be given you, even to the haif of my
kingdom.” And Esther said, “If it please the king, let the king and Haman come today to a feast
that | have prepared for the king.” Then the king said, “Bring Haman quickly, so that we may do
as Esther has asked.” So the king and Haman came to the feast that Esther had prepared. ...

2 Chronicles 9:8

Blessed be the LORD your God, who has delighted in you and set you on his throne asking for
the LORD your God! Because your God loved Israel and would establish them forever, he has

made you king over them, that you may execute justice and righteousness.”
Job $:3-9:24

Does God pervert justice? Or does the Almighty pervert the right? If your children have sinned

against him, he has delivered them into the hand of their transgression. If you will seek God and
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 125 of 291

plead with the Almighty for mercy, if you are pure and upright, surely then he will rouse himself
for you and restore your rightful habitation. And though your beginning was small, your latter

days will be very great. ...
John 14:1-31

“Let not your hearts be troubled. Believe in God; believe also in me. In my Father's house are
many rooms. If it were not so, would | have told you that | go to prepare a place for you? And if |
go and prepare a place for you, | will come again and will take you to myself, that where | am
you may be also. And you know the way to where | am going.” Thomas said to him, “Lord, we

do not know where you are going. How can we know the way?’ ...

4 Timothy 2:1-2

First of all, then, | urge that supplications, prayers, intercessions, and thanksgivings be made for
all people, for kings and all who are in high positions, that we may lead a peaceful and quiet life,

godly and dignified in every way.
tsaiah 55:11

So shall my word be that goes out fram my mouth; it shall not return to me empty, but it shall

accomplish that which | purpose, and shall succeed in the thing for which | sent it.
Proverbs 17:23-28

The wicked accepts a bribe in secret to pervert the ways of justice. The discerning sets his face
toward wisdom, but the eyes of a fool are on the ends of the earth. A foolish son is a grief ta his
father and bitterness to her who bore him. To impose a fine on a righteous man is not good, nor
to strike the nobie for their uprightness. Whoever restrains his words has knowledge, and he

who has a coo! spirit is a man of understanding. ...
Leviticus 19:33-37

“When a stranger sojourn with you in your land, you shall not do him wrong. You shall treat the
stranger who sojourns with you as the native among you, and you shall love him as yourself, for
you were strangers in the land of Egypt: | am the LORD your God. “You shall do no wrong in

judgment, in measures of length or weight or quantity. You shall have just balances, just
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 126 of 291

weights, a just ephah, and a just hin: | am the LORD your God, who brought you out of the land

of Egypt. And you shall observe all my statutes and all my rules, and do them: | am the Lorp.”
Exodus 17:1-18:27

Ail the congregation of the people of Israel moved on from the wilderness of Sin by stages,
according to the commandment of the LORD, and camped at Rephidim, but there was no water
for the people to drink. Therefore, the people quarreled with Moses and said, “Give us water to
drink.” And Moses said to them, “Why do you quarrel with me? Why do you test the LorD?” But
the people thirsted there for water, and the people grumbled against Moses and said, “Why did
you bring us up out of Egypt, to kill us and our children and our livestock with thirst?” So, Moses
cried to the LORD, “What shall! do with this people? They are almost ready to stone me.” And
the LORD said to Moses, “Pass on before the people, taking with you some of the elders of

Israel, and take in your hand the staff with which you struck the Nile, and go. ...
1 Peter 1:17-22

And if you cail on him as Father who judges impartially according to each one’s deeds, conduct
yourselves with fear throughout the time of your exile, knowing that you were ransomed from
the futile ways inherited from your forefathers, not with perishable things such as silver or gold,
but with the precious blood of Christ, like that of a lamb without blemish or spot. He was
foreknown before the foundation of the world but was made manifest in the last times for the
sake of you who through him are believers in God, who raised him from the dead and gave him

glory, so that your faith and hope are in Good. ...
Proverbs 30:21-31:5

Under three things the earth trembles; under four it cannot bear up: a slave when he becomes
King, and a fool when he is filled with food; an unloved woman when she gets a husband, and a
maidservant when she displaces her mistress. Four things on earth are small, but they are

exceedingly wise: the ants are a people not strong, yet they provide their food in the summer, ...
Deuteronomy 25:1-27:26

“Hf there is a dispute between men and they come into court and the judges decide between

them, acquitting the innocent and condemning the guilty, then if the guilty man deserves to be
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 127 of 291

beaten, the judge shail cause him to lie down and be beaten in his presence with a number of
stripes in proportion to his offense. Forty stripes may be given him, but not more, lest, if one
should go on to beat him with more stripes than these, your brother be degraded in your sight.
“You shall not muzzle an ox when it is treading out the grain. “If brothers dwell together, and one
of them dies and has no son, the wife of the dead man shall not be married outside the family to
a stranger. Her husband's brother shail go in to her and take her as his wife and perform the
duty of a husband's brother to her. ...

Numbers 31:1-54

The LORD spoke to Moses, saying, “Avenge the people of Israel on the Midianites. Afterward

you shail be gathered to your people.” So, Moses spoke to the people, saying, “Arm men from
among you for the war, that they may go against Midian to execute the LORD's vengeance on
Midian. You shail send a thousand from each of the tribes of Israel to the war.” So, there were

provided, out of the thousands of Israel, a thousand from each tribe, twelve thousand armed for
war. ...

Amos §:1-6:14

Hear this word that | take up over you in lamentation, O house of Israel: “Fallen, no more to rise,
is the virgin Israel; forsaken on her land, with none to raise her up.” For thus says the Lord Gop:
“The city that went out a thousand shall have a hundred left, and that which went out a hundred
shall have ten left to the house of Israe!.” For thus says the LORD to the house of Israel: “Seek

me and live; but do not seek Bethel, and do not enter into Gilgal or cross over to Beersheba; for

Gilgal shall surely go into exile, and Bethel shall come to nothing.” ...

Proverbs 21:18-31

The wicked is a ransom for the righteous, and the traitor for the upright. It is beiter to live ina
desert land than with a quarrelsome and fretful woman. Precious treasure and oil are in a wise
man's dwelling, but a foolish man devours it. Whoever pursues righteousness and kindness will
find life, righteousness, and honor. A wise man scales the city of the mighty and brings down
the stronghold in which they trust. ...

Proverbs 20:20-271:17
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 128 of 291

lf one curses his father or his mother, his lamp will be put out in utter darkness. An inheritance
gained hastily in the beginning will not be blessed in the end. Do not say, “! will repay evil’; wait
for the LORD, and he wiil deliver you. Unequal weights are an abomination to the LORD, and
false scales are not good. A man’s steps are from the Lord; how then can man understand his
way? ...

Psalm 51:4

Against you, you only, have | sinned and done what is evil in your sight, so that you may be

justified in your words and blameless in your judgment.
Esther 8:7-17

On that day King Ahasuerus gave to Queen Esther the house of Haman, the enemy of the
Jews. And Mordecai came before the king, for Esther had told what he was to her. And the king
took off his signet ring, which he had taken from Haman, and gave it to Mordecai. And Esther
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Quran:
As a Muslim practice, the Quran all Muslim to practice:
“God commands justice and fair dealing...” (Quran, 16:90]

In this verse, Allah directly commands Muslims to be just and deal fairly — as believers, we must
consistently be aware that these values are an integral part of our faith.

“And the heaven He raised and imposed the balance. That you not transgress the balance. And —
establish weight in justice and do not make deficient the balance.” (Quran, 55:7-9]

As with everything in the world, we must ensure we do not let evil injustices become more

powerful than goodness ~ we must, at all costs, protect and support those who are oppressed
or wronged in the pursuit of justice.

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and believing in justice — it might be incredibly difficult, but it remains a duty upon us all.

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Being a believing Muslim is not a passive act - it means actively upholding and protecting
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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 133 of 291

Plaintiff:

According to New York law why is that the state of New York denying me such
laws/justice/ requested when | had request for the information’s under these
laws?

Relates to the disclosure of law enforcement disciplinary records.
$8496 (ACTIVE) - SPONSOR MEMO

BILL NUMBER: $8496

SPONSOR: BAILEY
TITLE OF BILL:
An act to amend the civil rights law and the public officer’s law, in
relation to the disclosure of law enforcement disciplinary records; and
to repeal section 50-a of the civil rights law relating thereto
PURPOSE:
To repeal Civil Rights Law § 50-a.
SUMMARY OF PROVISIONS:

Section 1 repeals Civil Rights Law § 50-a.

14.) Section 2 defines law enforcement agency (including police agencies and
departments, sheriffs departments, the Department of Corrections and
Community Supervision, local corrections and probation departments, fire

departments, and forces of individuals employed as firefighters or
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 134 of 291

$8496 (ACTIVE) - BILL TEXT

STATE OF NEW YORK

 

8496

INSENATE

June 6, 2020

Introduced by Sen. BAILEY -- read twice and ordered printed, and when

printed to be committed to the Committee on Codes

AN ACT to amend the civil rights law and the public officer's law, in
relation to the disclosure of law enforcement disciplinary records.

and to repeal section 50-a of the civil rights law relating thereto

THE PEOPLE OF THE STATE OF NEW YORK, REPRESENTED IN SENATE AND
ASSEM-
BLY, DO ENACT AS FOLLOWS:
Section 1. Section 50-a of the civil rights law is REPEALED.
§ 2. Section 86 of the public officer’s law is amended by adding four
new subdivisions 6, 7, 8 and 9 to read as follows:
6."LAW ENFORCEMENT DISCIPLINARY RECORDS" MEANS ANY RECORD
CREATED IN
FURTHERANCE OF A LAW ENFORCEMENT DISCIPLINARY PROCEEDING,
INCLUDING, BUT
NOT LIMITED TO:
(A) THE COMPLAINTS, ALLEGATIONS, AND CHARGES AGAINST AN EMPLOYEE.
(B) THE NAME OF THE EMPLOYEE COMPLAINED OF OR CHARGED.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 135 of 291

(C) THE TRANSCRIPT OF ANY DISCIPLINARY TRIAL OR HEARING, INCLUDING
ANY
EXHIBITS INTRODUCED AT SUCH TRIAL OR HEARING,

(D) THE DISPOSITION OF ANY DISCIPLINARY PROCEEDING; AND

(E) THE FINAL WRITTEN OPINION OR MEMORANDUM SUPPORTING THE
DISPOSITION
AND DISCIPLINE IMPOSED INCLUDING THE AGENCY'S COMPLETE FACTUAL
FINDINGS
AND ITS ANALYSIS OF THE CONDUCT AND APPROPRIATE DISCIPLINE OF THE
COVERED EMPLOYEE.

7."LAW ENFORCEMENT DISCIPLINARY PROCEEDING" MEANS THE
COMMENCEMENT OF
ANY INVESTIGATION AND ANY SUBSEQUENT HEARING OR DISCIPLINARY
ACTION
CONDUCTED BY A LAW ENFORCEMENT AGENCY.

8. "LAW ENFORCEMENT AGENCY" MEANS A POLICE AGENCY OR
DEPARTMENT OF THE
STATE OR ANY POLITICAL SUBDIVISION THEREOF, INCLUDING AUTHORITIES
OR
AGENCIES MAINTAINING POLICE FORCES OF INDIVIDUALS DEFINED AS POLICE
OFFICERS IN SECTION 1.20 OF THE CRIMINAL PROCEDURE LAW, A SHERIFF’S
DEPARTMENT, THE DEPARTMENT OF CORRECTIONS AND COMMUNITY
SUPERVISION, A
LOCAL DEPARTMENT OF CORRECTION, A LOCAL PROBATION DEPARTMENT, A
FIRE
DEPARTMENT, OR FORCE OF INDIVIDUALS EMPLOYED AS FIREFIGHTERS OR
FIREFIGHTER/PARAMEDICS.

EXPLANATION--Matter in ITALICS (underscored) is new, matter in brackets

fl is old law to be omitted.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 136 of 291

UNITED STATES SUPREME COURT,

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
&
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

XK

 

Supreme Court #:
&

FEDERAL COURT INDEX#:

20-CV-0524(MKV)

Affidavit rebuttal Bellevue Hospita!

Lies that the put in/on my medicai record to cover
themselves from part-taking of wrong doing

by Officer Crocilla

Queen’Prinyah Godiah NMIAA Payne's El-Bey

Plaintiff

-against-

Defendant's:

Crocilla, Cona, Michels, Porter, Vo!las, Ward

Metropolitan Authority Police Benevolent Association & Police Benevolent Association
Metropolitan Transportation Authority, MTA & MTA 34 precinct @ Penn Station, The
City Of New York, Bellevue Hospital,

Believue Hospital, et al.,
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 137 of 291

First of all, according to the health discharge form that | had got from the hospital have
my Grandma Name on it, rather my name it seemed that they have her record confused
with mine. Those notes those staffs/those Doctors had place in my record its not
accurate.

According to Jessica Bonnie Poster, MD & the staff’s Notes at Bellevue Hospital:

page 1: Stated that “Patient arrived here by EMS because she refused to leave Penn
Station. Here she has no psychiatric complaint.”

First of all, | want to know from you Jessica Bonnie where you there when Officer
Crocilla and his partners kidnapped me against my own will, assauits me then force me
to psych unit.

Second according to my statement and video cameras that prove that was showing to
me and match what! stated to the State General Attorney whom | had told When |
came out of the bathroom after using it and after dropping off the drink for my friend who
ai the time work there through in Agency, | went to use the bathroom when | came out
to leave to go pick up my medications at the pharmacy that was send by my doctors at
the offices | was kidnapped by the officers on my way to catch the 2/3 train to head to
425 street and Lenox. As | had stated when arrived there anyone part-taking of my
kidnapping and covering up for the officers | will included every single one in my lawsuit.
Your Department held me against my wills and it was unconstitutional what you and
your hospital/your department done to me held me inside your intuitions against my own
wills. Your statements you work are nothing but lies and ways to cover your Derriére
when you know what you and your hospital done to me its illegal and unconstitutional
also forcing me to waited and force me to communicate that day against my wills is/was
against the laws and | do have all the lega!-lawful rights to remain silence. Yet! was told
if | did not speak ya where going to admitted me and give me psych medications when |
was bleeding, handcuffs and was assault kick over and over in my side by officer eleven
times but once again ya ignored facts rather put shits on my medical records. Please
showed me where in the law stated that i cannot used a public bathroom inside a public
train station?... Officer Crocilla had harassed me in my social media’s and | did stated
that to the Social Worker and ! also told her | am afraid to go home for safety and | told
her First of all | was because he told me if | told anyone he knew my home address, he
have my id’s and personal information’s that he can have me silence for good and
second he have my house key my grandma was not home she was at service, yet again
your intuition help and cover those officers wrong doing.

  
  

NEW YORK

E
TCHESS COUNTY
eS 2

CIALE394009
EXPIR,

QUALIFIED Hy DL

MY COMMISSION

ONY ALGOZZINE
RY PUBLIC STATE O

Page 3 | do not care what the officers/Officer Crocilla stated about my health he is not
my God, My Primary Cares Doctors, nor he is related to me. Officer Crocilla harassed
me in social media until | was force to closed all of my social media’s and kidnapped me
against my own wills, stole my personal properties, kidnapped me, assault me and force
__meto sycn. unt against my own wills. “

3
3

NOTA

   

On this gis day of Selene 20%

Before me came BA Seyah Gea Sab. 9.10 it FAR. Feayne'’s
to aie howe to be the individual described in and & ~eey
who excouted the foregoing instrument and

acknd en Aigedd that ae e@ sare

a (Sg Chang tem
 

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 138 of 291

HHC HEALTH INFO MGMT Patient:Elbey, Prinyah Godiah

HEALTH 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10044 Acct #:; 201306226

ee Admit: 1/9/2020, Discharge: 1/0/2020
Triage note by Shawnmarie Jackson-NP at 01/09/20 0315

 

77 eee

Author: Shawnmarie Jackson, NP-—~—-—-Sérvice: Adult Psych Author Type: Nurse Practitioner
Filed: 01/09/20 0318 Date of Service: 01/08/20 0315 Creation Time: 01/09/20 0315
Status: Addendum Editor: Shawnmarie Jackson, NP (Nurse Practitioner)

Related Notes: Original Note by Shawnmarie Jackson, NP (Nurse Practitioner) filed at 01/09/20 0318

Pt is AOA x 3 follows commands answers questions appropriately breathing room air without distress yelling
screaming threatening to kill and beat up NYPD and EMS Pt refused Vital Signs stating "Don't fucking touch
me" Pt refused to give any medical information as well

"Electronically signed by Shawnmarie Jackson, NP at 01/09/20 0318"

ee
Patient Care Conferente.by Jessica Bonnie Poster, MD at 01/09/20 0332

Author: Jessica Bonnie Poster, MD ——Serviee+ Psychiatric Emergency Dept Author Type: Physician

Filed: 01/09/20 0402 Date of Service: 01/09/20 0332 Creation Time: 01/09/20 0332
Status: Addendum Editor: Jessica Bonnie Poster, MD (Physician)

Related Notes: Original Note by Jessica Bonnie Poster, MD (Physician) filed at 01/09/20 0335

Attempted to call AES but could not reach attending. *Alternate MRN 1704574* Patient arrived here by EMS
because she refused to leave Penn Station. Here she has no psychiatric complaints. She is complaining of
wrist pain and numbness in her hand after being handcuffed. She is also complaining that she was kicked in
the side by PD. She has a PMH of WPW s/p unsuccessfu! ablations, asthma, paraplegic since age 15 and
wheelchair bound, All of her complaints are medical and she will be sent to AES for further workup. Psych
note to follow. She is discharged from CPEP and does not need to retum.

“Electronically signed by Jessica Bonnie Paster, MD at 07/09/20 0402”

ua Wiliams
ED Notes dia Williams, PN at 01/09/20 0335

Author: Audia Willla@ffis;RN-7 Service: Psychiatric Emergency Dept Author Type: Registered Nurse
Filed: 01/09/20 0339 Date of Service: 01/09/20 0335 Creaiion Time: 01/09/20 0335
Siatus: Signed Editor: Audia Williams, RN (Registered Nurse}

Patient refused to leave penn station, states she was visiting a friend in penn station. Patient Denies
SI/HI/AVH/ PMH/PPH

“Electronically signed by Audia Williams, RN at 01/09/20 0339”

— En pispe tate by Jessica Bonnie Poster, MD at 91/09/20 | 0344 — ‘

 

Author: Jessica Bonnie Poster, vib-——-Senice:.Psychiatrie Emergency Dept Author Type: Physician
Filed: 01/09/20 0347 Date of Service: 01/09/20 0344 Creation Time: 01/09/20 0344
Status: Signed Editor: Jessica Bonnie Poster, MD (Physician}

Note Initiated: 01/09/2020 at 3:44 AM

ED Disposition Note:

Diagnosis
The encounter diagnosis was Adjustment disorder with disturbance of conduct.

Disposition

 

Printed on 7/8/21 7:39 AM Page 1
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 139 of 291

aye HHC HEALTH INFO MGMT Patient:Elbey, Prinyah Godiah
HEALTH 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Acct #: 201306226

Admit: 1/9/2020, Discharge: 1/9/2020
ED Dispo Note by Jessica Bonnie Poster, MD at 01/09/20 0344 (continued)
ED Disposition
ED Disposition Comment
Send to Adult
ED El-Bey Clermontine discharge to home/self care. Sent to AES

Condition at discharge: Stable

Patient seen in CPEP for evaluation and is psychiatrically stable for discharge.

ASSESSMENT
Formulation: See PES note

Discharge Diagnosis:
i. Adjustment disorder with disturbance of conduct

Safety Risk Assessment: See SAFE-T and PES note

Discharge Medical Evaluation: | have reviewed the patient's physical and psychiatric needs before discharge,
including laboratory and imaging studies obtained during this visit. Patient was in no acute medical distress at
the time of my evaluation. Review of systems was completed, with no significant findings. No labs were

collected during this visit. Patient is complaining of wrist pain and numbness after being hancuffed and will be
sent to AES for workup.

DISCHARGE PLAN

1. Psychiatric

Medications: See Discharge Med Rec

Follow-up: See AVS

Safety plan compieted? No, not indicaied as patient not tdentified as high or moderate risk for suicide
Patient is psychiatrically stable for discharge. Please see PES note and AVS for details of discharge plan.

Discharge plan reviewed with patient, including to call 911 or return to nearest ED or CPEP in case of
worsening symptoms.

2. Medical
Medications: See Discharge Med Rec
Follow-up: See AVS

Patient is medically stable for discharge. Please see AVS and Discharge Medical Evaluation above for details.

Patient/Collateral Involvement
Patient is in agreement with discharge pian: Yes
Collateral was involved in discharge planning: No

_"Blectronically.signed by Jessica Borinie Poster, MD at 01/09/20 0347"
(Coes Physician Note by Jessica Bonnis Poatay, MG at 61/09/28 0354
~--Author: Jessica Bonnie Poster, MD Servite: Psychiatric Emergency Dept Author Type: Physician
Filed: 01/09/20 04207 Bate of Service: 01/09/20 0351 Creation Time: 01/09/20 0351
Status: Signed Editor: Jessica Bonnie Poster, MD (Physician)

PSYCHIATRIC EMERGENCY SERVICES ASSESSMENT
Printed on 7/8/21 7:39 AM Page 2
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 140 of 291

aye HHG HEALTH INFO MGMT = Patient:Elbey, Prinyah Godiah
HEALTH + 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS B ellevue New York NY 10041 Acct #; 201306226

Admit: 1/9/2020, Discharge: 1/9/2020
PES Physician Note by Jessica Bonnie Poster, MD at 07/09/20 0351 (continued)

Encounter Time: Face-to-face evaluation with patient conducted at (date, time): 1/9/2020 330 am

Encounter Location: Bellevue Hospital Center - CPEP

 

Information/Referral Source

* Source of Referral: EMS/NYPD

* History obtained from: chart review and the patient

© Records from Previous Admissions/Provider(s) Reviewed? Yes, the following
records were reviewed: Epic, Quadramed

e Barriers to Assessment: None

Language & Interpretation Needs/Services

° Preferred Language: English

e Patientis not hard of hearing, deaf, or mute

e Patient preferred to speak English for this assessment.

e Interpretation used: None required; clinician is authorized to speak in the patient's
preferred language

 

 

 

 

 

CHIEF COMPLAINT / REFERRAL REASON:
Chief Complaint
Patient presents with

« EDP

Pt was BIBA aided by NYPD from Pen Station where she was agitated fighting and combative

 

 

HISTORY OF PRESENT ILLNESS

El-Bey Clermontine is a 26 y.o. female with alternate MRN 1704574 name Prinyah Godiah Elbey, with history
of borderline personaiity disorder, maiingering, somatization disorder, with prior hosptiatizations most recent
was at NCB in August after she made a suicidal gesture in order to not return to Her nursing home, PMH of
HTN, pseudozeisures, DVT, mild anemia, asthma, paraplegia (wheelchair bound since age 15), vertigo,
constipation, gastritis, syncope, Wolf Parkinson White Syndrame who was BIB EMS/NYPD handcuffed when
she refused to leave Penn Station. Notably police and EMS reported that she was aggressive with them and

that they did not believe t! that she was paralyzed and tl that: she i is s lying. Patient has well doctimented chart
history of paralysis. aren enn ray

 

 

 

 

On arrival patient was very upset that she was handcuffed and was very focused on the pain in her hands. The
cuffs were removed and she was calm ance PD left. She was angry that they brought her to the hospital but
while in CPEP was not verbally or physically aggressive with them. She stated that she was in Penn Station
tonight meeting a friend who works there and one of the police vehicles asked her to leave. She Stated that she

 

 

GO PSYCNOUC s at SVE Weiner pee eee

Past Psychiatric History

e Prior diagnoses: borderline personality disorder, somatization disorder, malingering, pseudoseizures

® Hospitalizations: Many beginning ai a younge age, last was after a suicidal gesture while in the hospital
s Qutpatient treatment Denies

 

Printed on 7/8/21 7:39 AM Page 3
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 141 of 291

HHG HEALTH INFO MGMT PatientElbey, Prinyah Godiah

sey
HEALTH + 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Acct #: 201306226

Admit: 1/9/2020, Discharge: 1/9/2020
PES Physician Note by Jessica Bonnie Poster, MD at 01/09/20 0351 (continued) _
« Medication trials: Zyprexa
© Suicide attempts/Self-harm: Many gestures but unclear if any actual attemtps. patient denies today
* Violence: Denies
« Trauma/Abuse: Did not assess today but per chart patietn with trauma history

HIGH-RISK PSYCHIATRIC HISTORY
High risk psychiatric history reviewed and updated in field above

Substance Abuse History

e Nicotine: Denies

Alcohol: Denies

illicit drugs: Denies
Prescription drugs: Denies
Prior treatment: Denies

Past Medical/Surgical History
has no past medical! history on file.
has no past surgical history on file.

Medications: No current facility-administered medications for this encounter.
No current outpatient medications on fite.

Allergies not on file
Family History (mental illness, substance use, suicide, other): Not assessed
Social History

Socioeconomic History

¢ Marital status: Unknown
Spouse name: Not on file
¢ Number of children: Not on file
* Years of education: Not on file
° Highest education level: Not on file
Occupational Hisiory
« Not on file
Social Needs
* Financial resource strain: Not on file
° Food insecurity:
Worry: Not on file
inability: Not on file
« Transportation needs:
Medical: Not on file
Noan-medical: Not on file
Tobacco Use
* Smoking status: Not on file
Substance and Sexual Activity
¢ Alcohol use: Not on file
° Drug use: Not on file
° Sexual activity: Not on file
Lifestyle

 

Printed on 7/8/27 7:39 AM

Page 4
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 142 of 291

. HHC HEALTH INFO MGMT Patient:Elbey, Prinyah Godiah
HEALTH + 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS B ellevue New York NY 10041 Acct #: 201306226

Admit: 1/9/2020, Discharge: 1/9/2020
PES Physician Note by Jessica Bonnie Poster, MD at 01/09/20 0351 (continued)
* Physical activity:

Days per week: Nat on file
Minutes per session: Not on file
« Stress: Not on file

Relationships

* Social connections:
Talks on phone: Not on file
Gets together: Nat on file
Attends religious service: Not on file
Active member of club or Nat on file
organization:
Attends meetings of clubs Not on file
or organizations:

Relationship status: Not on file
« intimate partner violence:
Fear of current or ex Not on file
partner:
Emotionally abused: Not on file
Physically abused: Not on file
Forced sexual activity: Not on file
Other Topics Concem
* Not on file
Social History Narrative
* Not on file

Was PSYCKES reviewed? No: patient declined

MENTAL STATUS EXAM
Matodorous female dressed in many layers, laying on stretcher. She is calm once PD leave, she is cooperative
and well related. No abnormal movements. Her speech is normal rate, volume and tone. Her TP is linear and

logical. No SI or HI. Future oriented. No AVH. Not IP. No e/o delusions or paranoia. Her mood is "in pain" and
her affect is labite. Her insight and jdugment are fair and IC is intact.

SAFE-T Risk Level: Low Suicide Risk

FORMULATION

El-Bey Clermontine is a 26 y.o. female with BPD who was brought in by EMS/NYPD after she refused to leave
Penn Station (though unclear why she needed to leave she was not sleeping there and they accused her of
feigning her paraplegia) and was brought here for a psych eval after she was aggressive with PD. Patient has
no psychiatric complaints, denies Si and HI. She is asking to leave, does not wish for any psych resources and

wants to have her wrist evaluated. Her presentation is most consistent with an adjustment disorder on this
presentation.

Risk Assessment:

Patient is not at acutely elevated risk for harm to self. She denies SI and is future oriented. She is not acutely
manic, depressed, psychotic, intoxicated or withdrawing. Chronic risk factors include but are not limited to her
homelessness, multiple medical issues, history of trauma/abuse, cluster B personatliy pathology with prior
Printed on 7/8/21 7:39 AM Page 5
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 143 of 291

AYE. HHC HEALTH INFO MGMT Patient:Elbey, Prinyah Godiah
HEALTH? 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Acct #: 201306226

Admit: 1/9/2020, Discharge: 1/9/2020
PES Physician Note by Jessica Bonnie Poster, MD at 01/09/20 0357 (continued)
suicidal gestures and acting out when her needs are not met.
Patient is not at acute risk for violence. She denies Hl. She has been caim and in good behavioral control while
here. She is not acutely psychotic, no CAH. She is not paranoid. She is not intoxicated or withdrawing. Chronic
risk facters include but are not limited to prior hosptializations, cluster B personality traits.

Working Diagnosis: adjustment disorder with disturbance of conduct

PLAN

-Discharge to AES for medical work up

-Patient was instructed to cali 1-888-NYC-WELL, call 911, or return to CPEP if she develops suicidal or
homicidal ideation, or any other new or worsening symptoms

~patient declined other MH or housing resources

“Electronically signed by Jessica Bonnie Poster, MD at 01/09/20 0420"

en oer en
ED Triage note by Shawnmarie Jackson, NP at 01/09/20 0354 >

 

 

Author: Shawamarie Jackson, NP Service: Adult Psych Author Type: Nurse Practitioner
Filed: 01/09/20 0355-0 Date of Service: 01/09/20 0354 Creation Time: 01/09/20 0354
Status: Signed Editor: Shawnmarié Jackson, NP (Nurse Practitioner)

Pt is AAO x 3 follows commands answers questions apprepriately breathing room air without distress
respirations regular and unlabored MOE x 4 irritable refusing to answer questions other than to state she is
in pain and yelling at this examiner

“Electronically signed by Shawnmarie Jackson, NP at 01/09/20 0355"

ED Progress Note by William Plowe, MD at 01/08/20 0637 A

 

Author: William Plowe, MD Service: Emergency Dept Author Type: Resident
Filed: 01/09/20 0739-~-—--—-...___._ Date of Service: 04/09/20 637 Creation Time: 01/09/20 0637
Status: Signed Editor William Plawe, MD (Resident)

Cosigner: Alion Mordel, MD at 01/09/20 0851

ED Progress Note:

XR wni. Pt re-examined after tylenol, pain improved. Remains w/ paresthesias b/l hands worst in radial
nerve distribution. Weakness improving, fires all fibers but remains w/ marked weakness globally in hands.
Overall c/w handcuff neuropathy. Dispo complicated by fact that pt is wheelchair bound for paraplegia and
needs her hands for mobility. Will continue to observe for improvement.

“Electronically signed by Allon Mordel, MD at 01/09/20 085%"

G Notes by Marina Dela Rosa Gabaya, RN at 07/09/28 0720 “4

 

AUffidt? Marina Dela-Rosa.Gabaya, _ Service: Emergency Dept Author Type: Registered Nurse
Filed: 01/09/20 1156 Date of Service: 07/09/20 0720 Creation Time: 01/09/20 1156
Status: Signed Editor: Marina Dela Rosa Gabaya, RN (Registered Nurse}

Received pt. Asleep but arousabie, no acute distress noted, awaits dispo.

"Electronically signed by Marina Dela Rosa Gapaya, RN at 01/09/20 1156"

 

Printed on 7/8/21 7:39 AM Page 6
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 144 of 291

 

aryst HHC HEALTH INFO MGMT  Patient:Efbey, Prinyah Godiah
HEALTH olf 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS B ellevue New York NY 10041 Acct #: 201306244

— Admit: 1/9/2020, Discharge: 1/9/2020

 

 

ED Sugervisory Note by Aiden Rose Shapiro, MD_at 01/09/20 0844
Alhor: Aiden Rose Shapiro, MD__-Serige: Emergency Dept Author Type: Resident
Filed: 4f Date of Service: 01/09/20 0844 Creation Time: 01/09/20 0844
Status: Signed Editor: Aiden Rose Shapiro, MD (Resident)
Cosigner: Allon Mordel, MD at 01/09/20 0854

26yo F pmh asthma, wpw, paraplegia from sailing accident, now here w wrist pain/numbness. Pt was an
EDP BIBNYPD after being dragged from her wheelchair by-police, thrown against wall, pinned_on top of her

arms in cuffs for over.an hour. Subsequently she had severe pain in her hands/wrists, numbness/tingling,
and weakness in bit hands. On exam pt very tender throughout hands. Diminishéd sensation in”
radial/medial distribution, better in ulnar. Minimal grip strength, although limited 2/2 pain. Will get xrs, pain
control. Concern is for most likely neuropraxia, but given that pt ambulates via wheelchair, will be difficult to

discharge without full function of her hands.

 

"Electronically signed by AllarrMordel_ MD at 01/09/20 0854"
a nee

a >
Gp Dispo Note by Kyle Pasternac, MD at 01/69/20 1063_—

 

“Author: Kyle Pasternac,. MD... _---- Service- Emergency | Doni Author Type: Resident
Filed: 01/09/20 1003 Date of Service: 01/09/20 7003 Creation Time: 01/09/20 1003
Status: Signed Editor: Kyle Pasternac, MD (Resident)

Cosigner: Jessica Harris Leifer, MD at 01/09/20 1035

Note Initiated: 01/09/2020 at 10:03 AM
ED Disposition Note:

Diagnosis
The encounter diagnosis was Pain in both wrists.

Disposition

ED Disposition
ED Disposition Comment

 

Discharge
El-Bey Clermontine discharge to home/self care.
Condition at discharge: Good
Follow-Up With

No follow-up provider specified.
Home Medications No Changes
There are no discharge medications for this patient.

 

Home Medication Changes.
Modified Medications -
No medications on file ~

 

Discontinued Medications -
No medications on file

 

 

Printed on 7/8/21 7:39 AM Page 7
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 145 of 291

Mee HHC HEALTH INFO MGMT = Patient:Elbey, Prinyah Godiah
HEALTH?

160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10044 Acat #: 201306244
Admit: 1/9/2020, Discharge: 1/9/2020
ED Dispo Note by Kyle Pasternac, MD at 01/09/20 1003 {continued)
Prescriptions Given This Visit
There are no discharge medications for this patient.

Consults
None

Final Assessment and Plan
NV intact bA, still with pain but neuropraxia resolved.

“Electronically signed by Jessica Harris Leifer, MD at 01/09/20 1035"

EB Notes by Marina Dela Rosa Gabaya, RN at 01/09/20 1156

 

Author: Marina Dela Rosa Gabaya, Service: Emergency Dept Author Type: Registered Nurse
RN

Filed: 1/09/20 1157 Date of Service: 01/09/20 1156 Creation Time: 01/09/20 1157
Status: Signed Editor: Marina Dela Rosa Gabaya, RN (Registered Nurse)

Pt. Transferred to D/C center, awake and responsive.

"Electronically signed by Marina Dela Rosa Gabaya, RN at 01/09/20 1157"

Progress Notes by Amy Acosta, LMSW at 01/09/20 1232

 

Author: Amy Acosta, LMSW Service: — Author Type: Social Worker
Fifed: 01/09/20 1303 Date of Service: 01/09/20 1232 Creation Tirne: 01/09/20 4232
Status: Signed Editor, Amy Acosta, LMSW (Social Worker}

VICTIM SERVICES PROGRAM

Victim Services Program (VSP) Social Worker (SW) was referred cas3e by ED SW Laura Ramkisson, LMSW

x4730. Patient is a 26-year-old woman_who.was BIBEMS t to. Bellevue Hospital, tal slp assault, Patient Was —

 

Center. VSP SW identified patient vi Via name and wristband. Patient Felt, comfortable disclosing her story fo this
VSP SW. VSP_SW provided patient with emotional [support as needed throughout this conversation. “VSP SW
shared with h patient services available via a the VSP, such as advocacy with law enforcement, trauma therapy _

 

 

séfvicés and medical bill compensation via the NYS Office of Victiiy Serviées. VSP SW provided patient with

information on how to report her assauit to the Civilian ‘Complaint Review Board (CCRB). Patient expressed

thai she felt unsafe retumning to her home (she currently Wes with her grandmother) as she believes these
officers will attempt to find her in her home. VSP SW provided patient with’ information ¢ on going into a shelter.
Patient tient expressed an interest i in a DV shelter with Safe Horizon and this VSP SW explained t the ‘difficulty to ~

‘obtain ain a sheliér ‘hon-DV" circumstances. Patient v was adamant at about calling SH and d this VSP Sw

 

  

 

 

 

 

 

 

 

 

 

Women’ s Shelter and. Franklin Siiet Shelter).

VSP SW will remain available to the patient as needed.
Amy Acosta, LMSW x4739

“Electronically signed by Amy Acosta, LMSW at 01/09/20 1303”

 

Printed on 7/8/21 7:39 AM Page 8
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 146 of 291

HHG HEALTH INFO MGMT Patient:Elbey, Prinyah Godiah

HEALTH ee 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Acct #: 201306244

Admit: 1/9/2020, Discharge: 1/9/2020
ED Notes by Dawa Lhamo Dadak, RN at 01/09/20 1530

 

Author: Dawa Lhamo Dadak, RN Service: Emergency Dept Author Type: Registered Nurse
Filed: 01/09/20 1709 Date of Service: 01/09/20 1530 Creation Time: 01/09/20 1709
Status: Signed Editor: Dawa Lhamo Dadak, RN (Registered Nurse)

Patient called her own insurance for transportion, cab service.

“Electronically signed by Dawa Lhamo Dadak, RN at 01/09/20 1709"

ED Notes by Dawa Lhamo Dadak, RN at 01/09/20 1615

 

Author: Dawa Lhamo Dadak, RN Service: Emergency Dept Author Type: Registered Nurse
Fited: 01/09/20 1711 Date of Service: 01/09/20 1615 Creation Time: 01/09/20 1711
Status: Signed Editor: Dawa Lhamo Dadak, RN (Registered Nurse}

PCT Wheeled her to main entrance for her cab ride to her PCP as per patient . Patient refused Discharge
instructions and sign discharge papers.

“Electronically signed by Dawa Lhamo Dadak, RN at 01/09/20 1711"

 

 

 

 

Patient information Patient Name: Elbey,
Prinyah Godiah MRN: 3726720
Date of Birth: 04/18/1993 Sex: Female
Medication acetaminophen (TYLENOL) tablet 650 rag
Order information
Date Department
1/9/2020 Bellevue ED ADULT
Order Previders rin
Authorizing Billing
William Piowe William Plowe

Hospital Medication Detail

 

 

 

 

 

Dose Frequency Siart End
acetaminophen (TYLENOL) tablet 650 mg 650 mg Once 1/9/2020 1/9/2020
Route: Oral
END OF REPORT
Patient Information Patient Name: Elbey,
Prinyah Godiah MRN: 3726120
Date of Birth: 04/18/1993 Sex: Female
Medication ibuprofen (ADVIL, MOTRIN) tablet 800 mg
Order Information
Date Department
1/9/2020 Bellevue ED ADULT

Order Providers

 

Printed on 7/8/21 7:39 AM Page 9
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 147 of 291

NV HHC HEALTH INFO MGMT = Patient:Elbey, Prinyan Godiah
HEALTH 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
Hospirais | b@LLE@VULCNew vou ny 10041 Acct #: 201306244
Admit: 1/9/2020, Discharge: 1/9/2026
Order Providers (continued)
Authorizing Billing
Alden Rose Shapiro Aiden Rose Shapiro

Hospital Medication Deiail

 

 

 

 

 

 

 

Dose Frequency Start End
ibuprofen (ADVIL, MOTRIN) tablet 800 mg 800 mg Once 4/9/2020 1/9/2020
Route: Oral
END OF REPORT
Patient Information Patient Name: Elbey,
Prinyah Godiah MRN; 3726720
Date of Birth: 04/18/1993 Sex: Female
Medication ketorolac (TORADOL) injection 15 mg
Order Information
Date Department
1/9/2020 Believue ED ADULT
Order Providers
Authorizing Billing

Kyle Pasternac Kyle Pasternac

Hospital Medication Detail

Dose Frequency Start End
ketorolac (TORADOL) injection 15 mg 15 mg Once 4/9/2020 1/9/2020
Route: Intramuscular

 

END OF REPORT

Patient information Patient Name: Elbey,

Prinyah Godiah MRN: 3726120
Daie of Birth: 04/18/1993 Sex: Femate

Medication HYDROcodone-acetaminophen (NORCO)
5-325 mg per tablet

Order Information

 

 

Date Dapariment
1/9/2020 Bellevue ED ADULT
Grder Providers
Authorizing Billing
Kyle Pasternac Kyle Pasternac

Hospital Medication Detail

Dose Frequency Start End
HYDROcodone-acetaminophen (NORCO) 5-325 mq 1 tablet Once 1/9/2020 1/9/2020
per tablet

Admin Instructions: ** HiGH ALERT **
Printed on 7/8/21 7:39 AM Page 10
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 148 of 291

160 Water St

Belleviutenew vor ny 10041

Hospiial Medication Detali (continued)

HEALTH
HOSPITALS

Route: Oral

Dose

HH HEALTH INFO MGMT PatientElbey, Prinyah Gadiah

MRN: 3726120, DOB: 4/18/1993, Sex: F
Acct #: 201306244
Admit: 1/9/2020, Discharge: 1/9/2020

Frequency Start End

 

END OF REPORT

Patient Information

Medication

Order information

Date
1/49/2020

Department

Order Providers

Authorizing

Kyle Pasternac
Outpatient Medication Detail

ibuprofen (ADVIL, MOTRIN) 400 MG tablet

Disp
30 tablet 0

Patient Name: Elbey,
Prinyah Godiah
Date of Birth: 04/18/1993

MRN: 3726120
Sex: Female

ibuprofen (ADVIL, MOTRIN) 400 MG tablet

Bellevue ED ADULT

Refills Start

1/9/2020

End
1/16/2020

Sig - Route: Take 1 tablet (400 mg total} by mouth every 6 (six) hours as needed for pain for up to 7 days.

Take with food. - Oral

Seni to pharmacy as: ibuprofen (ADVIL, MOTRIN) 400 MG tablet
E-Prescribing Status: Receipt confirmed by pharmacy (1/9/2020 10:07 AM EST}

 

END OF REPORT

Order

DX Wrist Comp Lett [154479543]

Electronically signed by: William Plowe, MD on 01/09/20 0451
Ordering provider: William Plowe, MD

Ordering user: William Plawe, MD 01/09/20 0451
Authorized by: William Plowe, MD
Frequency: Once 01/09/20 0451 - 1 occurrence
Questionnaire
Question
Reason for Exam _

DX Wrist Comp Left (IMG102] (Order
134479545)

Status: Completed

Answer

_ Pointtenderness — oo

 

 

 

isthe patient pregnant? CN
Would you like this exam fo be performed portably? No
Result DX Wrist Comp Left (Order 134479545)
RESULTS
Resulted: 01/09/20 0557, Result status: Fina!
DX Wrist Comp Left [134479545] _ result
Ordering provider: William Plowe, MD 01/09/20 0451 Resuked by:

Printed on 7/8/21 7:39 AM

Jessica Hu, MD
Phillip Guichet, MD

Page 11
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 149 of 291

HEALTH-
HOSPITALS

160 Water St

Bellevue New York NY 10041

RESULTS {continued}
Performed: 01/09/20 0530 - 01/09/20 0550
Resulting lab: EMC RAD
Narrative:
History: Bilateral wrist pain after handcuffs

HHC HEALTH INFO MGMT = Patient:Elbey, Prinyah Gadiah

MRN: 3726120, DOB: 4/18/1993, Sex: F
Acct #: 201306244
Admit: 1/9/2020, Discharge: 1/9/2020

Accession number: BEDX2606195
Result details

Technique: DX WRIST COMP RIGHT, DX WRIST COMP LEFT

Comparison: None available.

Impression:
Findings/impression:

No acute fracture or dislocation. Alignment at both wrists is anatornic, joint spaces are preserved, and articular

surfaces are unremarkable, No soft tissue abnormality.

Final report dictated by Phillip Guichet and signed by Jessica Hu, MD, 1/9/2020 5:57 AM

Testing Performed By

 

Lab - Abbreviation Name Director
9 - EMCRad EMC RAD Model Lab
Director
Order

DX Wrist Comp Right (134479544)

Electronically signed by: William Plowe, MD on 01/09/20 0451
Ordering provider: William Plowe, MD

Ordering user: Wiliam Plowe, MD 01/09/20 0451
Authorized by: William Plowe, MD
Frequency: Once 01/09/20 0451-1 occurrence
Questionnaire
Question
Reason forExam

Address
5301 Tokay Blvd.
Madison WI 53711

Valid Date Range
01/24/07 1752 - Present

DX Wrist Comp Right [IMG103] (Order
134479546)

Status: Completed

Answer

..Pointtenderness

 

 

 

Js the patient pregnant? oe eee oe NO
Would you fike this exam to be performed portably? No
Resuit DX Wrist Comp Right (Order 134479546)
RESULTS
Resulted: 01/09/20 0557, Result status: Final
DX Wrist Comp Right [134479546] result
Ordering provider: Wiliam Plowe, MD 01/09/20 0451 Resulted by:

Performed: 01/09/20 0530 - 04/09/20 0550
Resuliing Jab: EMC RAD

Narrative:

History: Bilateral wrist pain after handcuffs

Jessica Hu, MD

Phillip Guichet, MD

Accession number: BEDX2606193
Result details

Technique: DX WRIST COMP RIGHT, DX WRIST COMP LEFT

Comparison: None available.

 

Printed on 7/8/21 7:39 AM

Page 12
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 150 of 291

 

 

aye HHC HEALTH INFO MGMT Patient:Elbey, Prinyah Godiah
HEALTH + 160 Water St MRN; 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Acct #: 201306244
Admit: 1/9/2020, Discharge: 1/9/2020
RESULTS {continued}
impression:
Findings/Impression:

No acute fracture or dislocation. Alignment at both wrists is anatomic, joint spaces are preserved, and articular
surfaces are unremarkable. No soft tissue abnormality.

Final report dictated by Phillip Guichet and signed by Jessica Hu, MD, 1/9/2020 5:57 AM

Testing Performed By

 

 

 

Lab - Abbreviation Name Director Address Valid Date Range
9-EMCRad EMC RAD Model Lab 5301 Tokay Blvd. O1/24/07 1752 - Present
Director Madison WI 53711
Order ECG 12 Lead [ECG1] (Order 134479548)
ECG 12 Lead [134479547]
Electronically signed by: William Plowe, MD on 01/09/20 0532 Status; Completed
Ordering user: William Plowe, MD 01/09/20 0532 Ordering provider: William Plowe, MD

Authorized by: William Plawe, MD
Frequency: Once 01/09/20 0533 - 1 occurrence
Questionnaire
Question Answer
Reason for exam? Tachycardia

Result ECG 12 Lead (Order 134479548)

Resulted: 01/13/20 1244, Resull status: Final
ECG 712 Lead [134479548] _ result
Ordering provider: William Plowe, MD 01/09/20 0532 Resulted by: Pedro de Armas, MD
Resulting flab: EMC RAD Result details
Narrative:
Normal sinus rhythm
Normal ECG
No previous ECGs available

Specimen Information

iD Type Source Collected On
~~ _ — 01/09/20 1059

 

   

  

Componenis

Reference
Component Value Range Flag Lab
Heart Rate eee EP ee BPM me on, EMCRad
PR Interval eee ABO LMS oe
QRSD Infeval BA IS ce fad,
OT Anterval ee BOF IMIS =. _ .BMCRad
QTeB Interval i ABB MS Ee ee RMCRad
P-Axis Horizontal coe ne 68 degrees | centr ne EIIGRAd
QRS Axis. ce AT _ degrees i... EMC Ra
T Wave Axis 59 degrees — EMCRad

 

Printed on 7/8/21 7:39 AM Page 13
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 151 of 291

HHC HEALTH INFO MGMT Patient:Elbey, Prinyah Gadiah

HEALTH + 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS B ellevue New York NY 10041 Acct #: 201306244

Admit: 1/9/2020, Discharge: 1/9/2020
RESULTS (continued)

Testing Performed By

 

Lab - Abbreviation Name Director Address Valid Date Range
9 - EMCRad EMC RAD Model Lab 5301 Tokay Blvd. 01/24/07 1752 - Present
Director Madison Wi 53714
Order Ambulatory Referral to Med Primary Care

(MPC) [REF40] (Order 134479553)

Ambuiatory Referral to Med Primary Care (MPC) [134479553]
Electronically signed by: Kyle Pasternac, MD on 01/09/20 1005 Status: Active
Ordering user: Kyle Pasternac, MD 01/09/20 1005 Ordering provider: Kyle Pasiernac, MD
Authorized by: Kyle Pasternac, MD
Frequency: 01/09/20 -
Order comments: Reason for Referral: primary care

 

 

Result Ambulatory Referral to Med Primary Care

(MPC) (Order 134479553)
RESULTS

Ambulatory Rejerra! to Med Primary Care (MPC} [134479553] Result status: No result

 

Ordering provider: Kyle Pasternas, MD 91/09/20 1005 Result details

Scan on 1/9/2020 0345 by Sophia lanthea Porter: PSYCH OPT OUT (below)

 

Printed on 7/8/21 7:39 AM Page 14
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 152 of 291

Eye HHC HEALTH INFO MGMT Patient:Elbey, Pri G
i ae ¥, Prinyah Godiah

460 Water St MRN: 3726120, DOB: 4/18/1993. Sex: F
HOSPITALS | Bellevue New York NY 10041 Acct #: 201306244 —_

 

Admit: 1/9/2020, Discharge: 1/9/2020
GHOICE AND VISITOR RESTRICTION FORM CSN: 33246869
‘ DOB: 4/18/1993 (26 yrs) F
: i f 672, Ext, 4353, RM GD 59 MRM: 4940258
FAX OR DELIVER TO: .Admitting' (Fax #4 ) MR A pra020
Lo

 

4

: J
ADULT AND C&A PSYCHIATRY HOSPITAL DIRECTORY CLERMONTINE, EL-BEY =

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. CHOOSE NOT TO BE LISTED IN HOSPITAL DIRECTORY: No information wil! be
given to any caller, and no visitors will be allowed (BHC DEFAULT FOR PSYCHIATRY}.
1A. OPTION TO ALLOW VISITORS: if patientiegai guardian chooses te Opt
Out, only these individuals MAY visit and receive diréctory information. '
t
Zz. CHOOSE TO BE LISTED IN HOSPITAL DIRECTORY: Information wil! be given to
any ealler who inquires, and there wilt be no restrictions on visitation
NOT AN OPTION FOR C&A PSYCHIATRY,
, DA, OPTION TO RESTRICT VISITORS: ADULT: If patient chooses to be listed,
these individuals MAY NOT visit and mo information will be given to them.
C&A PSYCHIATRY: List additional specific visiting restrictions below.
| SIGNATURES ;
eo CA _ [4] 220
Staff Signature . Tite " “Oate *
Pk ONAL oe __ tlalwe2o .
Patient/Legal Guardian a Senate . Cate * |
Patient/Legal Guardian Unable __ Refused to complete information, Opt out until completed. |
CLINICALIADMINISTRATIVE RESTRICTIONS : : |
3. RESTRICTION ON ALL VISITORS: Al request of the clinical ar administrative team,
visitation is restricted.
RESTRICTION AUTHORIZED BY THLE
No Visitors Fromm to. : or NO VISITORS UNTIL
Date Date FURTHER NOTICE
SA. _ RESTRICTION LIFTED .
- ° Date
4. EXCEPTIONS: Visitors allowed at other than regular visiting hours.
Name From CTO
Time Time

 

 

EXCEPTION AUTHORIZED BY TITLE

ORAFT: Revision Date 03.22.10

Scan on 1/9/2020 0345 by Sophia lanthea Porter: PSYCKES UNABLE (below)

Printed on 7/8/21 7:39 AM Page 15
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 153 of 291

 

- HHC HEALTH INFO MGMT Patient:Elbey, Prinyah Godiah
HEALTH -

160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10044 Acct #: 201306244
Admit: 1/9/2020, Discharge: 1/9/2020

Details about patient information in PSYCKES and the consent protess:
4. How-Yourlnfermation-Can-be-Used.-Your electronic-heailh-information-can-only-ba used-by your treatment pravider to:

® Provide you with medical treatment and related services
® Evaluate and improve the quality of medicai care provided fo all pafients
© Notify your trealment providers if you have an emergency {e.g., go to an emergency room)

2. What Types of Information About You Are included?

lFyou give consent NYC-HHC BELLEVUE HOSPITAL CENTER can access ALL of your electronic health information
available {hrough PSYCKES. This includes information created before and afler the date of this Consent Form, The
information in PSYCKES may includes information from your heallh records, such as a history of illnesses or injures you
have had (like diabetes or a broken bone), test results (like X-rays, blood tests, or screenings), assessment resulls, and lists
of meédicines you have taken, Care plans, safety pians, and psychiatric advanced directives you and your treatment provider
may have developed may also be included, This information may relate to sensitive health conditions, including but nat

limitect fo:
© Mental health conditions = Ganetic (inherited) diseases or tesis
* Afcohol or drug use problems s HMAIDS
* Binh control anid abortion (family planning) ® Sexually transmitted diseases

__3. Where Health Information About You in PSYCKES Gomes From.

{f you received health related services that were paid for by Me It formation about those services will be in
PSYCKES. If you received services fram a State operated psychiatric center, health related information taken from your
Clinical records wilf also be in PSYCKES. However, although the information contained in PSYCKES may come from your
clinical record, your PSYCKES record is not the same thing as your complete clinical record. PSYCKES information can
also be entered by you or Your, frealment provider, Health information from other databases maintained by NYS fs also
included in PSYCKES, New health databases may be added to PSYGKES as available, Far an updated list and more
information about the data avaifable in PSYCKES, visit the PSYCKES website at at waw.psyckes.org and see “About
PSYCKES’ or ask your ireatment provider to print the list for you,
4, Who May Access information About You, if You Give Consent. .
Only these people may access information about you: NYC-HHC 4 BELLEVUE HOSPITAL CEN TER's doctors and other
providers who are involved in your care; health care providers who are covering or on call for NYC-HHC BELLEVUE

*s ; and staff members who carry out activities permitted by this Consent Form as described above in

 

paragraph one.
&, Penalties.for Improper Access to-or. Use of Your information,

There are penaltias for Inappropriate accass to or Use of your electronic health infarmation. [fat any time you suspect that
sorneone who should not have seen or gotlen access to information about you has done so, cali
at ext___s or call the NYS Qifice of Mental Health Customer Relations at 800-

 

597-8484.

§, Re-disclosure of Information.

Any electronic health information about you may be re-disclosed by NYC-HHG BELLEVUE HOSPITAL CENTER's to others
only to the extent permitted by state and federal laws and regulations. ‘This fs also true for health information about you that
exists In a paper form, Some state and federal laws provide special protections far some Kinds of sensitive health
information, including HIV/AIDS and drug and aicohol realment, their special requirements must be followed whenever
people recetve these kinds of sensitive health information,

7. Effective Pariod.

This Consent Form will remain in effect until 3 years after the last dafe you received any services from NYC-HHG
BELLEVUE HOSPITAL GENTER’s , or until the day you withdraw your consent, whichever comes first

8. Withdrawing Your Consent

You can withdraw your consent at any time by signing a Withdrawal of Consent Form and giving it to
‘s.. You can also change your consent choices by signing a new Consent Fonn at any time. You

can get these forms from this provider ar from the PSYCKES website at vayww.psyckes.com, or by calling

_ ‘sat ext. . Note: Organizations that access your health Information through
NYC-HHC BELLEVUE HOSPITAL CENTER's while your consent is in eect may copy or include your information in their
own medical records. Even if you later decide to withdraw your consent, they are not required ta retum it ar remove it from
their records,
9. Gopy of Form. You are entitied fo receive a copy of this Consent Form alter you sign iL

Revised 10.14.2016

 

 

Prinied on 7/8/21 7:39 AM Page 16
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 154 of 291

are HHC HEALTH INFO MGMT PatientElbey, Prinyah Godiah
HEALTH 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Acct #: 201306244

Admit, 1/9/2020, Discharge: 1/9/2020

PSYCKES CONSENT FORM
NYG-HHG BELLEVUE HOSPITAL CENTER

The Psychiatric Services and Clinical Enhancement System (PSYCKES) ia web-based application maintained by the
New York State (NYS) Office of Mental Health (OMH}. It contains health information from the NYS Medicaid database,
health information from dinical records, and information from other NYS health databases. For an updated listand |
more information about the NYS health databases in PSYCKES, visit www.psyckes.org and see “About PSYCKES."

PSYCKES data includes identifying information {such as your name and date of birth), infonhation abou! héafth
services that have been paid for by Medicaid, information about your health care history (such as treatment for
iinesses or injuries, test results, lists of medication you have taken), and information entered by you or your freatment
provider into the PSYCKES application (such as a Safety Plan}. .

The health infonnation in PSYCKES can help your provider care. in ihis Consent Form, you can choose whether ornot
fo give your provider electronic access to your health information that is in PSYGKES. You can give cansent or deny
consent, and this fonn may be filled out now or ata later date. Your choice will not affect your ability to get
medical care or health insurance coverage. Your choice to give or to deny consent will not be ilte basis for
denial of health services.

If you check the “| GIVE CONSENT” box below, you are saying “Yes, this provider's staff involved in my care may get
access to all of my medical information thatis in PSYCKES."

my medical information through PSYCKES,” THIS DOES NCT MEAN YOUR PROVIDER 1S COMPLETELY
BARRED FROM ACCESSING YOUR MEDICAL INFORMATION IN ANY WAY. FOR EXAMPLE, iF THE MEDICAID
PROGRAM HAS 4 QUALITY CONCERN ABOUT YOUR HEALTHCARE, THEN UNDER FEDERAL AND STATE
REGULATIONS YGUR PROVIDER MAY BE GIVEN ACCESS TO YOUR DATA TO ADDRESS THE QUALITY .
CONCERN. QUALITY CONCERNS HELP HEALTHCARE PROFESSIONALS DETERMINE WHETHER THE RIGHT
SERVICES ARE BEING DELIEVERED AT THE RIGHT TIME TO THE RIGHT PEOPLE. THERE ARE ALSO
EXCEPTIONS TO THE CONFIDENTIALITY LAWS THAT MAY PERMIT YOUR PROVIDER TQ CBTAIN ;
NECESSARY INFORMATION DIRECTLY FROM ANOTHER PROVIDER FOR TREATMENT PURPOSES UNDER
STATE AND FEDERAL LAWS AND REGULATIONS.

|
. t
if you check the “l DENY CONSENT"box below, you are saying *No, this provider may not sae or be given access to

Please carefully reac the information on the back of this'form before making your decision,
Your Consent Choices. You can fill out this form now or in the future. ‘You have two choices:

f | GIVE CONSENT for this provider to access ALL of my electronic heaith information thatis in PSYCKES in
connection with providing me any heaith care services.

(1 1DENY CONSENT for this provider to access my electronte heaith information that is in PS'YCKES; however, |
understand that my provider may be abie io obtain my information even without my consent for certain limited
purposes if specifically authorized by state and federal laws and regulations

CLERMONTINE, EL-BEY
CSN: 33246869

 

 

 

 

 

~ " DOD$4/1 8/1993 (26 F :
Print Name of Patient Date of Birth of Patient MRN: 4049258 OS y=) \
. Adm Date: 142020
Ye Onode \[4[ woe
t
Signature of Patient or Patient's Legal Dat
t ; 2
Representative

 

applicable to Patient (if applicable}

Sophia over

Signature of Witness Print Name of Witness

  

|

t

Print Name of Legal Representative (if Relationship of Legal Representative
|

I

1

a

 

Scan on 1/9/2020 0422 by June Bennett (below)

 

Printed on 7/8/21 7:39 AM Page 17
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 155 of 291

  

HHC HEALTH INFO MGMT’ Patient:Elbey, Prinyah Godiah

EALTH + 160 Water St MRN: 3726720, DOB: 4/18/1993, Sex: F
HOSPITALS DB ellevue New York NY 10041 Acct #: 201306244
Admit; 1/9/2020, Discharge: 1/9/2020

 

1/8/2020) 2:35 AM ROH: Physio-Control TO: 412125625138 9B

 

Prehospital Care Report Summary

FDNY
Date:01/09/2020 Call #:0305 Bookiet:86169737 Branch: STAO7 Time Zone:America/New_York

 

 

 

Call Information: # Pailents Transported
. ae In My Unit: 1
Disposition: Treated/Transported (10-82) Pati ‘ 1
Initial Patient Acuity: Stabie # Patients at Scene: at
Unit #: O7C1 - O7C Tour 1: 2300-0700, Ground-Ambulance -BLS Trip Type: Initial Trip
Fun Type to Scene; Emergent (immediate Response} Call Received: O2 dead
Incidant Factlity: Dispaiched: 02:43:12
incident Location: W 34 ST/? AVE - Manhaitan, NY 10120 (New York County) En Route: 02.43:46
ineldent Location Type: Public Building On Scene: 02:48:58
Patient Contact: 02:48:58
Receiving Facllity: 2- Bellevue (Hospital) - 472 1 Avenue «NY. NY 10046 Left Scene: 02:58:59
Facility Address: 472 1 Avenue - NY, NY 10046 At Destination: 03:06:25
Destination Type: Hospital Emergency Dep! Transfer of Care: Og.1712
Dest, Reason: Nearest/Most Accessible Facility InService: Osa SB
Hospllal Capability: Hospital {General} . ™——
Condition of Patient At Destination: Unchanged Time On Scene: iO Min
Registration # N/A, Time to Destination: = 23 Min
nti Totai Time of Run: 49 Min
Authorization Type: Protocol
Loaded Miteage: 1.4 (Total Miteage: 1.4)
Crew Members: dames Ward #2396, EMT Basic(DSY0OH) James Acevedo, EMT Basic(DOC)
Moved io Amb By: Stretcher Transport Position: SemiFuil Fowlers From Amb Sy: Stratcher
Call Orlgin: NA Lights'Siren: Scene - No Lights and Sirens, Destination - No Lights and Sirens
Patient information:
Name: al-bey clermontine aoe pie
Address: 40 ann st #2ba - ny, NY £0038 ender er eae
Phone: Age: 26 Years
a. Welght: 150 Ibs, 68.04 kg
Email: B iow:
SSN: . roselow!
Driver Licanse:
Olhar Contact Info
Name: Phone: Cell Phone;
Relationship:
Current Meds: * NO KNOWN MEDICATION Comments:
Env Allerglas: NKA Comments:
Med Allergies; " NO KNOWN ALLERGIES (NIKA} Comments:
Patient Physician:
Advanced Directives:
PMH: None
Comment:
Patient Physica! Limitations:
Comment:
Pregnancy: No
Payer Information:
Work Related: No
Priority: Name: Sat Pay Type: Sell Pay Policy ft: Group #:
Policy Holder: . ,Apl Phone: 008:

Relationship of Patient to Insured:

 

4G ann st, Apl 2ba ay, Ny 10038

Advance Ganeficiary Nolice
Not 4 Medical Necessity: No Non Covered Service: No

 

 

 

     

 

Printed on 7/8/21 7:39 AM Page 18
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 156 of 291

“ye HHC HEALTH INFO MGMT ~~ Patient Elbey, Prinyah Godiah
HEALTH + 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS B ellevue New York NY 10041 Acct #: 201306244

 

Admit: 1/9/2020, Discharae: 1/9/2020
1/9/2020 2:35 RK FROK: Physio-Control TO: 412125625138 =P. 2 :
Mileage Beyond Closest Appropriate Facility: No Preferred Physician: No
Requested Service:

Representaiive Relatlon:

 

Clinical: i
Onset Date/Time: 01/09/20 02:45:35 4
Last Known Wail Date/Time: 01/09/26 02:43:36

Dispatch Reason (EMD}: EDP EDP - Psychiatric Patient
Medica! Need:

Chief Complaint {Primary}: behavioral disorder Duration: 1 Minutes
Anatom!s Location: Head

Pravider Impression: Noi Listed (Specify in Narrative}

Was this event weather related?: No

Mechanism of Injury:

Protocal 4: Protocol 2:

Assessmants:

Time Empioyee Type Summary
0307-23 Acevedo. James ABO i :

   

Airway: General: Patent
Breathitig; Rate: Normal Quathty: Unlabored Lung Sounds: Left: Ciear Lung
Sounds; Right: Clear
Circulation: General: Norma! Skin Color: Normal Skin Temperature: Normal Skin
Condition: Normal
Skin Capiliary Refill: Normal
070733 Acevedn, James Neurological Mental Status: Normal
Neurological: All Neuro Normal
AYPU: Alen

 

03.02:27 Acevedo, James -Head To Toe Head and Neck: Normal
Left Eye: PERRL
Right Eye: PERRL
Neck: Normal

 

Vitats:
Time Employee Summary
02.49:27 Acevedo, James EP; Systolic Relused/ Diastolic Refused
Pulse: Refused
Resp: 18 Effort: Normal
Glasgow Coma Score: © {Unable to complete) + V (Unable to compigie) + M (Unable
to complete} = N/A - Adull

 

03:01:27 Acevedo, James BP: Systolic Refused/ Diastolic Refused
Pulse: Refused
Resp: 18 Effort; Norma!

Giasgow Coma Score: E (Unable to complete} + V (Unabie io complete} + M (Unable
to complete) = NIA - Adult

 

Treaiments/Medicatiqns:

Time Employee Summary

03:01:40 Acevedo, James Treaimeni- 1- 6LS Assessment
Attempts: | Success: Yes

Response: Unchanged Complication: None Authorization Type: Protocol
Level: BLS

Supply
Qty Supply

 

 

 

Printed on 7/8/21 7:39 AM Page 19
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 157 of 291

iN HHC HEALTH INFO MGMT Patient:Elbey, Prinyah Godiah
EALTH 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Acct #: 201306244

Admit: 1/9/2020, Discharge: 1/9/2020

1/9/2020 2:35 AM FROM: Physto-Controt TO: #12125626138 =P. 3

ECG Device incident Mumnber:

 

PowarFialds:
PowerField Value
CC /PIYMO}- Provider Impression - Primary impression ~ Did cali type match Yes

presenting problem?

Narrative History Text:

PT 26 year old female found handculfed in police custady alter a she bagan kicking police white in elevator being gjected [rom train
slation. pt. refused all vitals transport fo hosp. if 02 for evaluation monitor enroute.

Unable to Sign:

Unabie to Sign Reason: Physically incapable

Authorized Representative: No aulhorized representative is available or willing

Authorized Representative Signature: No

Secondary Documentation: Unable to obtain secondary documentation

Secondary Documentation Signature: No

Comment:

Aulh Signalure: No Privacy Sig: No Unable to Sign: Yes Refused to Sign: No

 

 

 

 

Signature Imagelsh:
Autorzation Sigaature Pavaty Nolice Signalure
Recawing AN ? MD Signature - ,esica poster - 0108/2020 03:17 Technician Signature - Acevedo, James - 0109/2020 03:28

 

[HN og “Arse” is an UNACCEPTABLE nniry, Crew members MUST document the
Finos Nuise’s FULL NAME"

ao 7 4
elas ee a no

 

 

 

 

 

 

   

Scan on 1/9/2020 0343 by Sophia lanthea Porter: UNABLE (below)

 

Printed on 7/8/21 7:39 AM Page 20
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 158 of 291

a HHCG HEALTH INFO MGMT Patient:Elbey, Prinyan Godiah
HEALTH 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Acct #: 201306244

Admit: 1/9/2020, Discharae: 1/9/2020

 

 

eau. | Bellevue

 

ADVANCE DIRECTIVES

Advance directives are defined as written or oral instructions concerning the provision of health care
« wherra patient no jonger has the capacity to make such decisions,

There are four (4)-types of ‘Advance Directives:
1. Health Care Proxy Appointing @ person who would make health care decisions for the patient
when the patient cannot: make! dacisions for hirn/herself. : _
2. Psychiatric Advance Directive Advance instructions on how you want to be treated when’ you
fave a mental health erists ar are hospitalized. .
3. Living Will ‘Advance instructions provided by the patient about their future course of medical
treatment-when they. no fonger have the capacity to make such decisions.
4, DNR (Do Not Resuscitate) Advance instructions by the patient stating that he/she refuses to be
brought back to life In the case that their vital organ system fails.

Madical Health Care Proxy forms are available In the Patient Advocacy Office, GD-90 or on the internet
at: .

http://www. healthistate:ny.us/home.html :
Click ‘info for Consumers’ and then select ‘Health Care Proxy’ fram the (ist.

 

Mare information and forms concerning Planning far your Menta! and Physical Health Care and
Treatment can be found an the internét at: www.nyaprs.org

 

 

Printed on 7/8/21 7:39 AM Page 21
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 159 of 291

 

HHG HEALTH INFO MGMT Patient‘Elbey, Prinyah Godiah
HEALTH + 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Acct #: 201306244

Admit: 1/9/2020, Discharge: 1/9/2020

 

Eas JANCE DIREC

YS + -_ | | |

Hoseimais | Bellevue {_ CLaRMONTS pues Ea
CSN:

. 6 yr F ;

We ore required by law ta ask you the following questions: RN Me oon) “
‘Adm Date: 1/9/2020

Do you need an interpreter? [ |ves A NO

roof VES, dnterpreter sign below lene

 

~~ “Language” , . mo -

iD Number ee Used Eng :

1. Have you completed a Medical Health Care Proxy? (Designated someone who can make health care decisions if you
are not able) if: [_}yes [ ] Noa

 

   
    

Interpreter

 

Telephone

Name of Health Care Proxy/Agent Number: °

 

2. Have you camaleted a Psychiatric Advance Care Directive? (it states your choice on how you want to be treated when
you have a menta} health crisis or hospitalization} |F: | YES, GO TO #3 t | NO, GO TO #4

3. Do you have a copy of this form with you? [4 YES (Copy for Chart} | NG, GO TO #4 LI Capies in Chart

4, if you have not completed your Medical or Psychiatric Advance Directive, or: you do not have a copy, would you ike
ta campiete one?

a} Medica! Heaith Care Proxy[ | YES (fax to 3366) [| NO 5) Paya Advance Directive tT] Yes {Receive
information) | No

5. Would-you like to have a discussion to learn more about Medical Health Cara Proxy?

[ ] YES {fax to 3366) F] NO

6. Would you like to have a discussion to fearn more about Psychiattic Advance Directives?
| Yes (Direct to CPEP social worker) | No

he

     

.“facknowledge receipt of the booklet Your Rights as a Hospital‘Patient I New York State prepared by the New York
State Department of Heaith, and GFADVANCE DIRECTIVES education.” ”

Patient’s Signature Pr Unable Date | (4 | tDeO

 

 

 

 

 

 

OR
Signature of Patient’s Relationship
Representative to Patient :
Hospital Staff Cle
Representative Date _1i4 { tmZo ’
* STATE REASON ve onar./ Ag rated
REFERRED TO PATIENT ADVOCACY Date time
FOR THE FOLLOWING: . . fox to 3366
[J Patient wants additional information [ } Patient wishes to complete Health Care Proxy

[| Education not possible (Patient unresponsive, Trauma, OR} | Living Will

Advacate’s Signature

 

Ravisad 3/14

 

Printed on 7/8/21 7:39 AM Page 22
 

HOSPITALS

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 160 of 291

160 Water St

Bellevue new vor ny 10041

HEALTH?

HHC HEALTH INFO MGMT = sPatient:Elbey, Prinyah Godiah

MRN: 3726120, DOB: 4/18/1993, Sex: F
Acct #: 201306244
Admit: 1/9/2020, Discharge: 1/9/2020

Document on 1/9/2020 1534 by Dawa Lhame Dadak, RN: Visit Summary - Emergency Department (below)

AFTER VISIT SUMMARY

EI- -~Bey Clermontine Man: 4040258

instructions

Your medications have changed

G START taking:
ibuprofen (ADVIL, MOTRIN}

Review your updated Medicatian jist below,

am Pick Up these medications at Bellevue Hospital
Center Pharmacy - New York, NY - 462 Ist Ave.
ibuprofen

Address: 462 Ist Ave. New York NY 10016
Phone. 212-562-2289

Oo Ambulatory Referral t to Med Primary Care (MPC)
fev] Scheduled for 1/30/2020
Expires: 7/7/2020 (requested)

What's Next

JAN Follow Up Visit
30 Thursday January 30 1:20 PM
2020 Ambutatory Care Building: 2nd Floar

Bellevue Primary Care
462 Ist Ave

New York NY 10016
844-692-4692

Arrive at. AMB Care:
Area 2C

General Emergency Department
Discharge Instructions

We appreciate that you chase us as your healthcare provider.

This form provides you with information about the care you received in
aur Emergency Department and instructions abaut caring for yourself
after you leave the Emergency Department, If you have further
questians concerning this visit please call us at the included phone
number above on this form. Please keep this form and bring it with you
should you need additional treatment. if your symptoms become worse
or you are not improving as expected and you are unable to reach your
usual health care provider, or get to your follow-up appaintment, you
should return to the Emergency Department immediately. We are
available 24 hours a day.

El-Bey Clermontine (MRN: 4040258) + Printed at 1/9/20 3:34 PM

nye
HEALTH +
HOSPITALS

Bellevue

M3 1/9/2020 @ Bellevue ED ADULT 212-562-4141

Today's Visit

You were seen by Allon Mordel, MD and
WILLIAM PLOWE, MD

Reason for Visit

Bilateral wrist pain

Diagnosis

Pain in both wrists

@) imaging Tests
DX Wrist Comp Left
DX Wrist Comp Right
ECG 12 Lead

& Medications Given

acetaminophen (YLENOL) last given
at 4:55 AM

HYDROcodone-acetaminophen
(NORCO} fast given at 10;00 AM

ibuprafen (ADVIL, MOTRIN) last given
at 6:27 AM

ketoralac (TORADOL) last given at
10:60 AM

am hi “CHART
With MyChart, you can... Message your
doctor.. Request refills... See test results...
See your visit summaries and upcoming
appointments and much much more...

To sign up go to http://
mychart.nycheakthandhospitais.org,
click "Sign Up Now”, and enter personal
activation code: XK2SJ-97Z55

Expires: 4/8/2020 3:34 PM.

Additionai Information:

if you have questions, you can ga to
https://epicemychart.nychhc.org/help
to contact our MyChart staff. Remember,
for emergencias, always call 947 - do not
use MyChart.

Page lof4 Epic

 

Printed on 7/8/21 7:39 AM

Page 23
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 161 of 291

Aer HHG HEALTH INFO MGMT PatientiElbey, Prinyah Godiah
HEALTH? 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Acct #: 201306244

Admit: 1/9/2020, Discharge: 1/9/2020

General Emergency Department Discharge instructions (continuec)

ft is important that you keep appointments that may have been scheduled, If you are unable to make an appointment,
please cail the corresponding clinic to reschedule your appointment.

Instructions
& Your medications have changed

& START taking:
ibuprofen (ADVIL, MOTRIN}

Review your updated medication list below.

Home Medication Information

The list of your home medications is based on the information provided by you (or your representative) during your
Emergency Department visit, and/or the information contained in your medical record. In addition, some of your home

medications may have been changed by the Emergency Department provider who evaluated you. These changes may
include:

» New medications

+ Changes to the amount or how often you take a medication

- Discontinuation of a medication .
Piease review the Information below carefully. Continue all your current medications as you are presently taking,
with the exception of the feilowing changes below, If you have questions about any of the medications or the

changes, please contact your Primary Care Physician, the Provider who prescribed the medication, or your
Pharmacist.

El-Bey Clermontine (MRN: 4040258) + Printed at 1/9/20 3:34 PM Page 2 of4 Eiko

 

Printed on 7/8/21 7:39 AM Page 24
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 162 of 291

ary HHC HEALTH INFO MGMT Patient:Elbey, Prinyah Godiah
HEALTH 460 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Accl #: 201306244

Admit: 4/9/2020, Discharge: 1/9/2020

Changes to Your Medication List
START taking these medications

 

ou ibuprofen 400 MG tablet Take 7 tablet (400 mg total) by mouth every 6 (six)
“A Commonly known as: ADVIL, MOTRIN hours as needed for pain for up to 7 days. Take with
food.

Your Treatment Plan

The treatment you have received during your visit was provided on an emergency basis only and is not meant to be a
Tteplacement for engoing medical care. The information provided in these discharge instructions, including follow up
information, should be followed in order to ensure proper treatment of your condition.

Thank you for being a patient at BELLEVUE ED ADULT today. If your prescription was sent to the internal haspital
pharmacy, please keep this paper for your records and provide to the pharmacist when you arrive. Thank you again!
Patient EMP: 100464818 - Far Internal Pharmacy Use Only

HT

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eT

10100464818

 

 

 

El-Bey Clermontine (MRN: 4040258) + Printed at 1/9/20 3:34 PM Page 3074 Binic

 

Printed on 7/8/21 7:39 AM Page 25
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 163 of 291

apye: HHG HEALTH INFO MGMT ~sPatient:Elbey, Prinyah Godiah
HEALTH + 160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS Bellevue New York NY 10041 Acct #: 201306244

Admit, 1/9/2020, Discharge: 1/9/2020

Acknowledgement of Discharge Instructions

* Lunderstand the treatment received during this visit was provided on an emergency basis only and is not meant to
be a replacement for ongoing madical care. | also understand the information provided in these discharge
instructions, including follow up information, should be followed in order to ensure proper ongoing treatment of
my complaint/diagosis.

+ Amember of the Emergency Department staff has reviewed the discharge instructions provided to me and has
answered any questions { may have had regarding these instructions.

 

Patient/Representative Signature

 

Relationship to Patient

 

 

 

Date Time
Witness
Date Time

El-Bey Clermontine

CSN: 33247024

DOB: 4/18/1993
female

MRN: 4040258

Adm Date: 1/9/2026 “yA

  
 
 

F-Bey Clermontine (MBN; 4040258) + Printed at 1/9/20 3:34 PM Page 4of4 joie

 

Printed on 7/8/21 7:39 AM

Page 26
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 164 of 291

ay HHC HEALTH INFO MGMT = Patient:Elbey, Prinyah Godiah
HEALTH + 4160 Water St MRN: 3726120, DOB: 4/18/1993, Sex: F
HOSPITALS B ellevue New York NY 10041 Acct #: 201306244

Admit: 1/9/2020, Discharge: 1/9/2026
END OF REPORT

Printed on 7/8/21 7:39 AM Page 27
   
    
     
  
  
      
  
   

 

Case 1:20-cv-00

 

mbutatory Referral t to Med Primary care

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What's Next.

, lewue Primary Care
an Follow Up Visi Bellevue
: 462 1st Ave

BO Yrursday Jonuary 30 4720 PM 2 st 40

OR ¢ a1
2020 Ambulataty fare Guilding: 2nd Floor pa 695-4692 gots
, Arrive at: AMB Care:
Area 2C

General Emergency Department

Discharge. fostr eine ns

ss WCE panatths yf

 
   

 

 

S forrry cand bing it with lt
PF. eng SG ree. iniproving ni eon ee ae cpatle eee fu

2 ahd you a
- wesise! Aealth Care. provider, or get te ¥our te ee eee reach on
sheules retin to, the. nerger

Pais able: 24 AC LPs 2 aa

 

   

 

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3 Lp appointinent, On
fagr ty erst Immediately: Wie are.

  

 

 

‘sae 288) o

   

 

see

 

& Medications Given

acetaminophen CRYLENOL) } i
atch BS Avi

HYDROcodene- -acetant inophen
(NORCO; tase given at 409 An
ibuprofen iady: L, mot BINY

ay otf

eae

ketorolac TORAROL: bast
10:00. & MM

  
 

st given

 

 

 

 

 

   

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with MyChart, you can. “viessage } yo
doctor... Request refit

   

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“Sand anus versonal

ion Code: RK26 97 E51
Expires A1B 12020 BBA PM

 
  
     
   
Wyou have
he Provider

 
Case

 

 

 

 

 
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 168 of 291

United Nations A/HRC/EMRIP/2021/2 General Assembly
Affidavit: Notice Grievances International Courts

Against New York City

for violations of the Internationals Laws,
Indigenous Tribal Treaties

&

U.N. Indigenous Laws, etal, .
Human Rights Council
Expert Mechanism on the Rights of indigenous Peoples
Fourteenth session
12-16 July 2021
Agenda item 8
Efforts to implement

the United Nations Declaration on the Rights of Indigenous Peoples

Efforts to implement the United Nations Declaration on the Rights of Indig

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Peoples: indigenous peoples and the right to self-determination

Draft report of the Expert Mechanism on the Rights of Indigenous Peoples

Grievance Against the State Of New York,
United State of America:

AMERICAN DECLARATION ON THE RIGHTS OF INDIGENOUS
PEOPLES &

THE UNITED STATES SUPREME COURT.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 169 of 291

government are to be held to the most stringent “fiduciary” (trust) standards. With
respect to Salmon, it cannot be said that federal agencies have aiways met their

trust responsibilities.

Please note this Notice Grievance against the wrong-doing & the refusal of giving me
true-justice and refused to file Criminal Crimes against an MTA Police Officer by the

name if Lyland C. Crocilla & his partners in Crimes,

e Notice and lawsuit was mai! to fourteen-different international Countries who | had
been in communications with, after they received information’s, documents and
details about this Brutal Abuse case that | have been dealt with the City Of New
York is protecting the white police officer whom had attacking me, still to this days |
do not know why?

e {will file this case also in Supreme Court for True-Justice because | want Criminal
Charges to be against those officer and if Supreme Court refused | will move
forward and give special permissions to those courts to do what | need they need
to do to bring this case under their Jurisdictions under the Indigenous Human
Right’s, International! Humans Rights and U.S. Treaties with Tribal that the State
and City of New York refused to honors its owns laws, edicts, legalese, rules and
regulations along with the Constitutions and other several other laws that have
been breach/broken and that are still being broken by New York City those high in
Power.

* Please see Court Documents attach with this Affidavit, there will be fifteen of this
affidavit of Grievance’s will be mailed out and file with both Internationals Courts
and, The United States Federal Court & The United States Supreme Court.

 

a, On tt ge cay of Sep bean fae 20 2b .
n this ! “Bay

Belore me came L2-Ps owe Gedliab. Adu. EA ALR yan ft
to me known to be the individual described in and
wito executed the foregoing instrument and

in SF ee that he/she gxe Ce the same
ow eect
fo roe Coy
74
!

wor NY ALGOZZINE
NOTARY PUBIC STATE OF NEW YORK
No. 01416394008

QUALIFIED IN DUTCHESS COUNTY...
MAY COMMISSION EXPIRES 244) 26.223

 
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 170 of 291

Dear Members:

e Member of UN General Assembly
e Of American Declaration of the Rights of Indigenous People
e Court of Justice of The European Union (CJEU)
e United Nations High Commissioner of Human Rights (OHCHR)
« France Defenseur Des Drois
e International Courts

e Supreme Court of United States of America

 

> Under Article 9 of the International Convention Elimination of All

Forms of Racial Discrimination.
Under the American Declaration on The Rights of Indigenous People;

« Articie Vill. Right to belong to the indigenous people’s Indigenous persons and
communities have the right to belong to one or more indigenous peoples, in
accordance with the identity, traditions, customs, and systems of belonging of each

any Kind may arise from the exerci

¢ Article IX. Juridical personality the states shall recognize fully the juridical
personality of the indigenous peoples, respecting indigenous forms of organization
and promoting the full exercise of the rights recognized in this Deciaration.

¢ Article Xil. Guarantees against racism, racial discrimination, xenophobia, and
other related forms of intoierance indigenous peoples have the right not to be
subject to racism, racial discrimination, xenophobia, and other related forms of
intolerance. The states shall adopt the preventive and corrective measures
necessary for the full and effective protection of this right.

e Article XIH. Right to cultural! identity and integrity 1. Indigenous peoples have the
right to their own cultural identity and integrity and to their cultural heritage, both
tangible and intangible, including historic and ancestral heritage; and to the

protection, preservation, maintenance, and development of that cultura! heritage
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 171 of 291

for their collective continuity and that of their members and so as to transmit that
heritage to future generations. 2. States shall provide redress through effective
mechanisms, which may include restitution, developed in conjunction with
indigenous peoples, with respect to their cultural, intellectual, religious and spiritual!
property taken without their free, prior and informed consent or in violation of their
laws, traditions and customs.
Article XX. Rights of association, assembly, and freedom of expression and
thought 1. Indigenous peoples have the rights of association, assembly,
organization and expression, and to exercise them without interference and in
accordance with their worldview, inter alia, values, usages, customs, ancestral
traditions, beliefs, spirituality, and other cultural practices. 2. Indigenous peoples
have the right to assemble on their sacred and ceremoniai sites and areas. For this
purpose, they shall have free access and use to these sites and areas. 3.
Indigenous peoples, in particular those who are divided by international borders,
shall have the right to travel and to maintain and develop contacts, relations, and
direct cooperation, including activities for spiritual, cultural, political, economic, and
social purposes, with their members and other peoples. 4. These states shail
adopt, in consultation and cooperation with the indigenous peoples, effective
measures to ensure the exercise and application of these rights.
2. States shail consult and cooperate in good faith with the indigenous peoples
concerned through their own representative institutions in order to obtain their free,
prior and informed consent before adopting and implementing legislative or
administrative measures that may affect them
Article XXIV. Treaties, agreements, and other constructive arrangements
1. Indigenous peoples have the right to the recognition, observance, and
enforcement of the treaties, agreements and other constructive arrangements
concluded with states and their successors, in accordance with their true spirit
and intent in good faith and to have the same be respected and honored by the
States. States shall give due consideration to the understanding of the
indigenous peoples as regards to treaties, agreements and other constructive

arrangements.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 172 of 291

2. When disputes cannot be resolved between the parties in relation to such
treaties, agreements and other constructive arrangements, these shall be
submitted to competent bodies, including regional and international bodies, by
the States or indigenous peoples concerned.

e Article XXX. Right to peace, security, and protection 1. Indigenous peoples have
the right to peace and security.

e Article XXXI 1. The states shail ensure the full enjoyment of the civil, political,
economic, socia!, and cultural rights of indigenous peoples, as well as their right to
maintain their cultural identity, spiritual and religious traditions, worldview, values
and the protection of their religious and cultural sites, and human rights contained
in this Declaration.

e The states shall promote, with the full and effective participation of the indigenous
peoples, the adoption of the legislative and other measures that may be necessary
to give effect to the rights included in this Declaration.

e Article XXXII All the rights and freedoms recognized in the present Declaration are
guaranteed equally to indigenous women and men.

e Article XXXill Indigenous peoples and persons have the right to effective and
appropriate remedies, including prompt judicial remedies, for the reparation of all
violations of their collective and individual rights. The states, with full and effective
participation of indigenous peoples, shail provide the necessary mechanisms for
the exercise of this right.

« Article XXXVIII the Organization of American States, its organs, agencies, and
entities, shail take all necessary measures to promote the full respect, protection,
and application of the rights of indigenous peoples contained in this Declaration
and shall endeavor to ensure their efficacy.

e As Tribal person; Tribes have a unique status in the American system of
government. They are neither foreign nations, nor exactly like states. Tribes are
distinct political communities, defined in law as “domestic, dependent nations.” In
its 1832 Cherokee Nation v. Georgia decision, the Supreme Court described the
obligation of the United States to tribes as that of a guardian to his wards.

Subsequent court decisions have made it clear that the agencies of the Federal
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 173 of 291

The mayor Office
Attention: Bil! De Biasio
City Hall, NYC 10017

 

Civilians Complaint Review Board
100 Church Street, 10 Floor
New York, NY 10007

New York City
City of New York, Attn: Corporation Counsel,
100 Church St., 5 Fi., New York, NY 10007

Department of Investigation
180 Maiden Lane, 16" Floor
New York, NY 10038

New York City Department of Health
Elizabeth F. Whalen, MD, MPH, Commissioner
Please forward to iegai/right dept.

175 Green Street Albany, NY 12202Phone
(518) 447-4580F ax (518) 447-4698

New York New York Secretary of State
123 William Street
New York, New York, 10038
212-417-5800
The National Police Accountability project
499 Fashion Av, NYC 10018
Bureau & Unit District Attorney Office in Manhattan

One Hogan Place, NYC 10013

QSCME
| - } C) (LAD US) Oy 9 (SCL
Wn tou d ums ‘gt 7% OS

 
END

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 174 of 291

District Attorney/Public Corruption Unit
Civil Right Division:
Attention Chief Civil Rights Unit
86 Chambers Street 3% Floor, NYC 10007

 

Police Accountability Unit
Attention National Police Accountability Unit

499 Fashion Ave, NYC 10018

 

Department of Justice (DOJ)
United States Department of Justice
950 Pennsyivania Av, NW
Washington, Dc 20530-0001

 

District Attorney, Public Corruption Unit
Civil Division Attention Chief Civil Rights Unit
86 Chambers Street 3% Floor
NYC 10017

 

Police Accountability Unit
Attention: The National Police Accountability

99 Fashion Av, NYC 10018

 

Office of Internal Affairs

Office of Internal Affairs
Attention Deputy Commissioner of Internal Affairs
P.O. Box 10001, NYC 10014
(212)741-8401

Word:
 

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 175 of 291

BELLEVUE HOSPITAL
Attention Legal Department @ BELLEVUE HOSPITAL:
462 First Avenue, New York, NY 10016

 

Dr. Porter @ Bellevue Hospital
462 First Avenue, NY 10016
Jessica Bonnie Poster, MD @Bellevue Hospital
462 First Ave NYC 10016
Aiden Rose Shapiro, MD/ED Supervisory @Bellevue Hospital
462 First Ave, NYC 10016
Amy A. Costa Social Worker @Bellevue Hospital
462 First Avenue, NYC 10016
Marina Rosa Gabaga RN @ Bellevue Hospital
462 First Av, NYC 10016
Audia Williams RN @Bellevue Hospital
462 First Ave, NYC 10016
William Plowe, MD @ Believue Hospital
462 First Av, NYC 10016
Shawnmarie Jackson, NP @ Bellevue Hospital
462 First Ave, NYC 10016
Marina Dela Rosa Gabaya RN @ Bellevue Hospital
462 First Ave, NYC10016
Kyle Pastenac, MD @ Bellevue Hospita!
462 First Av, NYC 10016
Dawa Lhamo Dadak, RN-
462 First Av, NYC 10016
Case 1:20-cv-00524-LTS-GWG

incident Report

Document 38

M.T.A. POLICE DEPARTMENT

420 LEXINGTON AVENUE
SUITE 425

NEW YORK, NY 10170
(212) 878-1000

Reported Date
01/09/2020
Nature of Cali
ATEDPN

Officer

Filed 09/09/21 Page 176 of 291

Supplement No
ORIG

20-595

CROCILLA , LEYLAND

 
 

    

Agency Case No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    
  

 

6614

  

   
 

Supplement No | Reported Date Reported Time all No
M.T.A. POLICE DEPARTMENT 20-595 ORTG 01/09/2020 03:33 | 200090056
Status Nature of Cal!
AIDED REMOVED TO HOSPITAL AIDED~EDP-N
Location City Rep Dist County
W 34TH ST/7TH AV MANHATTAN MPSTO2 | MANHATTAN
Beat From Date From Time To Date To Time
NA 01/09/2020 02:41 | 01/09/2020 02:41
Officer Assignment 2nd Officer
C86673/CROCILLA, LEYLAND PATROL OFFICER MICHELS , DOUGLAS
Entered by Assignment RMS Transfer Property? | Transit ID Org Nature of Call
€86673 | PATROL OFFICER Successful {None | NONE ATEDPN
CTV Approving Officer Approval Date

   

   
  
 
  

Approval Time

    

  

  

 

 

 

 

 

 

 

 

 

 

    

 

Patrol pick up: male/EDP in
Hospita! along with a police escort.

 

Invi Ne Name MMI DOB
AID /1 I EL BEY,PRINYAH GODIAH 844508 B F 04/18/1993
Tnvi inv No Type Name MNI Race Sex BCS
EMS {1 G WARD 844509
Inv Invi Na Type Name MNI Race Sex DOB
MED ;1 I DR PORTER 844510
invl 3nvi No Type Narmne MNI Race Sex BoB
MOS i1 G PO MICHELS
Invt Invi No Type Name MNi Race Sex DOB
MOS | 2 G PO CROCILLA
favl invi No Type Neme MINI Race Sex DOB
PSV il G SGT VOLLAS
Irivl Inv No Type Name MNI Race Sex DOB
2 LT CONA

Inv Type License No State Lic Year Year Make
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lent female removed to Bellevue

 

Report Officer
C86673/CROCILLA , LEYLAND

Printed At

 

10/14/2020 11:30

 

Page i of 3

 

Supervisor Signature

 

 

 

MTA-000007
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 177 of 291

   

       

 

 

 

 

 

 

 

 

 

 

 

x Supplement No
Incident Report 20-595 ORIG
M.T.A. POLICE DEPARTMENT

“Type : Name
AIDED |1 INDIVIDUAL EL BEY,PRINYAH GODIAH 844508 BLACK | FEMALE
DOR Age Juvenile?
04/18/1993 |26 No
Type Address City
HOME ADDRESS 40 ANN ST NEW YORK
State ZIP Code
NEW YORK ;10038
Type ID No
OPERATOR LICENSE/STATE ID CARD 16240839045608
Employer/School
NONE

 

Ni
VIOLENT EDP
Treatment

REMOVED TO BELLEVUE HOSP BY ED

 

 

EM ICE ESCORT

       

 

 

 

 

 

 

Involvement Seq Type Nama MNI
EMPLOYEE-SIRTOA 1 GOVERNMENT WARD 844509
Type ID'No

EMS/FIRE ID NUMBER (SHIELD-ETC) 2396

Emplayer/School Posilion'Grade

FDNY EMT

Involvement Seq Type Name

MEDICAL PERSONNEL/DOC'TOR 1 INDIVIDUAL DR PORTER

MAI

844510

Employer/School Position/Grade

BELLEVUE HOSPITAL DOCTOR

  
   

   

 

 

Involvement | : Name

MEMBER OF SERVICE-MTA GOVERNMENT PO MICHELS
Type iD No

PD SHIELD 4012

 

 

Position/Grade

P.O.

Employer/School
MTA POLICE DEPT

  
  

 

  

 

 

MEMBER OF SERVICE-MTA GOVERNMENT PO CROCILLA

  

 

 

 

Type ID No
PD SHIELD (| 2477
EmployerfSchool Position/Grade

   

MTA POLICE DEPT P.O

   

 

    

 

PATROL SUPERVISOR SGT VOLLAS

   
  

 

 

 

Type ID No
PD SHIELD 414
Eraployer/School Position/Grade

 

SERGEANT

 
   

 

MTA POLICE DEPT
@)

   
    

 

 

 

 

 

yp
GOVERNMENT LT CONA
Type ID No
PD SHIELD 63
Employer/School Position/Grade
MTA POLICE DEPT LIEUTENANT
Report Officer Printed At
C86673 /CROCILLA , LEYLAND 10/14/2020 11:30 Page 2 of 3

 

 

 

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MTA-000008
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 178 of 291

Incident Report 20-595 ORIG
M.T.A. POLICE DEPARTMENT

AMBULANCE - GENERAL AMBULANCE 2020 | AMBULANCE

Make
AMBULANCE - GENERAL

 

On January 9,2019 at approximately 0241 hours, undersigned officers observed a black female in a wheelchair
yelling and screaming for no apparent reason. The female/EDP stated " you white red neck cops are harassing
me, | pray to Allah that you get killed with a rifle, i'm gonna come back and kill you fags and | want an ambulance”,

Upon escorting the female/EDP up to the 34 Street entrance, the female EDP did pick up a cone and attempt to
throw it at undersigned officers. The female EDP did attemtp to scratch undersigned officers and did atternpt to
strike us with both her hands. The female/EDP was rear cuffed and escorted into the ambulance for transport
along with all of her property. The femaie/EDP was lodged at CPEP located at Bellevue Hospital for a psychiatric
evaluation.

 

Report Officer Printed At
C86673/CROCILLA, LEYLAND 10/14/2020 11:30 Page 3 of 3

 

 

 

Superviser Signature

 

 

 

MTA-000009
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 179 of 291

9/2/2021 OHCHR } Statement by UN High Commissioner for Human Rights Michelle Bachelet on guilty verdict in Gearge Floyd case

Go to navigation | Go to content dan! | Paz | English | Frangais | PycexmaA | Espafiol

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RUMAN RIGHTS WHERE WE HUMAN RIGHTS NEWS AND PUBLICATIONS AND

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HOME ABOUT US ISSUES BY COUNTRY WORK BODIES EVENTS RESOURCES

English » News and Events > DisplayNews

Statement by UN High Commissioner for Human Rights Michelle Bachelet on
guilty verdict in George Floyd case

https://www.ohchr.org/EN/NewsE vents/Pages/DisplayNews.aspx? News|D=27016&LangID=E

13
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 180 of 291

9/2/2021 OHCHR | Statement by UN High Commissioner for Human Rights Michelle Bachelet on guilty verdict in Gearge Floyd case

Geneva, 21 April 2021

“This is a momentous verdict. It is aiso a testament to the courage and perseverance of George Floyd’s
family and many others in calling for justice. As the jury recognised, the evidence in this case was
crystal clear. Any other result would have been a travesty of justice.

But for countless other victims of African descent and their families, in the United States and
throughout the world, the fight for justice goes on. The battle to get cases of excessive force or killings
by police before the courts, let alone win them, is far from over.

Impunity for crimes and human rights violations by law enforcement officers must end, and we need
to see robust measures to prevent further arbitrary kiilings. As we have painfully witnessed in recent
days and weeks, reforms to policing departments across the US continue to be insufficient to stop
people of African descent from being killed. It is time ta move on from talk of reform to truly
rethinking policing as currently practised in the US and elsewhere.

This case has also helped reveal, perhaps more clearly than ever before, how much remains to be
done to reverse the tide of systemic racism that permeates the lives of people of African descent, We
need to move to whoje-of-government and whole-of-society approaches that dismantle systemic
racism.

1 recognize that in the US important steps are being put in place with that end in mind. These efforts
must accelerate and expand, and must not be diluted when the public focus moves elsewhere.

Now is also the time to critically examine the context in which George Floyd’s killing took place by
revisiting the past, and examining its toxic traces in today’s society. The redesign of our future can
oniy be through the full and equal participation of pecple of African descent, and in ways which
transform their interactions with law enforcement, and, more broadly, in all aspects of their lives.

The entrenched legacy of discriminatory policies and systems, including the legacies of enslavement
and transatlantic trade and the impact of colonialism, must be decisively uprooted in order to achieve
raciaf justice and equality. If they are not, the verdict in this case will just be a passing moment when
the stars aligned for justice, rather than a true turning point.”

ENDS

The High Commissioner will present a report in June 2021, pursuant to UN Human Rights Council
resolution 43/1, that will include an agenda for transformative change to dismantle systemic racism
and police brutality against Africans and people of African descent, and to advance accountability and
redress for victims. Resolution 43/1 was adopted by the Human Rights Council in June 2020 following
the killing of George Floyd.

For more information and media requests, please contact:
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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 181 of 291

9/2/2024 OHCRR | Statement by UN High Commissioner for Human Rights Michelle Bachelet on guilty verdict in George Floyd case

   

 

 

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3/3
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 182 of 291

 

United Nations AMRC43/L..50
(( \) General Assembly Distr: Littod
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Original: English

 

Human Rights Council
Forty-third session

24 February—20 March 2020

Agenda ilem |

Organizational and procedura! matters

Burkina Fase,* Iran (Islamic Republic of)** and State of Palestine**: draft resolution

43/... The promotion and protection of the human rights and
fundamental freedoms of Africans and of people of African
descent against police brutality and other violations of human
rights

The Human Rights Council,

Reaffirming the purposes and principles of the Charter of the United Nations and the
Universal Declaration of Human Rights, which promote and encourage respect for human
rights and fundamental freedoms,

Recalling the International Covenant on Civil and Political Rights and the
International Convention on the Elimination of All Forms of Racial Discrimination and the
Convention against Torture and Other Cruel, Inhuman or Degrading Treatment or
Punishment, and bearing in mind the Vienna Declaration and Programme of Action,

Recalling also its previous resolutions on the comprehensive follow-up to the World
Conference against Racism, Racial Discrimination, Xenophobia and Related Intoicrance and
the effective implementation of the Durban Declaration and Programme of Action, and the
International Decade for People of African Descent as proclaimed by the Generai Assembly
in its resolution 68/237 of 23 December 2013,

Recalling further the General Assembly resolutions im this regard, in particular
Assembly resolution 73/262 of 22 December 2018, and the imperative need for their full and
effective implementation,

Alarmed at the resurgence of violence, racial hatred, hate speech, hate crimes, neo-
Nazism, neo-Fascism and violent nationalist ideolagies based on racial or national prejudice,
including the resurgence of racial superiority ideologies that incite hatred and violence
against Africans and people of African descent,

Recalling its resolution 7/34 of 28 March 2008, and all subsequent resolutions on the
mandate of the Special Rapporteur on contemporary forms of racism, racial discrimination,
xenophobia and related intolerance, including those of the Commission on Human Rights,

On behalf of the States Members of the United Nations that are members of the Group of Aftican
States.

** State nol a member of the Human Rights Council.

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 183 of 291

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Taking note of the historic resolution on racial discrimination in the United States of
America adopted at the first ordinary scssion of the Assembly of African Heads of State and
Government of the Organization of African Unity, held in Cairo from 17 to 24 July 1964,
and the statement made by the Chairperson of the African Union Commission following the
murder of George Floyd in the United States of America on 29 May 2020,

Recailing ihe statement made by the Inter-American Commission on Human Rights
on 8 June 2020 expressing its strong condemnation of the murder of George Floyd and
repudiating structural racism, the systemic violence against Afro-Americans, impunity and
the disproportionate use of police force,

Recalling also the Universal Declaration of Human Rights, which states that all
human beings are born free and equal in dignity and rights, and that everyone is entitied to
ali the rights and freedoms set forth in the Declaration, withont distinction af any kind, such
as race, colour or national origin,

Recognizing the critical rele played by law enforcement personnel in realizing a safer
world, and stressing the essential need to build trust with the public they serve,

Encouraging States to look into their manuals and guidelines used for training law
enforcement personnel with a view to identifying the proportionality of measures in the
handling of suspects and other persons in custody,

Reaffirming the importance of the Durban Declaration and Programme of Action in
advancing racial equality, ensuring equal opportunities for all, guarantecing equality before
the law and promoting social, economic and political inclusion without distinctions based on
race, age, sex, disability, descent, nationa! or ethnic origin, religion or economic or other
status,

Welcoming all statements made by the special procedures regarding the killing of
George Floyd, and in particular their joint statement of $ June 2020, and the statement made
by the United Nations High Commissioner for Human Rights on 3 June 2020,

l. Strongly condemns the continuing racially discriminatory and violent practices
petpetrated by law enforcement agencies against Africans and people of African descent, and
the structural racism endemic 1o the criminal justice systein in the United States of America
and other parts of the world recently affected;

2. Expresses alarm at the recent incidents of police brutality against peaceful
demonstrators defending the rights of Africans and of people of African descent;

3, Decides to establish an independent international commission of inquiry, to be
appointed by the President of the Human Rights Council, to establish the facts and
circunistances relating to the systemic racism, alleged violations of international human
rights law and abuses against Africans and people of African descent in the United States of
America and other parts of the world recently affected by law enforcement agencies,
especially those incidents that resulted in the deaths of Africans and of poopie of African
descent, with a vicw to bringing perpetrators to justice;

4. Requesis the commisston of inquiry to examine federal, state and local
government responses to peaceful protests, including the alleged use of excessive force
against protesters, bystanders and journalists;

5. Calis upon the Government of the United States of America and other parts of
the world recently affected, and all relevant parties to cooperate fully with the commission
ef inquiry, and to facilitate its access, requests the cooperation of other relevant United
Nations bodies with the commission of inquiry ta carry out its mission, and requests the
assistance of the United Nations High Commissioner for Human Rights in this regard,
including in the provision of all administrative, technical and logistical assistance required to
enable the commission of inquiry to fulfil its mandate promptly and efficiently;

G. Requests the commission of inquiry to provide an oral update to the Human
Rights Council at its forty-fifth and forty-sixth sessions, and to present a final report to the
Council at its forty-seventh session;
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 184 of 291

A/HRC/43/1..50

 

7, Alisa requests the commission of inquiry to remain seized of the situation of
Africans and people of African descent, and to bring cases of racial discrimination and
violence against them to the attention of the Human Rights Council;

8. Requests tbe High Commissioner to include updates on police brutality against
Africans and people of African descent in the United States of America and other parts of the
world recently affected in all future oral updates to the Council.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 185 of 291

9/2/2024 Court of Justice of the European Union (CJEU} { European Union

  
 

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Court of Justice of the European Union (CJEU)

Overview

Role: Ensuring EU law is interpreted and applied the same in every EU country; ensuring countries and EU institutions
abide by EU law.

Members:
+ Court of Justice: 4 judge from each EU country, plus 11 advocates general

+ General Court: 2 judges from each EU country
Established in: 1952
Location: Luxembourg

Website: Court of Justice of the European Union (CJEU)

The Court of Justice of the European Union (CJEU) interprets EU law to make sure it is applied in the same way in all EU countries, and settles
legai disputes between national governments and EU institutions.

It can also, in certain circumstances, be used by individuals, companies or organisations to take action against an EU institution, if they feel it

has somehow infringed their rights.

What does the CJEU do?

The CJEU gives rulings on cases brought before it. The most common types of case are:

+

interpreting the law (preliminary rulings) — national courts of EU countries are required to ensure EU law is properly applied, but courts in
different countries might interpret it differently. If a national court is in doubt about the interpretation or validity of an EU Jaw, it can ask the Court
for clarification. The same mechanism can be used to determine whether a national law or practice is compatible with EU law.

enforcing the law (infringement proceedings) — this type of case is taken against a national government for failing to comply with EU law, Can
be started by the European Commission or another EU country. if the country is found to be at fault, it must put things right at once, or risk a
second case being brought, which may result in a fine.

annulling EU legal acts (actions for annulment) — if an EU act is believed to violate EU treaties or fundamental rights, the Court can be asked
to annul it— by an EU government, the Council of the EU, the European Commission or {in some cases} the European Parliament,
Private individuals can also ask the Court to annul an EU act that directly concerns them.

ensuring the EU takes action (actions for failure to act) — the Parliament, Council and Commission must make certain decisions under
certain circumstances. If they don't, EU governments, other EU institutions or (under certain conditions) individuals or campanies can compiain
to the Court.

sanctioning EU institutions (actions for damages} — any person or company who has had their interests harmed as a result of the action or
inaction of the EU or ifs staff can take action against them through the Court.

Composition

The CJEU is divided into 2 courts:

Court of Justice — deals with requests for preliminary rulings from national courts, certain actions for annulment and appeals.

https ://europa.eu/eurepean-union/about-eu/institutions-bodies/courtjustice_en Va
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 186 of 291

9/2/2021 Court of Justice of the European Union {CJEU) | European Union

« General Gourt — rules on actions for annulment brought by individuals, companies and, in some cases, EU governments. In practice, this
means that this court deals mainly with competition jaw, State aid, trade, agriculture, trade marks,

Each judge and advocate general is appointed for a renewable 6-year term, jointly by national governments. In each Court, the judges select a
President who serves a renewable term of 3 years.

How does the CJEU work?

In the Court of Justice, each case is assigned 1 judge (the "judge-rapporteur") and 4 advocate general. Cases are processed in 2 stages:

+ Written stage

o The parties give written statements to the Court - and observations can also be submitted by national authorities, EU institutions and
sometimes private individuals.

© All of this is summarised by the judge-rapporteur and then discussed at the Court's general meeting, which decides:

» How many judges will deal with the case: 3, 5 or 15 judges (the whole Court), depending on the importance and complexity of the
case. Most cases are dealt with by 5 judges, and it is very rare for the whole Court to hear the case.

» Whether a hearing {oral stage} needs to be held and whether an official opinion from the advocate general is necessary.

* Oral stage — a public hearing

© Lawyers from both sides can put their case to the judges and advocate generai, who can question them.
e if the Court has decided an Opinion of the advocate general is necessary, this is given some weeks after the hearing.
© The judges then deliberate and give their verdict.

« General Court procedure is similar, except that most cases are heard by 3 judges and there are no advocates general.

The CJEU and you

If you — as a private individual or as a company — have suffered damage as a result of action or inaction by an EU institution or its staff, you can
take action against them in the Court, in one of 2 ways:

* indirectly through national courts (which may decide to refer the case to the Court of Justice)
+ directly before the Generaf Court — if a decision by an EU institution has affected you directly and individually.
if you feel thai the authorities in any country have infringed EU law, you must follow the official complaints procedure.

More on your legal rights

 

   

 

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 187 of 291

9/2/2021 Court of Justice of the European Union (CJEU} | European Union

  

 

3
Why does the Court of Justice of the EU Exist?

     

1/3

What has the Court of Justice done for me?

 

 

 

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 188 of 291

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Minimum size of group: 7 people (except for public hearings}
Individual visitors: Only for public hearings

Advance booking requirement: Groups: 6 months (except for public hearings). individual visitors: 15
minutes prior to public hearing

Minimum age of visitors: 18 years old

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 189 of 291

9/2/2021 OHCHR | Contact us

Goto avigation | Go to content Gull | AM | English | teangais | Pyeckuit | Espariol

a

   

 

 

HOME ISSUES HUMAN RIGHTS WHERE WE HUMAN RIGHTS NEWS AND PUBLICATIONS AND
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Mission statement

Brief history

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guidelines set out below, Otherwise it may not be possible te respond to
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World Conference on Human
Rights, Vienna, 1993

World Conference Against
Racism, South Africa, 2001

142
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 190 of 291

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https:/Awww.ohchrorg/EN/AboutUs/Pages/ContactUs.aspx al2
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 191 of 291

9/2/2021

Go to navigation | Go lo content

HOME

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4p | Pac | English | Frangais | Pyconum | Espariol

 

HUMAN RIGHTS
BY COUNTRY

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WORK

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BODIES

ISSUES

English > Countries > Latin America and Caribbean Regian > OHCHR — South America Regional Office

   

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by the CHR/HRC

Standing invitations to
Special Procedures

Regional Members of
the Human Rights
Council:

Argentina 2021
Bahamas 2021

Bolivia (Plurinationa! State
of} 2023

Braaii 2022
Cubs 2023
Mexico 2023
Uruguay 2021

Venezuela (Bolivarian
Republic of} 2022

Voluntary Pledges and
Commitments

 

2 UN Human
Rights Report
2020

OHCHR
Management
Plan 2018-
2021

Human Rights
in Action
(PDF)

 

A Handbook
for Civil
Society (PDF)

     

Profile

Established in 2009, the Regional Office for Seuth America (ROSA) is working with

State institutions, civil society organizations, regional and international organizations

and the UN in order to strengthen their capacities in promoting and protecting all
human rights. The Office currently establishes work agreements with governments
and other entities for the new planning period 2018-21 in seven countries, on
technica! assistance in legislation and policies, as well as training and capacity
buifiding in all thematic areas.

The Office deployed national Human Rights Advisors to support the UN Resident
Coordinators in all countries.

Type of engagement > Regional Office
. Year established ; 2009

Santiago de Chile (covering Argentina,

Field offices
’ Brazil, Chile, Ecuador, Paraguay, Peru,
and Uruguay)
Number of staff 24

: Annual budget needs : US$ 2,147,000

Achievements

* The Regional Office is increasingly being considered as a key reference, providing

technical assistance on the inclusion of human rights standards in laws and
policies to varied decision makers such as parliaments, governments and other
public institutions (the judiciary, public prosecutors, public defense offices,
NHRIs, NMPs), on a broad range of issues — e.g., indigenous people’s rights,
people deprived of freedom, use of force, rights of migrants, freedom of
assernbly and freedom of expression, and the human rights implications of the
COVID-19 pandemic, among others,

+ The Office has been developing more systematic monitoring activities on issues
such as police violence, in the context cf protests and sacia! conflicts as well as
in the context of enforcement of restrictions related to COVID-19; attacks on
human rights defenders; and the situation of people on the move.

* The Office has strengthened the relationship between the international human
rights mechanisms and States as well as civil society, Capacity-building efforts
dedicated to international standards have focused on different target groups -
the judiciary (Ecuador), public defense offices and legislators (Uruguay, Chile),
but also on human rights defenders and observers (Chile).

« The Office has emphasized its support to human rights defenders in varied
contexts (protests, defense of land and territory, etc.). Highlights included the
organization of a Regional Forum focused on the particular situation of

https://www-ohchrorg/EN/Countries/LAC Region/Pages/LatinAmericaSummary.aspx

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for South America

AW Dag Hammerskjold

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OHCHR { OHCHR - South America Regiona! Office

envirenmentai human rights defenders, their protection challenges and best
practices.

+ The Office has a leading role in promoting the business and human rights agenda

in the subregion, After the 2020 Regional Forum on Business and Human Rights,
the largest annual meeting in LAC on the subject, regional ownership was
developed and support for national action plans (NAP) and policies on the matter
was strengthened in Argentina, Brazil, Chile (first NAP was evaluated and the
process for its update was faunched), Peru (first NAP still being developed) and
Ecuador (process for its first NAP was launched).

In the COVID-19 context, the Office pioneered a regional engagement cf Nationa!
Preventive Mechanisms in their response ta the pandemic and built effective
networks with experts on the rights of persons deprived of their liberty. The
Office elaborated a document to promote the use of international human rights
standards by different institutions to reduce overcrowding in prisons during the
pandemic, aiming at the release of some groups of detainees, particularly on the
basis of their vulnerability (e.g., support to law and poticy changes in Peru,
Argentina and Brazil). The Office also engaged with relevant institutions in all
countries on the full inclusion of indigenous people in the health and
humanitarian response during the pandemic as well in the recovery plans.

Partners and Donors

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 192 of 291

 

Cotombia
Guatemala
Honduras
Mexico

 

Inter-American
Commission on Human
Rights

Inter-American Court of
Human Rights

Global Alliance of National
Human Rights Institutions

Note; OHCHR is not
responsible for the content
of external links.

Partners: RCs and UN Country Teams in seven countries, Inter American System of

 

Human Rights, Governments, Parliaments and Judiciary, national human rights
institutions, numerous civil society organizations and universities. Regional Offices

Donors: Spain, UPR Trust Fund, Multi-Donor Trust Fund (MDTF}. Country Offices

UN Human Rights Focus Areas

- Thematic pillars

Shifts

Spotlight populations

Human Rights Components
of Peace Missions
. Human Rights Advisors
Mechanisms: increasing implementation of the. uman Rights
international human rights mechanisms

: Technical Cooperation
outcomes

; Pragramme
Development: Integrating human rights in

: taht
sustainable development » National Human Rights

institutions
Accountability: Strengthening rule of law and

accountability for human rights violatians

Non-discrimination: Enhancing equality and
countering discrimination

Participation: Enhancing & protecting civic
space & people’s participation

 

Prevention
Civic space
Corruption

Inequalities

Indigenous populations

Human Rights Defenders

Young people participating in protests
Persons deprived of freedom

Persons with disabilities

People of the move

Women

Afro-descendants

LGBTI persons

Last reviewed: December 2020

https :/Avww. ohchr.org/EN/Countries/LACRegion/Pages/LatinAmericaSummary.aspx 23
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 193 of 291

4/2/2024 OHCHR | OHCHR — South America Regional Office

 

hitps:/Avww.ohchr.org/EN/Couniries/LACRegion/Pages/LatinAmericaSummary.aspx 3/3
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 194 of 291

9/2/2021

Go to navigatian | Go ta content

HOME ABOUT US

OHCHR | Our Work in the Field

‘oot | CY | English | Frangais | Pyeekmt | Espafct

a

 

HUMAN RIGHTS
BY COUNTRY

HUMAN RIGHTS NEWS AND PUBLICATIONS AND
BODIES EVENTS RESQURCES

ISSUES

 

English > Countries > Our Work in the Field

OHCHR in the World: making human rights a reality on the ground

Over the years, the Office of the High Commissioner for Human Rights (UN Human Rights) has increased its

 

Regional offices

presence in the fieid, reaching out more and more and giving a voice to the people who need it the most. The Country offices
Office's presences away from Headquarters are a strategic entry point for promoting and protecting human rights
at the country level; mainstreaming human rights, that is, integrating a human rights perspective into the work Human Rights Advisors

of United Nations Country Teams and United Nations peace missions; and helping strengthen national institutions

and civil society.

Human rights
components cof UN

There are a number of ways in which UN Human Rights field presences assist in efforts to make human rights a missions
reality; not only de they monitor the human rights situation in countries, but they also help build the capacity of
Member States and other duty-bearers to address human rights issues, The folowing are UN Human Rights field

presences:

  

« East Africa
* Southern Africa
«= West Africa

« Centrat Africa

+ Chad

* Guinea

+ Liberia

* Mauritania
* Wiger

* Sudan

+ Uganda

s Central African
Republic

» Democratic
Republic of the
Congo

 

OHCHR and NHRIs

   

Technical Cooperation
Programme

 

Regicnal Offices

 

Middle East and > Pacific + Central Asia * Central America Field Operations and
North Africa Technical Cooperation

Division (FOTCD}

All contacts are in

+ South-East Asia » Europe * South America

Geneva, Switzerland,

Africa Section

Regional HR Centres Tel. +41 22 928 9360

Centre for South- Middie East and North

West Asia and Africa Section

the Arab Region Tel. +41 22 917 9777

Country/Stand-alone Offices Asia Pacific Section

Tel. +41 22 928 9650

State of * Cambodia + Colombia

Palestine® Europe and Central Asia

alestine * OHCHR (Seoul) + Guatemala Section

syria + Honduras Email:

Tunisia * Mexico ecasection@ohchnorg

Yemen

Americas Section
Tel. +41 22 928 9248

Peace Missions Support
and Rapid Response

Human Rights Components of Peace Missions Section
Tel. +41 22 917 9220

Traq « Afghanistan * Kosovo** + Haiti

Libya

National Institutions and
Regional Mechanisms
Section

Tel. +41 22 928 9467

https://www.ohchr.org/EN/Countries/Pages/WorkinField.aspx v3
9/2/2021

Case 1:20-cv-00524-LTS-GWG

Guinea Bissau
Mali

Somalia
South Sudan

Sudan

* Jordan
Saudi Arabia

Burkina Faso
Burundi *
Guinea-Bissau

Kenya

Lesotho

Madagascar

Malawi

Niger

Nigeria

Rwanda

Zimbabwe

GHCHR | Our Work in the Field

Human Rights Advisors

* Bangiadesh
» Malaysia

+« Maldives

+ Mongolia

+ Nepal

+ Papua New
Guinea

+ Philippines
4 Sri Lanka

* Timor Leste

Belarus

Bosnia and
Herzegovina

Montenegro

Republic of
Moldova

Repubiic of North
Macedonia

Serbia

South Caucasus

Document 38 Filed 09/09/21

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Page 195 of 291

Coordinator Voluntary
Fund for Technical Co-
operation

Tel. +41 22 928 9287

 

United Nations
Peacekeeping

UN Department of
Political and
Peacekeeping Affairs

Argentina
Barbados
Belize
Bolivia
Brazil
Costa Rica

Dominican
Republic

Ecuador

El Salvador
Guyana
Jamaica
Paraguay
Peru

Trinidad and
Tobago

Uruguay

* Reference to the State of Palestine should be understood in compliance with UNGA resolution 67/19.
** Reference to Kosovo should be understood in full compliance with United Nations Security Councii resolution
1244 and without prejudice to the status of Kosovo,

18 Country /Stand-alone Offices

  

Cambodia.

7 in establishing country offices and stand-alone offices, UN Human Rights negotiates
with the host government a full mandate that includes both human rights protection
and promotion. In 2020, UN Human Rights had offices in Mexico, Guatemala,
Honduras, Colombia, Syria, State of Palestine, Tunisia, Yemen, Ukraine, Chad,
Guinea, Niger, Liberia, Sudan, Uganda, Mauritania, OHCHR Structure in Seoul,

Activities by country offices include monitoring, public reporting, provision of technical assistance, and the
monitoring and development of jong-term national capacities to address human rights issues.

12 Human Rights Components in UN Peace Missions

The Office is the lead United Nations entity for the protection and promotion of human
rights, but all UN actors have a role to play in protecting and promoting human rights
in their operations. In this respect, UN Hurnan Rights seeks to integrate human rights
in all components cf UN peace missions.

In 2020, UN Human Rights supported nearly 900 international and national human
rights officers and support staff in 12 Human Rights Components of UN peace

missions in Afghanistan, Central Africam Republic, the Democratic Republic of the
Congo, Guinea Bissau, Haiti, Iraq, Kosovo, Libya, Mali, Somalia, South Sudan and Sudan.

12 Regional Offices and Centres

 

In 2020, UN Human Rights had 12 regional offices covering East Africa (Addis Ababa), Southern Africa (Pretoria),
West Africa (Dakar) Centrat America (Panama City}, South America (Santiago de Chile), Europe (Brussels),
Central Asia (Bishkek), South East Asia (Bangkok), Pacific (Suva) and the Middie East and North Africa (Beirut}.

httos:/Avww.ohchr.org/EN/Countries/Pages/WorklInField.aspx
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 196 of 291

9/2/2021 OHCHR | Our Work in the Field

UN Human Rights also has a Regional! Centre for Human Rights and Democracy for Central Africa in Cameroon
(Yaoundé) and a Training and Documentation Centre for South-West Asia and the Arab Region in Qatar (Doha).

Regional offices have a crucial role to play in promoting and protecting human rights in countries of their region,
including by working with regional bodies, such as the African Union.

44 Human Rights Advisers

Human Rights Advisers are experts deployed by the office to the field to support UN Country Teams foliowing the
request of UN Resident Coordinators. They fallow up and analyze the human rights situation in the country in
which they serve and advise the UN Resident Coordinator and the UN Country Team as a whole on strategies to
build or strengthen nations’ capacities and institutions in promoting and protecting human rights. They also
engage with national! actors (governments and civil society) on how te best promote and implement human
rights standards, In 7020, OHCHR had 44 Advisers in the Dominican Republic, Belize, Fl Salvador, Jamaica, Costa
Rica, Barbados, Ecuador, Trinidad and Tobago, Guyana, Peru, Bolivia, Paraguay, Brazil, Uruguay, Argentina,
Jordan, Saudi Arabia, Guinea-Sissau, Burkina Faso, Niger, Nigeria, Lesothe, Zimbabwe, Burundi, Malawi, Rwanda,
Madagascar, Kenya, Maidives, Sri Lanka, Nepal, Bangladesh, Timor-Leste, Papua New Guinea, Malaysia,
Philippines, Mongolia, South Caucasus, Republic of North Macedonia, Republic of Moldova, Serbia, Belarus,
Montenegro and Bosnia Herzegovina.

Rapid response to emerging human rights Crises

A Rapid Response Unit supports the work of UN Human Rights by swiftly deploying persennel to the field. The
Unit manages an internal roster of staff who can be rapidly deployed in human rights and humanitarian
emergencies, and can provide surge capacity to UN Human Rights field offices. At the request of Member States,
UN Human Rights often conducts or supports fact-finding missions and commissions of inquiry that investigate
serious allegations of human rights viofations and abuses.

The Rapid Response Unit has, in recent times, conducted or coordinated the establishment of fact-finding
missions or commissions of inquiry mandated by the Human Rights Council on the Occupied Patestinian
Territories, Democratic Republic of the Congo (DRC) on the events in the Kasai regions, South Sudan, Burundi
and Myanmar; as well as the Commission of Inquiry on Mali mandated by the Secretary-General,

The Rapid Response Unit manages the Contingency Fund that was established to implement the priorities and
strategies of the High Commissioner to respond to human rights emergencies by deploying human rights
personnel and providing logistical support.

In 2020, UN Human Rights used its Contingency Fund to deploy staff to the following countries or regions:
Angola to monitor the human rights violations committed in Kasai, DRC; Bangladesh, to moniter the human
rights violations against the Rohingya in Myanmar, Yangoon and the Rakhine State; Qatar to gather information
on the impact of the Gulf crisis; Guatemala to assist the country office in monitoring the crisis In the child welfare
system; Honduras to assist the country office In monitoring the aftermath of the post-election crisis; Mauritania
to strengthen human rights expertise in the humanitarian context; and the remote monitoring of the human
rights situation in Venezuela,

in 2020, staff was deployed to monitor the deteriorating human rights situation in Nicaragua and Ecuador; and in
Cox’s Bazar, Bangladesh, to provide human rights advice to the humanitarian organisations that assist the
Rohingya refugees.

 

httips:/Avww.ohchr.org/EN/Countries/Pages/WorkinField.aspx 3/3
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 197 of 291

General Recommendation No. 23: Indigenous Peoples : . 18.08.1997,
Gen. Rec. No, 23, (General Comments)
Convention Abbreviation: CERD

General Recommendation XXIII

Indigenous Peoples

(Fifty-first session, 1997) *

1. In the practice of the Committee on the Elimination of Racial Discrimination, in particular in the
examination of reports of States parties under article 9 of the International Convention on the

Elimination of Ali Forms of Racial Discrimination, the situation of indigenous peoples has always been
4 matter of close attention and concern. In this respect, the Committee has consistently affirmed
that discrimination against indigenous peoples falls under the scope of the Convention and that all
appropriate means must be taken to combat and eliminate such discrimination.

2. The Committee, noting that the General Assembly proclaimed the Internationa! Decade of the
World's Indigenous Peoples commencing on 10 December 1994, reaffirms that the provisions of the
Internationa! Convention on the Elimination of All Forms of Racial Discrimination apply to indigenous
peoples.

3. The Committee is conscious of the fact that in many regions of the world indigenous peoples have
been, and are still being, discriminated against and deprived of their human rights and fundamental
freedoms and in particular that they have lost their land and resources to colonists, commercial
companies and State enterprises. Consequently, the preservation of their culture and their historical
identity has been and still is jeopardized.

4. The Committee calls in particular upon States parties to:

(a) Recognize and respect indigenous distinct culture, history, language and way of life as an
enrichment of the State's cultural identity and to promote its preservation;

{b) Ensure that members of indigenous peoples are free and equal in dignity and rights and free from
any discrimination, in particular that based on indigenous origin or identity;

(c) Provide indigenous peoples with conditions allowing for a sustainable economic and social
develapment compatible with their cultural characteristics;
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 198 of 291

(d} Ensure that members of indigenous peoples have equal rights in respect of effective participation
in public tife and that no decisions directly relating to their rights and interests are taken without
their informed consent;

(e) Ensure that indigenous communities can exercise their rights to practise and revitalize their
cultural traditions and customs and to preserve and to practise their languages.

5. The Committee especially calls upon States parties to recognize and protect the rights of
indigenous peoples to own, develop, control and use their communal lands, territories and resources
and, where they have been deprived of their lands and territories traditionally owned or otherwise
inhabited or used without their free and informed consent, to take steps to return those lands and
territories, Only when this is for factual reasons not possible, the right to restitution should be
substituted by the right to just, fair and prompt compensation. Such compensation should as far as
possible take the form of lands and territories.

6. The Committee further cails upon States parties with indigenous peoples in their territories to
include in their periodic reports full information on the situation of such peoples, taking into account
all relevant provisions of the Convention.

* Contained in document 4/52/18, annex V.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 199 of 291

9/2/2021 Permanent Council of the CAS / Commitee on Political and Juridical Affairs

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9/2/2024
> Chairs . Espafal

PANO ABB co ceenees| Working Group to Prepare the Draft American Declaration on the Rights of indigenous Peoples
> Working Groups

: : Documents:
> Order of business
* Compendium of proposals

>. Summary of meetings
mo * Record of the current status of the Draft American Declaration

> Notices

* 1997
* 71999
« 2000
« 2001
« 2002
* 2003
* 2004
* 2005
® 2006
* 2007
* 2003
« 2009
» 2040
» 2071
* 2012
* 2013
« 2015

 

Compendium of proposals

Compendium of proposals of the ninth meetings of negotiations (As of January 26, 2007)
GT/DADIN/doc.255/06 rev. 2

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f Negotiations in the Quest for Poinis of Consensus (As
of

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* Compendium of proposals of the Tenth Meeting
faq 4

* Compendium of proposais of the Eleventh Meeting of Negotiations in the Quest for Points of Consensus
(As of April 18, 2008) GT/DADIN/doc.255/06 add. 2 rev. 3 corr. 1

* Compendium of Proposals of the Twelth Meetings of Negotiations in the Quest for points of Consensus
held by the Working Group (As of November 30, 2009) GT/DADIN/doc.255/06 add. 3

* Compendium of Proposals of the Twelth Meetings of Negotiations in the Quest for points of Consensus
held by the Working Group (As of November 30, 2009) GT/DADIN/doc.255/06 add. 4

* Compendium of Proposals cf the Fourteenth Meetings of Negotiations in the Guest for points of
Consensus held by the Working Group (As of Aprit 2012} GT/DADIN/doc.255/06 add. 5

Record of the current status of the Draff American Declaration

Record of the current status of the Draft American Declaration on the Rights of Indigenous Peaples (Outcomes
of the fourteenth Meetings of Negofiations in the Quest for Points of Consensus) GT/DADINédoc. 334/08 rev. 7

Record of the current status of the Draft American Declaration on the Rights of Indigenous Peopies (Outcomes
of the Thirteenth Meetings of Negotiations in the Quest for Points of Consensus, held by the Working Group)
GT/DADIN/doc. 334/08 rev. 6 corr. 1

Record of the current status of the Draft American Declaration on the Rights of Indigenous Peoples (Outcomes
of the Twelfth Meetings of Negotiations in the Quest for Points of Consensus) GT/DADIN/doc.334/08 rev. 5

Record of the current status of the Draft American Declaration an the Rights of Indigenous Peoples (Outcomes

of the Eleventh Meetings of Negotiations in the Quest for Points of Gonsensus, held by the Working Group)
GT/DADIN/doc.334/06 rev. 4

www.oas.org/consejo/cajp/Indigenous documents.asp#Record WP
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 200 of 291

9/2/2024 Permanent Council of the OAS / Commitee an Political and Juridical Affairs

Record of the Current status of the Draft American Declaration on the Rights of Indigenous Peoples (Outcomes
of the Ten Meetings of Negotiations in the Quest for Poinis of Consensus, held by the Working Group) [Updated
upon fhe conclusion of the Tenth Meeting of Negotiations) GT/DADIN/doc.301/07 rev.1

Record of the current status of the draft American Declaration on the Rights of Indigenous Peoples (Outcomes
of the Ninth Meetings of Negotiations in the Quest for Points of Consensus, heid by the Working Group)
GT/DADIN/daoc.283/07 corr. 1

Record of the current status of the draft American Declaration on the Rights of Indigenous Peoples {Outcomes
of the Eight Meetings of Negotiations in the Quest for Points cf Consensus, held by the Working Group)
GT/DADIN/doc.278/06 corr. 1

Record of the current status of the Draft American Declaration on the Rights of Indigenous Peoples (Outcomes
of the Seven Meetings of Negotiations in the Quest for Points of Consensus, held by the Working Group) [As of
March 25, 2006} GT/DADIN/doc.260/06 rev. 1

1997

Note from the Executive Secretary of the inter-American Commission on Human Rights on the “Proposed
American Declaration on the Rights of indigenous Peaples’- CP/doc. 2878/07 carr. 1

1999
Proposed American Declaration on the Rights of Indigenous Populations - GT/DADIN/doc,1/99 rev. 2

Report af the Chair of the Working Group to Prepare the Proposed American Declaration on the Rights of
Indigenous Paoulations - GT/DADIN/doc.5/99

2000
Draft work plan 2000/2001 - GT/DADIN/doc.6/00 rev, 6
2001

Working document comparing the proposed American Declaration on the Rights of Indigenous People
(Approved by the Inter-American Commission on Human Rights in March 1997} and the proposals made by
States and Indigenous Representatives at OAS Meetings in 1999 - GT/DADIN/doc.9/014

Special Meeting of the Working Group (April 2-6, 2001) - GT/DADIN/doc, 14/01
Report of the Working Group - GT/DADIN/doc. 15/04 rev, 2
Drafl resolution - American Declaration on the Rights of indigenous Peoples GT/DADIN/doc. 24/01 rev. 4

Calendar 2004-2002 - Approved at the regular meeting held on Octcber 23, 2001 and revised at the meeting
held on October 31, 2004} GT/DADIN/dac.29/04 rev. 1

Schecule of meetings - First stage (October 31-December 12, 2001} GT/DADIN/dac,30/01 rev, 1

Section I} - Human Rights - Working document comparing the proposed American Declaratian on the Righis of
Indigenous Peoples and the proposals made by indigenous representatives GT/DADIN/doc.32/01

Section i - Human Rights - Working document comparing the proposed American Deciaration on the Rights of
Indigencus Peoples and the proposals made by States GT/DADIN/doc.33/01

Declaration of Machu Picchu on Democracy the Rights of Indigenous Peoples and the Fight Against Poverty
{Document presented by the Chair of the Group) GT/DADIN/doc.34/01

Section lil - Cultural Development - Working document comparing the original text of the Draft American
Declaration on the Righis of Indigenous Peoples and proposals made by indigenous representatives
GT/DADINidoc. 36/07

Section HI ~ Cultural Development - Working document comparing the original text of the Draft American
Declaration on the Rights of Indigenous Peoples and the proposals made by States GT/DADIN/doc,37/014

Section IV - Organizationat and Political Rights - Working document comparing the original text of the Draft
American Declaration on the Rights of Indigenous Peoples and proposals made by indigenous representatives
ST/DADINdoc, 38/01

Section IV - Organizational and Political Rights - Working document camparing the original text of the Draft
American Declaration on the Rights of Indigenous Peoples and the proposals made by States
GT/DABINdoc.3SAN1

Section V - Social, Economic, and Property Rights - Working document comparing the original text of the Draft
American Declaration on the Rights of Indigenous Peoples and the proposals made by indigenous
representatives GT/DADIN/doc.41/01

Section V - Social, Economic, and Property Rights - Working document comparing the original text of the Draft
American Declaration on the Rights of Indigenous Peoples and the proposals made by the States
GT/DADINidoc. 42/01

Section VI - General Provisions - Working document comparing the original text of the Dra American
Declaration on the Rights of Indigenous Peoples and the proposals made by indigenous representatives
GT/DADIN/doc.43/01

www.oas.org/consejo/cajpfindigenous documents.asp#Record 27
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 201 of 291

9/2/2021 Permanent Council of the OAS / Commitee on Political and Juridica! Affairs

Section VI - General Provisions - Working document comparing the original text of fhe Draft American
Deciaration on the Rights of Indigencus Peoples and the proposals made by the States GT/DADIN/doc.44/014

Section | - Definitions - Working document comparing the original proposed American Declaration on the Rights
of Indigenous Peoples and proposals by States GT/DADIN/doc.49/01

Section | - Definitions - Working document comparing the original proposed American Declaration on the Rights
of Indigenous Peoples and proposals made by indigencus representatives GT/DADIN/doc.50/04

Working document comparing the proposed American Declaration on the Rights of Indigenous Peoples
(approved by the [ACHR in March 1997) and the proposals made by States and indigenous representatives at
OAS meetings in 1999 GT/DADIN/doc.51/01

2002

resolution adapted by the Permanent Gouncil on “Specific Fund to Support the Elaboration of the American
Declaration on the Rights of Indigenous Peoples" CP/RES.817 (1319/02)

Drafl resolution on the permanent fund of the Organization of American States comprising valuntary
contributions for the indigenous peoples GT/DADIN/doc.59/02 rev. 3

United States remarks on lands and territories GT/DADIN/dac. 79/02
Drafi resolution: American Declaration on the Rights cf indigenous Peoples GT/DADIN/doc.80/02 rev. 1
Report of the Ghair GT/DADINidac. 82/02

Meeting of the Working Group on Chapter V of the praposed Declaration with special focus on "Traditional
forms of ownership and cultural survival, rights to land and territories" GT/DADIN/doc.89/02

Draft agenda - Meeting of the Working Group on the Fifth Section of the Draft Declaration with special emphasis
on "Traditional forms of ownership and cultural survival. Rights to land and territories" GT/DADIN/doc. 90/02
Tew. 2

Draft schedule for the Working Group GT/DADIN/doc.9 1/02 rev. 2

Presentation by Robert T. Coulter (Meeting of fhe Werking Group on the Fifth Section of the Draft Declaration
with special emphasis on "Traditional forms of ownership and culturai survival. Rights to land and territories)
GT/DADIN/doc.97/02

Presentation by Robert T, Coulter (Meeting of the Working Group cn the Fifth Section of the Draft Declaration
with special emphasis on "Traditional forms of ownership and cultural survival. Rights to fand and territories)
GT/DADIN/doc.97/02-a

Presentation by Tim Voilmann ( Meeting of the Working Group on the Fifth Section of the Draft Declaration with
special emphasis on "Traditional farms of ownership and cultural survival. Rights to land and terrifories)
GTIDADIN/dos. 98/02

Staternent by the Delegation of Colombia to the meeting of the working group held on October 31, 2002
GT/DADIN/dec.99/02

Presentation by Anne Deruyttere at the Meeting of the Werking Group on the Fifth Section of the Draft
Deciaration, with special emphasis on “Traditional Forms of Ownership and Cultural Survival: The rights to jand
and territories” GT/DADIN/dac, 102/02-a

Presentation by Anne Deruyttere at the Meeting of the Working Group cn the Fifth Section of the Draft
Declaration, with special emphasis on “Traditional Forms of Ownership and Cultural Survival: The rights to land
and territories” GT/DADIN/dac.102/02-b

Presentation by Dr. Julio Prado Vallejo, Special Rapporteur on Indigenous Peoples of the Inter-American
Commission on Human Rights in the process of preparing the draft declaration (operative paragraph 7 of
resolution AG/RES. 1851 (XXXH-0/02) GT/DADIN/doc. 103/02

Presentation by W. Thomas Molloy ( Meeting of the Working Group cn the Fifth Section cf the Draft Declaration
with special emphasis on “Traditional forms of ownership and culturat survival, Rights to land and territories)
GTIDADIN/dac, 1098/02

2003

Report of the Rapporteur of the Meeting on the Fifth Section of the Draft Declarations with special emphasis on
"Traditional forms of ownership and cultural survival, right to land and territories" GT/DADIN/doc. 113/03 rev. 1

Draft resolution: American Declaration on the Rights of Indigenous Peoples GT/DADIN/doc-134/03 rev. 3
Report of the Chair GT/DADIN/dec-136/03 rev, 2

Consolidated text of the draft declaration prepared by the Chair cf the Working Group GT/DADIN/doc. 139/03
Proposal on the participation of the representatives of indigenous peoples in the initial meeting of negotiations
in the quest for points of consensus (Document presented by the Chair of the Warking Group)

GT/DADIN/doc, 140/05 rev. 4

Schedule of activities of the Working Group for 2004 GT/DADIN/doc, 141/03 rev, 4 corr. 4

www.oas.org/consejo/cajp/Indigenaus documents.asp#Record 3/7
9/2/2021

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 202 of 291

Permanent Council of the OAS / Commitee on Political and Juridical Affairs
Draft agenda Initial Meeting of Negotiations in the Quest for Points of Consensus GT/DADIN/doc. 144/03

Proposals regarding the Draft American Declaration on the Rights ef indigenous Peoples GT/DADIN/doc,
146/03 corr. 1

Communiqué of the Selection Board cf the Specific Fund to Support the Preparation of the American
Declaration on the Rights of Indigenous Peoples GT/DADIN/dac. 149/03

2004

Financial statement of the Specific Fund to support the elaboration of the American Dectaration on the Rights of
indigenous Peoples (Reporl presented by the Summits of the Americas Secretariat) GT/DADIN/dac, 165/04

Draft resciution: Dectaration on the Rights of fndigenous Peoples GT/DADIN/doc.171/04 rev. 4

Third meeting of negotiations in the quest for paints of consensus (Paditha Vidal Room — April 28 te 30, 2004}
GT/DADIN/dac.175/04 rev.1 corr.1

Financial statement of the specific fund to support the elaboration of the American deciaration on the rights of
indigenous peoples (Report presented by the Summits of the Americas Secretariat at the May 3, 2004, meeting
of the Working Group) GT/DADIN/doc, 179/04

Report of the Chair working group activities, 2003-2004 GT/DADIN/doc. 180/04

Schedule of activities of the Working Group for the 2004-2005 term GT/DADIN/doc.18 1/04 rev. 2

Draft resolution: Amendments ta the resolution establishing the Specific Fund to Support the Elaboration of the

American Declaration on the Rights of Indigenous Peoples (Proposed by the Chair} GT/DADIN/doc. 186/04 rev,
2

* Note from the Office for the Summit Process on Specific Fund operating cosis relating to the
parlicipation of representatives of indigenous peoples - add. 4

Background document for preliminary consultations by the Chair aimed at finding a possible date for conclusion
of the final stage of negctiations for adoption ef the Draft Declaration - Proposa! by the Chair [Pursuant to the
mandate issued in cperative paragraph 4, subparagraphs {a) and (e}, of resclution AG/RES. 2029 OOXxlV-
0/04] GT/DADIN/doc.189/04

Draft resolution: Amendments to the resolution establishing the Specific Fund to support the elaboration of the
American Declaration on the Rights of Indigenous Peoples CP/CAJP-2222/04 rev. 4

2005

resolution adapted by the Permanent Council on “Amendments to the Specific Fund to Support the Elaboration
of the American Declaration on the Rights of indigenous Peoples” GP/RES.873 (1459/04)

Draft resoiution: American Declaration on the Rights of Indigenous Peoples GT/DADIN/doc.219/05 rev. 1

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LBUCUS, Ine

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drafting of the American Declaration on the Rights cf Indigenous Peoples, held from May 2 to 6, 2005
GT/DADIN/dec.225/05
Schedule of activities of the Working Group for the 2005-2006 term GT/DADINidoc. 228/05 rev.3

Financial statement of the Specific Fund to support the elaboration of the American Declaration on the Rights cf
{Indigenous Peoples May 1, 2004 — September 21, 2005 GT/DADIN/doc. 232/05

2006

Note from the Chair of the Working Group on the proposals to amend section VI of the Chair's Consolidated
Text, received from the Indigenous Peoples’ Caucus of the Americas parlicipating in the drafting of the
American Dectaration on the Rights of Indigenous Peoples GT/DADIN/doc.244/06

Open invitation fo the Seventh Meeting of Negotiations in the Quest for Points of Consensus
GT/DADIN/doc.245/06

Proposed procedure for promptly concluding the negotiations in the quest for paints of consensus of the
Working Group to Prepare the Draft American Declaration on the Rights of Indigenous Peoples
GT/DADIN/doc. 246/06 rev. 8

Draft resolution; Place and date of the Seventh Meeting of Negotiations in the Quest for Point of Consensus of
the Working Group to Prepare the Draft American Declaration on the Rights cf Indigenous Peoples
GT/DADIN/doc.247/06 rev. 4

Draft resctution: American Declaration on the Rights of Indigenous Peoples GT/DADIN/doc.250/06 rev, 4

www.oas.org/consejo/cajp/Indigenous documents.asp#Record Al?
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 203 of 291

9/2/2074 Permanent Council of the OAS / Commitee on Political and Juridical Affairs

* Proposals by the Delegation of the United States to modify the text of the draft resolution - add. 4
* Observations by the Delegation of the United States - add, 2

Financial statement of the Specific Fund fo Support the Elaboration of the American Declaration on the Rights
of Indigenous Peoples March 25, 2004 — March 6, 2006 GT/DADINfdac.252/06

Reperl of the Chair on the Seventh Meeting of Negotiations in the Quest for Points of Cansensus
GT/DADINidoc. 258/06 rev. 2

Record of the Current Status of the Draft American Declaration on the Rights of Indigenous Peoples (Outcomes
of the Seven Meetings of Negotiations in the Quest for Points

of Consensus, held by the Working Group) [Updated upon the conclusion of the Seventh Meeting of
Negciiations] GT/DADIN/doc.260/06 rev, 1

Activities of the Working Group during the 2005-2006 term GT/DADIN/doc,262/06 rev, 1

Note from the Permanent Mission of Bolivia containing Bolivia's offer to host one of the Working Group's next
Meetings of Negotiations in the Quest for Points of Consensus GT/DADIN/doc, 264/06

Draft resolution: American Declaration on the Rights of Indigenous Peoples CP/CAJP-2380/06
Calendar of activities for the 2006-2007 term GT/DADIN/doc, 265/06 rev. 4

Proposal by the Indigenous Peoples’ Caucus of the Americas on document GT/DADIN/doc.245/06 rev. 2
GT/DADIN/doc.266/06

Financial Statement of the Specific Fund to support the Elaboration of the American Declaration on the rights of
Indigenous Peoples - Ocotber 10 2006 GT/DADIN/dac,272/06

2007

Paragraphs proposed by Venezuela for inclusion in the base text for future negotiations of the Working Group to
Prepare the Draft American Declaration on the Rights of Indigenous Peoples GT/DADIN/doc. 290/07

Tenth Meeting of Negotiations in the Quest for Points of Consensus Praposais by Canada for Articles XIV, XV,
XVI GT/DABIN/doc,. 291/07

Draft resolution American Declaration on the Rights of indigenous Peoples GT/DADINidoc. 293/07 rev, 3

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on Juridical and Potitical Affairs on May 22, 2007) GT/DADIN/doc. 307/07 corr. 1

Dra resolution American Ceclaration on the Rights of Indigenous Peoples (Approved by the Committee at its
meeting of May 22, 2007) CP/CAJP-2523/07

Concerns of the Natianal Chief of the Assembly of First Nations of Canada on recently published documents of
the working group GT/DADIN/doc.308/07

Table comparing the Drafl American Declaration on the Rights of Indigenous Peoples and the United Nations
Declaration on the rights of Indigenaus Peaples GT/DADIN/doc.217/07 rev. 4

Nete from the Chair of the Working Group to prepare the Dratt American Declaration on the Rights of
Indigenous Peoples CP/CAJP-2545/07

Comments by the international Indian Treaty Council on the -informal Consultative Document-
GT/DADINAdoc.318/07

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Classification of provisions that could facilitate consensus (Reference document prepared by the Department of
Intemational Law} {Update upon the Conclusion of the Fourteenth Meeting of Negotiations)
GT/DADIN/doc.329/08 rev. 6

Brief Note on Clustering of Articles for the Purposes af Organizing the Work on the Draft Declaration on the
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Drafl resolution Draft American Declaration on the Rights of Indigenous Peoples GT/DADIN/doc.335/08 rev. 2
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14, 2008) CP/CAJP2638/08

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www.oas.org/consejo/cajp/Indigenous documents.asp#Record 5/F
9/2/2024

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 204 of 291

Permanent Council of the OAS / Commitee on Political and Juridical Affairs

Report on expenses incurred by the Department of Internationa} Law in connection with the Special Meeting of
the Working Group to prepare the Draft American Declaration on the Rights of Indigenous Peoples
GT/DADIN/doc. 363/09

Draft resolution Drafl American Declaration on the Rights of Indigenous Peoples (Presented by the Chair)
GT/DADINidoc. 367/09 rev. 2

Drafl resolution Specific fund to Support the Elaboration of the American Declaration on the Rights of
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Activities of the Working Group {2008-2008) (Report of the Chair) GT/DADIN/doc, 3771/09

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{Approved by the Committee at its meeting of May 15, 2009) CP/CAJP- 2757/09

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(Presented at the meeting of Gctober 15, 2008) GT/DADIN/doc. 388/10

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Points of Consensus (Report by the Department of International Law) GT/DADIN/doc. 389/10

Draft resolution: Draft American Declaration on the Rights of indigenous Peoples {Approved at the meeting of
April 13, 2010) GT/DADIN/doc. 395/10 rev. 4

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Chair of the Working Group} Costing prepared by the Secretariat for Administration and Finance (SAF),
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meeting of May 20, 2010) CP/CAJP-2887/10

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Text of the note sent by the Chair of the Working Group to the Permanent Representatives of Member States
GT/DADINAINF. 49/114

Status report on the specific fund to support preparation of the American Declaration on the Rights of
indigenous Peoples (Document prepared by the Department of International Law) GT/DADIN/INF. 50/14

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Draft resolution place and date of the Fourteenth Meeting of Negotiations in the quest for points of consensus,
of the working group to prepare the Draft American declaration on the Rights of Indigenous Peaples CP/CAJP-
3037/12 rev. 1
Note from the Permanent Mission of Paraguay offering to host the fourteenth meeting of negotiations in the
quest for points of consensus of the working group to prepare the Dra American declaration on the Rights cf
indigenous Peoples CP/CAJP-3038/12

« Note from the Permanent Mission of Paraquay GP/CAJP-3038/12 add. 1

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Working Group) GT/DADIN/doc. 416/42

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Peoples (2012 -2013} (Submitted by the Chair of the Working Group) GT/DADINidoc. 421/12 rev, 3

Communiqué from the chair of the working group to prepare the Draft American Declaration on the Rights of
Indigenous Peoples to the Permanent Representatives of the Member States GT/DADIN/doc. 423/12

«* Estimated Costs (Document prepared by the Depariment of International Law} GT/DADIN/doc, 423/12
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9/2/2624

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 205 of 291

Permanent Council of the GAS / Commitee on Political and Juridica! Affairs

Proposal to use information and communication technologies to facilitate in the work of the Working Group
GT/DADIN/doc, 426/12 rev. 5

Teleconference of the selection Board of the Specific Fund to support the elaboration of the American
Declaration on the Rights of indigenous Peoples GT/DADIN/INF. 65/13

Draft resolution Draft American Declaration on the Rights of Indigenous Peoples GT/DADIN/doc. 427/12 rev. 1

Report of the Vice-Chair of the Working Group on Activities during the 2042-2013 term GT/DADIN/doc, 428/12

2015

Proposed preamble for the Drafl American Declaration on the Rights of Indigenous Peoples (Document
presented by the Chair} GT/DADIN/doc. 447/42

Note from the Permanent Mission of Colombia requesting a correction in incorporating text inte Article XVIII. 4
of the Draft American Declaration on the Rights of Indigencus Pecples (GT/DADIN/doc. 334/08 rev. 11)
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Go te navigation | Ge to content

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 206 of 291

OHCHR | George Floyd case verdict

  

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English > News and Events > George Floyd case verdict

Verdict is testament to courage, perseverance and justice

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“This is a mornentous verdict,”
said UN High Commisstoner for
Human Rights Michelle Bachelet.
“But for countless other victims of
African descent and their families,
in the United States and
throughout the world, the fight for
justice goes on, The battle to get
cases of excessive force or killings
by police before the courts, fet
alone win them is far from over.”

   

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Bacheiet was commenting on the
guilty verdict for former Minneapolis Police Officer Dereck Chauvin for the killing of George Floyd. A jury in
the United States found Chauvin guilty of second- and - third degree murder and second-degree
manslaughter on 20 April 2021. Three other officers have been charged with aiding and abetting murder

and manslaughter and are expected to he tried later this year.

“What this verdict tells us, what this moment tells us, is that this a moment of solidarity,” said Dominique
Day, chair of the Working Group of Experts on People of African Descent (WGEPAD). “Where around the
world there is a recognition that accountability can be had and recognition that this moment applies net just
to African-Americans, not just to Americans and to Black people in the US, but it applies globaily, {showing}
what we can expect from our governments and from our institutions.”

Bachelet said Floyd’s case of police brutality helped to reveal how much remains to be done to confront and
dismantle the entrenched tegacy of discriminatory pclicies and systems,

“Now is aiso the time to criticaily examine the context in which George Floyd’s killing took place by
revisiting the past, and examining its toxic traces in today’s society,” she sald in a statement. “The redesign
of our future can onty be through the full and equal participation of people of African descent, and in ways
which transform their interactions with faw enforcement, and, more broadly, in all aspects of their lives.”

Floyd’s death in May 2026, sparked global protests around police brutality and systemic racism. These
protests lead to an urgent debate in the Human Rights Council in June 2020. Held at the request of the
African Group of States, the debate focused on racially inspired human rights viclations, systemic racism,
violations by law enforcement officers and violence against peaceful protests.

The Council subsequently adopted by consensus a resolution on the “Promotion and pretection of the
human rights and fundamentai freedoms of Africans and people of African descent against excessive use of
force and other human rights violations by law enforcement officers”, Bachelet will present a report in June
2021 on the resolution that will include an agenda for transformative change to dismantle systemic racism
and police brutality against Africans and pecple of African descent, and advance accountability and redress
for victims,

In the map of the anti-racism and discrimination movements, the verdict sits a very visible high point, Day
said, It is an example of what it means to be human rights centred, that part of justice is accountability,
and part of justice is reparations.

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 207 of 291
OI202 4 OHCHR | George Fioyd case verdict

“I do think that at some level, the global demand for change, the global frustration with the status quo and
the idea that these systems, including aur governments, really rely on business as usual despite the threat
to lives like ours are ultimately really well reflected in this verdict,”

You can watch more reactions on the verdict in the video below.

 

George Floyd verdict - ‘a momentous verdict’

 

 

 

 

21 April 2021

 

   

 

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 208 of 291

9/2/2021 Grand jury in Elijah McCiain investigation indicts officers, medics in 2019 death

 

Sept. 1, 2021, 9:14 AM PDT / Updated Sept. 1, 2001, 1:47 PM PDT

By Erik Ortiz

Two police officers, one former officer and two paramedics in Aurora, Colorado, will face
charges in the death of Elijah McClain, a young Black man who was detained, placed in a
chokehold and given a powerful sedative in a confrontation with police in 2019. The indictment
comes after an eight-month grand jury investigation convened by Colorado's top prosecutor.

State Attorney General Phil Weiser on Wednesday said the five defendants will be charged with
one count each of manslaughter and criminally negligent homicide, as well as other charges in
the 32-count indictment.

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 209 of 291

9/2/2021 Grand jury in Elijah McClain investigation indicts officers, medics in 2019 death

The officers named in the indictment are Nathan Woodyard and Randy Roedema and former
officer Jason Rosenblatt, The paramedics are Jeremy Cooper and Peter Cichuniec.

McClain's father, LaWayne Mosley, said he cried tears of joy upon learning of the indictment.

"Nothing will bring back my son, but I am thankful that his killers will finally be held
accountable,” Mosley said in a statement.

The indictments come just over two years since the death of McClain, 23, prompted months of
protests by activists that dovetailed into national demonstrations demanding systemic changes in
policing galvanized by last year's police killing of George floyd, a Black man in Minneapolis.

Like Floyd, McClain had told police, "I can't breathe" — a phrase that has been a familiar rallying
cry against police brutality.
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t NEWS
Experts raise a question about Elijah McClain's arrest: Why
was he injected with ketamine?

Aurora City Manager Jim Twombly said officials "respect the judicial process" and the grand
jury’s decision, and that while no criminal or civil investigation will "erase the pain and
heartbreak of Elijah’s loss," the city is committed to restoring the community's trust.

The officers and paramedics employed by the city have been indefinitely suspended without pay,
Twombly added. It was not immediately clear if they had attorneys.

The Aurora police union said in a statement that "our officers did nothing wrong" and maintains
McClain's death was related to his decision to "violently resist arrest and a pre-existing heart

condition.”

"The hysterical overreaction to this case has severely damaged the police department," the
Aurora Police Association's board of directors said in a statement.

https:/Awww, nbcnews.com/news/us-news/grand-jury-elijah-mcclain-investigation-indicts-officers-medics-20 19-death-n1278240 air
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 210 of 291

9/2/2021 Grand jury in Elijah McClain investigation indicts officers, medics in 2079 death

The Aurora Police Department could not immediately be reached for comment Wednesday.

Criminal charges against police officers accused in a person's death while on duty are rare, and
even more so for paramedics and firefighters, and Weiser hinted at the challenge facing
prosecutors.

"Make no mistake, we recognize that this case will be difficult to prosecute," Weiser said. "These
types of cases always are."

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McClain’s encounter with police in Aurora, a Denver suburb, began just after 10:30 p.m. on Aug.
24, 2019, after he bought iced tea froma corner store. At the time, McClain, a massage therapist,
was wearing a ski mask — which he typically did because of a blood condition that made him feel

cold, according to his family.

Three Aurora police officers responded to a report of a suspicious person wearing a mask and
waving his arms.

Bodycami video later released showed officers ordering McClain to stop. He responded that he
was an introvert and to “please respect the boundaries that I am speaking."

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After questioning him, the officers grabbed McClain. One of them said he believed McClain had
reached for a holstered gun, and McClain was brought to the ground. Aurora police said ina
statement that he "resisted contact, a struggle ensued, and he was taken into custody."

https://www.nbcnews.com/news/us-news/grand-jury-elijah-mcclain-investigatian-indicts-officers-medics-2019-death-n1278240 att
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 211 of 291

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-—- Demonstrators carry placards as they walk down Sable Boulevard during a rally and march over the death
of 23-year-old Elijah McClain in Aurora, Colo. , on June 27, 2020. David Zalubowski / AP file

Authorities said officers applied a carotid control hold on McClain, a type of chokehold meant to
restrict blood to the brain to render a person unconscious. Paramedics were called to the scene,
and McClain was injected with ketamine to sedate him after police video showed him writhing
on the ground saying, "I can't breathe, please," and vomiting. He apologized for vomiting.

About seven minutes after he received the drug, McClain was found to have no pulse in the
ambulance and went into cardiac arrest, according to a report released in fall of 2019 by a local
prosecutor, Dave Young. Medics were able to revive McClain, but he was later declared brain
dead and taken off life support less than a week later.

The Adams County Coroner's Office determined that McClain's death was due to “undetermined
causes,” and that the "evidence does not support the prosecution of a homicide,” according to

Young's report. Young declined to press charges against the officers.

But the coroner did not rule out that the chokehold, in addition to the ketamine, may have
contributed to his death.

https-//www.nbenews. com/news/us-news/grand-jury-elijah-mcclain-investigation-indicts-cfficers-medics-20 18-death-n1278240 AIT
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 212 of 291

9/2/2021 Grand jury in Elijah McClain investigation indicts officers, medics in 2019 death
Aurora police banned carotid contro! holds last summer, and separately, federal authorities said
they were reviewing whether a civil rights investigation is warranted.

While officers Woodyard and Roedema remain employed by the department, Rosenblatt was one
of three other officers fired in July 2020 after an internal investigation found they held a selfie
photo session near a memorial site for McClain, A fourth officer also resigned as part of the
scandal.

As part of the charges announced Wednesday, Roedema and Rosenblatt face one count of
second-degree assault with intent to cause bodily injury and a related one count of a crime of
violence.

Cooper and Cichuniec also face one count of second-degree assault with intent to cause bodily
injury, one count of second-degree assault for recklessly causing serious bodily injury by means
of a deadly weapon via the ketamine and one count of second-degree assault for a purpose other
than lawful medical or therapeutic treatment.

 

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The paramedics also face two counts of crimes of violence for each of the assault charges,

according to the indictment, which was unsealed.

https://www.nbenews.com/news/us-news/grand-jury-elijah-meclain-investigation-indicts-officers-medics-2019-death-n1278240 Si?
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 213 of 291

9/2/2021 Grand jury in Elijah McClain investigation indicts officers, medics in 2079 death

Weiser said a separate investigation into whether the city's police and fire departments have a
pattern of violating people's civil rights is ongoing.

A lawsuit filed by McClain's family in August 2020 alleges that excessive force used by the officers
over a span of 18 minutes caused an increase of lactic acid in his blood, and mixed with the
ketamine injected into him, negatively affected his respiratory system.

An independent probe commissioned by the city of Aurora and released in February concluded
police had no justification to stop or use force to detain McClain, and responding paramedics
sedated him with ketamine “without conducting anything more than a brief visual observation."

The 5-foot-7, 140-pound McClain was given ketamine that would have been proper for a man
weighing 190 pounds, according to the panel's findings.

The report suggested a change in policy for paramedics responding to the scene with police, and
said they should not act as an "arm" of the department.

State lawmakers and advocates for police accountability reform praised the charges on
Wednesday after championing new legislation in the wake of McClain's death that bans
chokehoids during arrests and requires officers who see misconduct on the job to report it.

The indictment is “a necessary next step in ensuring that the deeply-embedded systemic failures
of the city of Aurora will finally begin to change," Deborah Richardson, executive director of the
ACLU of Colorado, said.

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Erik Ortiz
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Erik Ortiz is a staff writer for NBC News focusing on racial injustice and social inequaility.

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 214 of 291

9/2/2021 Grand jury in Elijah McClain investigation indicts officers, medics in 2019 death

Sarah Ford contributed.

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8/31/2021 Search | Prerndays.Inc@protonmail.com | ProtonMail

RE: MTA Case

Received: #¢ Friday, May 28, 2021 10:40 AM
From: Minogue, Stephanie MinogueS@dany.nyc.gov
To: 'Premdays.inc’ Premdays.Inc@pretonmail.com

CC: Johnson, Edward johnsone@dany.nyc.gov

Geod moming Ms. El-Bey,

| hope that you have been doing well and staying safe and heaithy. I'm writing to update you on the investigation of the encounter you had with two MTA police olficers
at Penn Station in January 2020. We were able to review surveillance video and speak to a number of witnesses, and bring the officers in for questioning as well.
Unfortunately, we simply coutd not find enough evidence fo establish beyond a reasonable doubt — the standard we are required to meet in 4 criminal case — that either
of the officers committed a crime. One obstacle in particular was that severai of the surveillance cameras at Penn Station were not working that night, inctuding the
camera in the elevator where the incident took piace. We alsc were unable to find any eyewitnesses to the incident itself.

| do want to let you know that both officers are still going to face disciplinary charges because of the work that Lieutenant Hosein with the MTA’s Internal Affairs Bureau

did in investigating your case. The fact that we can’t go forward with criminal charges is not going to change that.

if you have ary questions about the oulcome of our investigation, please do not hesitate to reach out. You can either email me at this email address, ar contact me at
212 335 9099.

Best regards,

Stephanie Minogue

Deputy Chief

Police Accountability Unit

New York County District Attorney's Cffice
4 Hogan Place, Ream 755

New York, NY 10013

O: 212.335.9099

C: 646.954.2750

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 216 of 291

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please prompily nolify the sender by e-mail, and destroy all copies of ihe transmission. Thank you.

Fram: Premdays.Inc [mailio:Premdays. Inc@protonmail.com]
Sent: Wednesday, December 9, 2020 2:45 PM
To: Minogue, Slephanie <Minogques @idany.nye.goy>

  

Ce: Johnson, Edward <jg|
Subject: Re: MTA Case

ene@dany.nyc.goy>

Well mia refused to allow me to file claims foe my personal properties bills they are asking for information yet [ cannot case number to give lo Mr. Felix Williams then
you guys need to call him at 7188504218 or 7186943998 my question is whom ia going Lo reimburse me for my propertics that wad damage MTA/asking for info so am
left to file a sue in court that is mean hired an attorney if] csn find one thal can take ihe case pro Bono or else 1 will have to cuff of upfront monies for court and court

cases that is money I do not have

Sent from ProtonMail mobile

noose Original Message --------

On Dec 9, 2020, 11:41 AM, Minogue, Stephanie < MincgusS@dany.nye.gav> wrote:

 

Good morning Ms, El-Bey,

Investigator Johnson {afd me thal you were asking for the case number for our investigation. Unfortunately, that's nol samething we can give oul. It's an internat
tracking number that we're not allowed to share since it relates fo a pending investigation, We've gol what's called a “grand jury investigation” opened for your
case, but those are by law completely secret and confidentiai. That means that legally we can't share information about your case with anyone, except for
Lieutenant Hosein because he is helping us with the investigation. So, because we can’t help you with your lawsuit, you may want to hire your own attorney to

help with that.

However, there is something we might be able to help you with. In New York there is an agency called the Office of Victim Services. They have a program
where you can file a claim for compensation for different things if you are a victim of a crime. There is a part of our office called the Witness Aid Services Unil,
which helps victims of crimes file those claims ail the time. If it's ok with you, ican give them your email and/or phone number, Then, they can reach out to you,
talk to you about your options and help you file a claim with the Office of Victim Services, Let me know what contact info | can give them and | will do that right

away.

Best,

Stephanie Minogue

Assistant District Attorney

Public Corruption Unit
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 217 of 291

8/31/2024 Search | Premdays.Inc@protenmail.com | ProtonMaii

New ‘York County District Attorney's Office
1 Hogan Place, Room 755

New York, NY 70013

O: 212.335.9089

€: 646.954.2750

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 218 of 291

8131/2021 Search | Premdays.inc@protonmail.com | ProtonMail

Fw: (No Subject). Southern District of New York and I need your
help to locate officer Crocillo with his parties to serve them court
documents

Sent: Thursday, May 27, 2021 12:22 PM
From: Premdays.Inc Premdays.Inc@protonmail.com

To: Hosein, Derek DHOSEIN@mtapd.org

Good Morning,

| need your help the Southern District Of New York Court been trying to send documents to officer Cracillo and they
have no luck j just got off the phone with the Pro se office and they are trying to serve the officer and his party. The
United States District Court Southern District Of New York Can you please reach out to them and give fhem the
information or can | mail you the documents out then you can passed it on to them the phone number for the court
is (212)805-0136 and the case number is 20-CV-0524 (LLS) or (MKV) (GWG).

Please feel free to contact the court and give them the information's that they needed to serve the officer or send
me a letter with the information so i can upload it to the temporary prose email address or if you want that email
address please let me and I can email it to you.

Thank you,
Stay safe and have a bless day

Queen Prinyah Godiah Nefertiti Ma‘at Imin Amon Amun Payne E!-Bey

CEO & Founder of
Premdays.Inc
Sent with ProtonMail Secure Email.

noraeoe Original Message -------
On Friday, January 17, 2020 1:52 AM, Premdays.Ine <Premdays.Inc@protonmail.com> wrote:

httos://Awww.instagram,.com/p/Bo5RySyQq6HU/?igshid=1va2avwamb4ec

Sent from ProtonMail Mobile

https://old.protonmail.com/search/3nNWppbC4 YqRyjdxlOS5AWGNuqD4 kOF HiGiBbEMNrcSJByDHi3SwHiW2jUZWGeCH-fJKRZIFWFxKV_ mO531KP4g... qi
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 219 of 291

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please promptly notify lhe sender by e-mail, and destroy all copies of the transmission. Thank you.

From: Minogue, Stephanie

Sent: Wednesday, December 9, 2020 3:21 PM

To: 'Premdays.Inc' <Premdays.Inc@protonmail.com>
Ce: Johnson, Edward <johnsene@dany.nyc.qov=
Subject: RE: MTA Case

Good afternoon Ms, El-Bey,

{'m sorry that you are having issues filing your claims against the MTA. But again, unfortunately we can’t help you with your lawsuit. Our office is only working on the
criminal investigation related to your case, which is tolaliy separate from your fawsuit. Also, as | mentioned before, the laws about grand jury investigations being
confidential means we are not ailowed to share information about your case with anyone while the case is ongoing, except people like Lieutenant Hosein whe are
helping us with the investigation.

| know you are underslandably very concerned about being reimbursed for al! the properly ihat was iost, so { sent your email to our Witness Aid Services Unit. Thay
have a lot more information on things the government can do to heip reimburse the victims of crime that don’t depend on you filing a lawsuit. They also have a list of pro
bono agencies that you may be able to taik to about your claim against the MTA even though our office can’t heip you with the lawsuit. Someone from the Witness Aid
Services Unil will sand you an email over the nex! lew days to talk fo you about your case and whal options you might have,

Bast,

Stephanie Minoque

Assistant District Attorney

Public Corruption Unit

New York County District Allorney’s Office
1 Hogan Place, Room 755

New York, NY¥ 10043

O: 212.335.9099

C: 646.954.2750
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 220 of 291

8/31/2021 Search | Premdays.Inc@protonmaii.cam | ProtenMail

Ny company design

Sent: ¢ Friday, January 17, 2020 1:59 AM
From: Premdays.inc Premdays.Inc@protonmail.com

To: dhosein@mtapd.org dhosein@mtapd.org, Hosein, Derek DHOSEIN@mtapd.org

https: /Avww.instagram.com/p/BuKO-IFADDY/?igshid=1octdk3y5rxv6m

Sent from ProtenMail Mobile

htips://old.protonmail.com/search/eSBOYlqJbzNmGhndAZDTcRLPdO18sVN-SmaF SUPXINZ TtUCPE KGwSvhEoOL3f5SrgC ZylQ27infS8BZmDEjutwe=?... 4/4
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 221 of 291

8/31/2021 Search | Premdays.Inc@pretonmail.com | ProtanMail

RE: MTA Case

Received: @¢ Friday, May 28, 2021 10:40 AM
From: Minogue, Stephanie MinogueS@dany.nyc.gov
To: "Premdays.Inc’ Premdays.inc@protonmaii.com

CC: Johnson, Edward johnsone@dany.nyc.gov

Good morning Ms. El-Bey,

| hope that you have been doing well and staying safe and healthy. I'm writing to update you on the investigation of the encounter you had with two MTA police officers
at Penn Station in January 2020. We were able to review surveillance video and speak to 4 number of witnesses, and bring the officers in for questioning as well.
Unfortunately, we simply coufd nat find enough evidence tc establish beyond a reasonabie doubt — the standard we are required to meet in a criminal case ~ that either
of the officers committed a crime, GQne obstacle in particular was that several of the surveillance cameras at Penn Station were not working that night, including the

cameta in the elevator where the incident took place, We also were unable to find any eyewitnesses to the incident itself,

{do want to fet you know that both officers are still going to face disciplinary charges because of the work that Lieutenant Hosein with the MTA’s internat Affairs Bureau

did in investigating your case. The fact that we can't go forward with criminal charges Is not going to change that.

If you have any questions about the auicome of aur investigation, please da not hesitate to reach out. You can either email me at this email address, or contacl me at
212 335 9099.

Best regards,

Stephanie Minogue

Deputy Chief

Police Accountability Unit

New York Counly District Allorney's Office
1 Hogan Place, Room 755

New York, NY 10013

O: 212.335.9099

GC: 646.954.2750

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From: Jason Barnes <JaBarnes@MTAHQ.org>

Date: Thursday, August 12, 2021 at 10:50

To: "Premdays.Inc" <Premdays.ijnc@protonmail.com>

Subject: Re: El-Bey v. MTA Notice of Claim Examination... Nice chatting with you

Your audio keeps cutting out as weil. | think your internet connection is part of the problem.

Do you have a stable internet connection you can use?

Jason Douglas Barnes

Assistant Associate Counsel

Metropolitan Transportation Authority

2 Broadway, C485

New York, NY 10004

jabatnes@mtaha.org

212-878-7215 (T)

212-878-7398 (F}

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From: Jason Barnes <JaBarnes@MTAHQ org>

Date: Thursday, August 12, 2021 at 10:23

To: "Premdays.Inc" <Premdays.Inc@protonmail.com>

Subject: Re: El-Bey v, MTA Notice of Claim Examination... Nice chatting with you

Okay, thanks for letting me know. I'm sure they will resolve this for you soon. Sorry again for the difficulties.

Jason Dougias Barnes

Assistant Associate Counsel
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 223 of 291

Metropolitan Transportation Authority

2 Broadway, C4.85

New York, NY 10004

jabarnes@mlahg.org

212-878-7218 (T)}

212-878-7398 (F)

559-684-2798 (C} (During coronavirus-related remote work)

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From: “Premdays.Inc" <Premdays.Jnc@protonmail.com>

Reply-To: "Premdays.inc” <Pramdays.Inc@protonmail.com>

Date: Thursday, August 12, 2021 at 10:22

To: Jason Barnes <JaBarnes@MTAHQ.org>

Subject: Re: El-Bey v. MTA Notice of Claim Examination... Nice chatting with you

she sound sc confused, she said they've been having issued this morning she put me on hold now she
transfer me to some gentleman

Queen Prinyah Godiah Nefertiti Ma'at Imin Amon Amun Payne El-Bey

CEO & Founder of
Premdays.Inc
Sent with ProtonMail Secure Email.

worsen Original Message -------
On Thursday, August 12th, 2021 at 7:15 AM, Barnes, Jason <JaBarnes@MTAHO.org> wrote:

Okay. Sorry for the difficulties you're having. | hope that they can hejp you get in soon.

Jason Douglas Barnes
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 224 of 291

Assistant Associate Counsel

Metropalilan Transportation Authorily

2? Broadway, 04.95

New York, N'Y 10004

Jabarnes@mtang.org

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From: "Premdays.inc” <Premdays.Inc@protenmail.com>

Reply-To: "Premdays.inc"” <Premdays.Inc@protenmail.com>

Date: Thursday, August 12, 2021 at 10:14

To: Jason Barnes <JaBarnes@MTAHQ.arg>

Subject: Re: El-Bey v. MTA Notice of Claim Examination... Nice chatting with you

it’s telling me am not eligible to foin the zoom meeting.

| will call her now, thanks.

Queen Prinyah Godiah Nefertiti Ma'at Imin Amon Amun Payne Ei-Bey

CEO & Founder of

Premdays.Inc

Sent with ProtonMail Secure Email.

nonceee Original Message -------
On Thursday, August 12th, 2021 at 7:04 AM, Barnes, Jason <JaBarnes@MTAHQ. org> wrote:

lf you have trouble joining, please cali Lexitas at 516-678-0700 to speak with a technician who can
assist you.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 225 of 291

If you are going to cail them, please fet me know, so | can tefl the court reporter and she can fet the
technicians knaw you'll be calling.

Thanks,

Jason Dougias Barnes

Assistant Associate Counsel

Metrapolitan Transportation Authority

2 Broadway, C4.85

New York, NY 10004

jabarnes@mtaha.org

212-878-7215 (T}

212-878-7398 (F)

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af JaBarnestoMTAHQorg.

From: Jason Barnes <JaBarnes@MTAHQ.arg>

Date: Thursday, August 12, 2021 at 10:01

To: "Premdays.Inc" <Premdays.Inc@protonmaii.com>

Subject: Re: El-Bey v. MTA Notice of Claim Examination... Nice chatting with you

Thank you for scheduling a LegalView remote proceeding with Lexitas. Below are some best
practices for a successful remote experience and the link to join.

Please email all exhibits to nyiristateheip@lexitaslegal.com to prevent any delays.
*“™*DBlease note YOU CAN forward this inviie to the appropriate person for participation***

Topic: EL-BEY V MTA
Time: Aug 12, 2021 10:00 AM Eastern Time (US and Canada)

Jain Zoom Meeting
https://gec02 safelinks. protection.outlook.com/?

 

YWiob0R1dVUzdz09&amp:daia=04%7C01%7 CJABARNES %4OMTAHG.ORG% /C929f58ac89704
21ap32408d958e2c479%7C79c07 380cc9841 bd8USb0aed25588f66% 7 CO%7C 1% 7 C837 63855367
thaWwiLCUXVCIBMn0%3D%7C2000&amp:sdata=SRJMRVVDiu1 ADSFM9BZ TeLhJjJHyBMGDW3
2mvhSrSik*sDéeamp,reserved=0

Meeting ID: 928 9541 5257
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 226 of 291

Passcode: 351181

One tap mobile

+16468769923, 9289541 5257# US (New York} 13126266799, ,92895415257# US
+(Chicago}

Dial by your location
+1 646 876 9923 US (New York}
+1 312 626 6799 US (Chicago)
+1301 715 8592 US (Washington DC)
+1 253 215 8782 US (Tacoma)
+1 346 248 7799 US (Houston)
+1 669 900 6833 US (San Jose)
Meeting ID: 928 9541 5257
Find your local number: fittos://goc0?. safelinks protection. outlook.com/?
url=nttps %3A%2F %2Flexitas. zoom,.us %2Fu%2F abCviTLohyN&amp daia=04%7CO1%7CJABARN
ESA 0MTANQ. ORG%7C929158ac89 (042 Teb32408de58e2c4 79% 7C79C07380c¢984 1 bd806b0ae

 

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Join by SIP
92895415257 @zoomcrc.com

Join by H.323

162.255.37.11 (US West}
162.255.36.11 (US East)
115.114.131.7 (India Mumbai)
115.114.115.7 (india Hyderabad)
213.19.144.110 (Amsterdam Netherlands)
213.244.140.110 (Germany)
103.122.166.55 (Australia Sydney)
103.122.167.55 (Australia Melbourne)
149.137.40.110 (Singapore)
64.211.144.160 (Brazil)
149.1437.68.253 (Mexico)
69.174.57.160 (Canada Toronto)
§5.39.152.160 (Canada Vancouver)
207.226.132.110 (Japan Tokyo)
149,437.24.110 (Japan Osaka)
Meeting ID: 928 9541 5257
Passcode: 351181

Join by Skype for Business

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£960;

    

 

 

 

 

 

 

 

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Jason Douglas Barnes

Assistant Associate Caunsel

Metropolitan Transportation Authority

2 Broadway, C4.85

New York, NY 70004

jabarnes@miaha.org

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559-684-2798 (C} (During coronavirus-related remote wark}

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at JaBames@MTANQ.ons.

From: "Premdays.Inc" <Premdays.Inc@protonmail.com>

Reply-To: “Premdays.|Inc* <Premdays.inc¢@protonmail.com>

Date: Thursday, August 12, 2021 at 10:00

To: Jason Barnes <JaBarnes@MTAHQ.org>

Subject: Re: El-Bey v. MTA Notice of Ciaim Examination... Nice chatting with you

What is that link, since whatever was send to me that day that | could not open the file/open it | had
send you an email then you had replied back for this meeting this morning, just please send me the
zoom link, thanks.

Queen Prinyah Godiah Nefertiti Ma‘at imin Amon Amun Payne El-Bey

CEO & Founder of
Premdays.inc
sent with ProtoenMail Secure Email.

mencon Original Message -------
On Thursday, August 12th, 20271 ai 6:52 AM, Barnes, Jason <JaBames@MTAHQ.org> wrote:
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 228 of 291

Yes. You should have received a Zoom invitation from Lexitas, the court reporter company we
use,

Thanks,

Jason Douglas Barnes

Assistant Associate Counsel

Metropolitan Transportation Authority

2 Broadway, C4.85

New York, N'Y 10004

jabarnes@milahq.org

212-878-7215 (T}

212-878-7398 (F}

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in emroy, please contact me af i2bames@haTAH ©.org.

From: "Premdays.Inc” <Premdays.Jnc@protonmail.com>

Reply-To: “Premdays.Inc" <Premdays.inc@protonmail.com>

Date: Thursday, August 12, 2027 at 09:50

To: Jason Barnes <JaBarnes@MTAH@. org>

Subject: Re: El-Bey vy. MTA Notice of Claim Examination... Nice chatting with you

Good Day,

Are we still on for this morning?

Queen Prinyah Godiah Nefertiti Ma‘at [min Amon Amun Payne El-Bey

CEO & Founder of

Premdays.Inc
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 229 of 291

Sent with ProtonMail Secure Email.

woonen Original Message -------
On Friday, August 6th, 2021 at 6:36 AM, Premdays.Inc <Premdays.Inc@protonmail.com>
wrote:

Okay, great please let me know

Queen Prinyah Godiah Nefertiti Ma‘at Imin Amon Amun Payne EF-Bey

CEO & Founder of

Premdays.inc

sent with ProtonMaii Secure Email.

ceoeees Original Message -------
On Friday, August 6th, 2021 ai 6:32 AM, Bares, Jason <JaBarnes@MTAHQ.org> wrote:

Dear Ms. El-Bey,

As we discussed on the telephone yesterday, we will NOT be meeting today
because court reporters were unavailable and because of the coronavirus.

| am trying to get the court reporter company to confirm that they will be at a virtual
meeting (via Zoom, Microsoft Teams, or similar) on Thursday, August 12, 2021 (i.e.
next week).

| will let you know soon if they are available for the 12"” or if it will have to be one of
ihe other days you said you were available.

Thank you,

Jason Douglas Barnes

Assistant Associate Counsel

Metropolilan Transportation Authority
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 230 of 291

2 Broadway, C4.85

New York, NY 109004

jabarnes@mtahq.ora

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hava received this o-mail in error, please contact me at JaBarnesi@M LAL are.

From: "Premdays,Inc” <Premdays.Inc@protonmail.com>

Reply-To: “Premdays.Inc" <Premdays.Inc@pretenmail.com>

Date: Thursday, August 5, 2021 at 19:40

To: Jason Barnes <JaBarnes@MTAHQ.org>

Subject: Re: Ei-Bey v. MTA Notice of Claim Exarnination... Nice chatting with you

For safety what program shall] download or you guy's will be used for the meeting in
my computer?..

Queen Prinyah Godiah Nefertiti Ma‘at Imin Amon Amun Payne El-Bey

CEO & Founder of

Premdays.inc

Sent with ProtonMail Secure Email.

wrosen Original Message -------

On Thursday, August 5th, 20214 at 2:50 PM, Bames, Jason <JaBarnes@MTAHQ.org>
wrote:

Dear Ms. El-Bey,

it was nice talking with you as well.

! am writing to confirm that | received the documents you attached to this email
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 231 of 291

and in a separate email. | also received the email in which you clarified the
different email accounis you have.

jam still waiting for the company that provides the court reporters for our
examinations to confirm that they will be able to do a virtual meeting on Thursday,

August 5, 2021. | expect thai they will do so by tomorrow morning and will let you
know when they do. Thank you for your patience with this.

Best,

Jason Douglas Barnes
Assistant Associate Counsel
Metropolitan Transportation Authority
2 Broadway, C4.85

New York, NY 19004

  

jabarnes@mtahg.ora

242-878-7215 (T)
212-878-7398 (F}
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From: "Premdays.inc" <Premdays.Inc@protonmaii.com>

Reply-To: "Premdays.inc" <Premdays.Inc@protanmail.com>

Date: Thursday, August 5, 2021 at 15:29

To: Jason Barnes <JaBarnes@MTAHQ.org>

Subject: Re: E+ Bey v. MTA Notice of Claim Examination... Nice chatting with you

Good Day Sir,

it was nice taiking to you briefly over the phone so far this is the information that
we spoke about.

Please feel free to contact me at (2120804-8688 or my Florida home (754)444-
1843

Queen Prinyah Godiah Nefertiti Ma'at Imin Amon Amun Payne El-Bey
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21

CEO & Founder of

Premdays.Inc

Sent with ProtonMail Secure Email.

rocco Original Message -------
On Thursday, August 5th, 2021 at 12:15 PM, Premdays.|Inc
<Premdays.inc@protonmail.com=> wrote:

Good Day,
| nad send you an emailed. Please call me at (212)804-8688. Thanks.

j rather do it virtual or over the phone because am concern about covid-19

Queen Prinyah Godiah Nefertiti Ma'at min Amon Amun Payne El-Bey

CEO & Founder of

Premdays.inc

Sent with ProtonMail Secure Email.

seecone Original Message -------
On Thursday, August 5th, 2021 at 9:36 AM, Barnes, Jason
<JaBarnes@MTAHG.org> wrote:

Dear Ms. El-Bey,

| represent the Metropolitan Transportation Authority (MTA’) with regard
to your notice of claim filed against it. (Please note that the MTA, the New
York City Transit Authority CNYCTA”), and the City of New York are each
separate legal entities and any interaction you may have had with the
NYCTA or the City does not govern the MTA.)

A copy of your notice of claim that the MTA received and the notice of
examination I sent in response are attached to this email. And an email
thread between myself and your attorney at the time, Yan Fu, who
recently told me he is no longer your attorney, is below.

Page 232 of 291
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 233 of 291

As is reflected in the thread below, | previously scheduled an examination
of you under oath pursuant to Public Authorities Law Section 1276
through Mr. Fu, for tomorrow, August 6, 2021.

Mr. Fu informed me that you wished to do the examination in person, and
nai through Microsoft Teams.

However, | have been informed that the court reporter service that the
MTA uses is unable to send a reporter for an in-person examination
tomorrow, but would be able to do it virtually instead or reschedule.
Additionally, there is a concern about doing an examination in person,
because your attorney informed me previously that you were not
vaccinated against the COVID-19 virus, and there have recently been
news reports of the virus’s delta spreading between vaccinated and
unvaccinated people.

Would you be able to participate in a virtual examination tomorrow,

or would you like me to reschedule the examination for a future date
at which it can safely be done in person?

Please let me know by email as soon as possible.

Best regards,

Jason Douglas Barnes
Assistant Associate Counsel
Matrapolitan Transportation Authority
2 Broadway, C4.85

New York, NY 10004
jabarnes@mtahg.org

212-878-7215 (T)

212-878-7398 (F}

559-684-2798 (C} (During coronavirus-related remote work}

This wectonie message contanis iofatmation irom the Legal Department of ite MTA. The contents may be privileged and confidential and are
intended for the use of he intended adtressee{s} aniy. ff you ve not an intended adcressee, note fital any disclosure, copying, distribulion, or use

of ihe contents of this message is prohibited. H vou have received this e-mail in error, please comact me at faBarnes@M TAO, arg.

From: Jason Barnes <JaBames@MTAHQ.arg>
Date: Monday, July 42, 2021 at 18:30
Case 1:20-cv-00524-LTS-GWG

To: Yan Fu <yfu@thefufirm.com>
Subject: Re: El-Bey Claim

Yan,

Okay, we'll do that.

Thanks,

Jason Douglas Barnes
Assistant Associate Counsel
Metropolitan Transporation Authority
2 Groadway, C4.85

New York, NY 10004
jabarnes@oxtahg.org

212-878-7215 (T)

212-878-7398 (F)

550-684-2798 (C} (During coronavirus-related remote wark)

Document 38

Filed 09/09/21 Page 234 of 291

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intended for the use of the infanded addressee(s} anly, # you are not an intended addrassoo, nole that any disclosure, copying. distribution, or use

of the contents of this massage is prohibited. Hf you fave received this e-mail in error, ploase contact me at,

From: Yan Fu <yfu@thefufirm.com>

Date: Monday, July 12, 2027 at 18:26

To: Jason Barnes <JaBarnes@MTAHO.org>
Subject: Re: El-Bey Claim

 

Can we pencil in August 6 if you still think it will work? As the date
approaches, if you realize that it won't work, we can reschedule for a

remote deposition.

On Mon, Jul 12, 2021 at 6:07 PM Barnes, Jason <JaB

wrote:

No, sorry, the 5!"

  

is no good for me. Later is better.

s@niang.org>
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 235 of 291

Jason Douglas Barnes

Assistant Associate Counsel

Metropolitan Transportation Authorily

2 Broadway, 4.85

New York, NY 10004

jabarnes@mtahq.org

212-878-7215 {T)

212-878-7398 (F)

599-684-2798 (C) (During corcnavirus-related remote wark)

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Gf the contents of this message is prohibned. Hf you have received this e-niaif in error, please contact me at JaGarmeoteheiTAl |Quara.

From: Yan Fu <yludithefufirm.com>

Date: Monday, July 12, 2021 at 17:48

To: Barnes, Jason <JaBarnes@MTAHQ.arg=
Subject: Re: El-Bey Claim

she can't do the 10th. Can you do August 5?

Yan Fu

The Fu Firm PLLC

43 West 43rd Street, Suite 205
New York, NY 10036

Office: (212) 584-0581

www. thefufirm.com

On Mon, Jul 12, 2021, 4:11 PM Barnes, Jason <JaBarnes@rmtahg.org>
wrote:

Yan,

Any luck with 8/10?

Thanks,

Jason Douglas Barnes
Assislant Associate Counsel

‘Metropolitan Transportation Authority
Case 1:20-cv-00524-LTS-GWG

> Broadway, C4.65
Now York, NY 10004
jabarnes@mtahq.org
212-878-7215 (T}

‘212-878-7398 (F)

‘659-684-2798 (C} {During coronavirus-related remote work)

Document 38 Filed 09/09/21 Page 236 of 291

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lof the contents of this message is prohibited. Hf you have received this e-mail in error, please contact me at JaBaroesisit TAQ.Grg.

From: Jason Barnes <JaBarnes@MTAHQ.org>
Date: Saturday, July 10, 2021 at 42:14

To: Yan Fu <yfu@thelulicm.com>
Subject: Re: El-Bey Claim

Much appreciated.

Jason Douglas Barnes
Assistant Associate Counsel
Metropottan Transporation Authority
2 Broadway, 4.85

New York, NY 10004
jabames@mlaha.org

212-378-7215 (7)

212-878-7398 (F}

559-684-2798 (C) (During coronavirus-related remate work}

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intended for the use cf fhe intanded addresseefs} only. if you are oot an inteaded addressee, note that any disclosure, copying, distribution, or use

 

From: Yan Fu <yfu@thefufirm.cam>
Date: Saturday, July 10, 2021 at 12:07
To: Jason Barnes <JaBarnes@MTAHQ.org>

Subject: Re: El-Bey Claim
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 237 of 291

I'll see if she can do 8/10. I'm out of town after that.

Yan Fu

‘The Fu Firm PLLC

43 West 43rd Street, Suite 205
New York, NY 10036

Office: {212) 584-0581

www.thefufirm.com

On Sat, Jul 7G, 2021 at 12:05 PM Barnes, Jason
s@mtahe

  

| believe 8/6 will work, although the following week (other than Monday)
would be better for me if your client will still be around.

‘Thanks,

Jason Douglas Barnes

Assistant Associate Counsel

Metropolitan Transportation Authority

‘2? Broadway. 04.85

New York, NY 10004

jabarnes@mtahq.org

212-878-7245 (T)

212-878-7398 (F)

559-684-2798 (C) (During coronavirus-related remate work)

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of the contents of tiis message is prohibited. ff you have received this e-mail in orron please contact me af JaBeries(PYTAHO.ora.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 238 of 291

From: Yan Fu <yfu@thefulirm.com>

Date: Friday, July 9, 2021 at 13:20

To; Jason Barnes <JaBarnes@MTAHQ.arg>
Subject: Re: E-Bey Claim

Jason,

‘My client is available on August 6 for the examination if that works for
you. She will be in the NYC area during that time.

| also misunderstood her vaccination status. She is actually NOT
vaccinated due to an underlying condition.

With that said, I'm still willing to do the examination in person {and I'm
vaccinated). | am also good with taking reasonable precautions - she
said she is used to wearing two masks. If you would prefer that she
appear virtually, that is afso fine.

Yan Fu

The Fu Firm PLLC

43 West 43rd Street, Suite 205
New York, NY 10036

Office: (212) 584-0584

www. thefufirm.com

‘On Thu, Jul 8, 2021 at 11:43 AM Yan Fu <yfuG@ithefufirm.com> wrote:

iam also glad.

My client and ! are both vaccinated. For what it's worth, | just saw a NY
Times notification that fully vaccinated people are protected against the
Delta variant.

4 will let you know as soon as my client lets me know when she will be in
back in the area. !'ll try and give you as much heads up as possible.
-Otherwise, we can discuss dates for a virtual examination as we get
closer io August. I'll be out of town August 17-23.

‘Thanks.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 239 of 291

Yan Fu

‘The Fu Firm PLLC

43 West 43rd Street, Suite 205
New York, NY 10036

‘Office: (212) 584-0581

www.thefufirm.com

‘On Thu, Jul 8, 2021 at 10:21 AM Barnes, Jason <JaBatnes@mtahg.org>
wrote:

‘Yan,

Sounds goad. | agree. 1 am glad we could resolve the murkiness of
-service during the Pandemic this way.

I'm happy to do it in person at 2 Broadway, as long as the information
‘about vaccine effectiveness for the variants does not change. It would
-also be helpful to know if you and Ms. El-Bey have received one of the
:vaccines. | can try to secure a court reporter who also has—we normally
‘use Dietz for these.

‘As for dates, | presently have appearances or other obligations on 7/14,

7121, 8/9, 8/24, 9/2-9/7, 9/29-30. I’m trying to schedule something where
ll be unavailable for a week or two, but don’t know the dates yet.

“Thanks,

‘Jason Douglas Barnes

“Assistant Associate Counsel

‘Metropolitan Transportation Authority

‘2 Broadway, C4.85

‘New York, NY 10004

jabames@mtahg.org

"212-878-7215 {T)

a1 2-878-7 398 (F)

$59-684-2798 (C) (During coronavirus-related remote work)

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 240 of 291

Metropeclitan Transportation Authority
? Broadway, C4.85

New York, NY 40004
jabarnes@mitaha.erg

212-878-7218 (T}

212-878-7398 (F}

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intondad addressee, note Mat any disclosure, copying, dieiibution, er use of the centents ef this message is prchibited. ff you have received ihis e-mail in error, please contact me at JaBarneseh TANG, org.

From: “Premdays.Inc" <Premdays.Inc@protonmail.com>
Reply-To: "Premdays.inc" <Premdays.!nc@protonmail.com>
Date: Thursday, August 19, 2021 at 12:42

To: Jason Barnes <JaBarnes@M TAHQ.org>

Subject: update about the hearing confrence

Good Day,

My meeting this morning with the Judge she will added the MTA and she granted me to amended my
complaint to added the other officers. 1 honestly hate to sue the MTA and the City Cf New York. This is not
easy for me but | need to get some forms of Justice. | will asked the Judge as this case move forward to have
those officers fire and never works for the systems ever again nor work in a place that they can access clients
personal records especially for Crocillo. MTA nor the City Of New York is not my enemies, but MTA have bad
apples amongst them that can destroy good applies. | though | shauid email you that MTA will be put back in
ihe sue list and the City Of New York will be remove but | have the options to add the City

Queen Prinyah Godiah Nefertiti Ma’at Imin Amon Amun Payne El-Bey

CEO & Founder of

Premdays.|Inc

Sent with ProtonMail Secure Email.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 241 of 291

Thanks,

Sincerely,

Queen Prinyah Godiah Nefertiti Ma'at Imin Amon Amun Payne El-Bey

CEO & Founder of

Premdays.inc

  

Sent with ProtonMail Secure Email,

wontons Original Message -------
On Friday, August 20th, 2021 at 8:21 AM, Barnes, Jason <JaBarnes@@MTAHQ. org> wrote:

Dear Ms. El-Bey,
Thank you for letting me know about what happened at the conference.

When you have drafted the amended complaint and need to serve it on the MTA, please be advised that the
MTA is currenily still accepting service by email in lieu of personal service, by emailing the document to
yvclement@mtahq.org (complete upon receiving acknowledgment). Or | can accept service on behalf of the
MTA for this case. Additionally, we currently anticipaie that law department staff will be in the office and able
to accept personal delivery of documents beginning September 7.

Regarding your reasons for wishing to add the MTA, you may want to ask the Court's Pro Se Office
{https://www.nysd.uscourts. gov/prose/role-of-the-prose-intake-unit/contact) or a pro bono attorney, if the court
appoints one, for advice about that. As much as it might make sense to fire an officer who did the things you
allege he did, that is not the sort of remedy that a court awards when you win a case. Instead, what you
would likely get is money damages, which could either come from the officer himself or the MTA, depending
on the circumstances, and in rare instances there might be an order that the MTA has to implement additional
training. | am unable to advise you about this, because | am not your attorney, but] highly encourage you to
ask someone else who is knowledgeable about the law about this issue.

Best wishes,

Jason Douglas Barnes

Assistant Associate Counsct
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 242 of 291

CEO & Founder of

Premdays.inc

Sent with ProtonMail Secure Email.

nonce Original Message -------
On Thursday, August 5th, 2021 at 9:36 AM, Barnes, Jason
<JaBarnes@MTAHQ.org> wrote:

Dear Ms. El-Bey,

| represent the Metropolitan Transportation Authority (“MTA”) with
regard to your notice of claim filed against it. (Please note that the
MTA, the New York City Transit Authority (“NYCTA"), and the City of
New York are each separate legal entities and any interaction you
may have had with the NYCTA or the Cily does not govern the MTA.)

A copy of your notice of claim that the MTA received and the notice of
examination 1 sent in response are attached to this email, And an
email thread between myself and your attorney at the time, Yan Fu,
who recently told me he is no longer your attorney, is below.

As is reflected in the thread below, | previously scheduled an
examination of you under oath pursuant to Public Authorities Law
section 1276 through Mr. Fu, for tomorrow, August 6, 2021.

Mr. Fu informed me that you wished to do the examination in person,
and not through Microsoft Teams.

However, | have been informed that the court reporter service that
the MTA uses is unable to send a reporter for an in-person
examination tomorrow, but would be able ito do it virtually instead or
reschedule. Additionally, there is a concern about doing an
examination in person, because your attorney informed me
previously that you were not vaccinated against the COVID-19 virus,
and there have recently been news reports of the virus’s delta
spreading between vaccinated and unvaccinaied people.

Would you be able to participate in a virtual examination

tomorrow, or would you like me to reschedule the examination
for a future date at which it can safely be done in person?

Please let me know by email as soon as possible.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 243 of 291

8/31/2021 Sent | Premdays.Inc@protonmail.cam | ProtonMail

Re: update about the hearing confrence

Received: # Sunday, August 29, 2021 7:41 PM
From: Barnes, Jason JaBarnes@MTAHQ.org

To: Premdays.inc Premdays.Inc@protonmail.com

Dear Ms. El-Bey,
| do not know what claims you could have against any union.

However, for what it is worth, my understanding is that MTA police officers are members of a labor union called the
Metropolitan Transportation Authority Police Benevolent Association. That union is a private organization that is not
affiliated with the MTA, and I do not represent it. You can find the union's contact information on its website:

https a,cony

 

Best,

Jason Douglas Barnes
Assistant Associate Counsel
Metropolitan Transportation Authority
2 Broadway, C4.85

New York, NY 10004

jabarmes@m

 

212-878-7215 (T)
212-878-7398 (F)

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addressee, note Hrat any disclosure, copying, distribution, or use of the contents of tins message is profibited. ff you have received tis e-mail in error, please contaci me at Jabamey Gin TANG erg

From: "Premdays.Inc" <Premdays.Inc@protonmail.com=>
Reply-To: "Premdays.Inc" <Premdays.Inc@protonmail.com>
Date: Saturday, August 28, 2021 at 12:57

To: Jason Barnes <JaBarnes@MTAHG.org>

Subject: Re: update about the hearing confrence

Good Day,

i want to have the name(s), address(es} and phone number(s) of whatever Unions that will be part of this case or
MTA have that cover those MTA Policy Officers or the MTA Police Officer Unions.
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 244 of 291

‘From: Yan Fu <yfu@thefufirm.com>

Date: Thursday, July 8, 2021 at 08:16

Te: Barnes, Jason <JaBarnes@MTAHQ.org>
“Subject: Re: El-Bey Claim

Jason,

We would be willing to agree that, for purposes of Public Authorities Law
‘1276 and General Municipal Law 50-e, my client properly and timely filed
‘a notice of claim. Practically speaking, this would allow plaintiff to
include state law claims against the MTA in the federal action and MTA
would agree not to raise any notice of claim and statute of limitations
‘defenses, related to state law torts, under the Public Authorities or
‘General Municipal Laws.

‘This saves plaintiff and the MTA from litigation in state court over
whether plaintiff can file a late notice of claim (for what it's worth, we
‘would argue in part that the Governor's Executive Order 202.8, which
‘was extended several times, tolled the statute of limitations from March
.20, 2020 through November 3, 2020).

In exchange, we agree that your notice for examination pursuant to PBA
1276 is timely.

can't de August 23 since | have a planned vacation and | am returning
con that date. Happy to pick another date in late August or in September.
-My client just moved out of state but returns to the NYC area
“pericdically. She would actually prefer to do the examination in person if
we can schedule it for a date when she is here for another appointment.
“She is not sure yet about her availability in August or September.

Obviously, the manner of the examination is also subject to the MTA's
working protecci at that time and/or the convenience of the attorneys and
my client. ff it has to be virtual, then i will be virtual.

‘Let me know if you agree to all of this.

Yan Fu

The Fu Firm PLLC

43 West 43rd Street, Suite 205
New York, NY 10036

Office: (212) 584-0581
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 245 of 291

9/2021 Leyland C Crocilla - Police Officer - Metrapolitan Transportation Authority

Leyland C Crocilla

1. Empioyee Overview
2. Employer Overview
3. Position Information
4, Competitor

5. Register Information

49 elastic

Elastic Observabitity:
A free tier that scales

Get Started +>

 

Leyland C Crocilla

Metropolitan Transportation Authority

Employer: Metropolitan Transportation Authority
Position: Police Officer
Leyland © Crocilfa is employed with New York State (htips:/fopengovus.com/new-york-state-employee), Metropolitan Transportation Authority. The job title is Police

Officer.

name, employer, litle : Search

Just the thing you wanted
ebay

Employee Overview

Full Name  Cracilla, Leyland C
LastName Crocitia
FirstName Leyland

Middte Initial C

hitps://opengovus.carm/new-york-state-employee/Crocilla, Leyland_C 1/6
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 246 of 291

9/1/2021 Leyland C Crocilia - Police Officer : Metropolitan Transportation Authority
Authority Name Metropolitan Transportation Authority
Department Police Manhtin D4 Penn
Position Title Police Officer
Title Group Operational
Pay Type FT
Exempt Indicator N
Fiscal Year End Date 9 12/34/2016
Base Annualized Salary 401892,96
Actual Salary Paid = 114769.03
Overtime Paid 80851.20
Performance Banus 0.00
Extra Pay 0.00
Other Compensation 1229.72
Total Compensation $96,849.95
Paid by Another Entity N

Salary History
Year Position Title Base Salary Actual Salary Overtime Performance Extra Other
2016 Police Officer 101892.96 414769.03 §9851.20 6.00 0.90 $229.72
2076 Police Officer $101892,96 $114769.03 $80851.20 $9.00 $0.00 $1229.72
2015 ~~ Police Officer 100008.48 41474470 74346.81 0.00 0.00 1199.72
2015 Police Officer $100008.48 $114744.70 $74346.81 $0.00 $0.00 $1499.72
2014 Police Officer 9816144 109251 .27 60846.92 0.00 17852.05 1149.33
2014 = Police Officer $98161.44 $108251.27 $50846.92 $0.00 $17852.05 $1749.33
2013 Police Officer 88978.00 101846.00 71725,00 0.00 0.00 1100.00
2013 = Police Officer $88978.00 $101846.00 $71725.00 $0.00 $0.00 $1190.00
2012 = Police Officer 88978.24 101000.00 $0422.33 0.90 0.00 1050.00
2012 Pofice Officer $88978.24 $104000.00 $50122.33 $0.00 $0.00 $1050.00
2011 Police Officer 87981.92 100040.85 55092.63 0.00 0.00 1000.00
2014 Police Officer $8798 1.92 $100040.85 $55092.63 $0.00 $0.00 $1000.00

Google Chrome

Chrome has the smarts and speed you need to create and explore online.

https://epengovus.com/new-york-stale-employee/Craciila, Leyland _C

Total Compensation
$96,849.95
$96,849.95
$87,291.23
$87,291.23
$89,099.57
$89,099.57
$74,674.00
$74,871.00
$52,172.33
$52,172.33
$56,133.46

$56,133.48
9/1/2021

 

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 247 of 291

Sat GAS

s start mouihly, ¢

mye b
bay ob
Lat pie

Leyland C Crocilla + Police Officer - Metropolitan Transportation Authority

 
 

:, Direct from London.

& Directions

Ad hitps-/Awww.truckershookkeepingservice. com/free/autharity ¥

 

Get Your Autharity For Free - MC/DOT & BOCS3 Authority

$200 FMCSA filing appties. No orocessing fees at all. Quick & Easy. No
Gimmicks. Increase Your Profil. Free Authorily. Maintain Compliance.
Gain independence. Services: MC Authority, DOT Campliance,
Permits, IFTA Fuel Tax Reporting, IRP, Trailer Tags.

 

 

Transportation Experts Permitting and
Our Goal Is To Eliminate Confusion TBS helps you gt
4 Improve Your Cash Flow Today. star. making mor

Ad blips www beenverifiad.com/public records/peoule search ¥

We Found Croejita - View Public Racords Online

 

See Crovi#la’s Public Records For Phane Number, Address, Email &

More. Lookup Any Name...

Find Contact infarmation Social Media Profiles
Email Address Lookup

Personal Dashboard

 

> Directions

Employer Overview

'#.Metropolitan Transportation Authority New ‘ark State

Maximum Salary $0

Average Salary $0

Employees with the same employer

Authority Position
Joseph R Cona (htips://opengovus.com/new-york-state- Metropolitan Transportation Sergeant
empioyee/Cona%2C_Jaseph_R} Authority

https://opengevus.com/new-yark-state-employee/Craocilia, Leyland_C

 

 

Compensation

$99,882

3/6
Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 248 of 291

9/1/2024

Thomas G Vernon (hiips://opengovus.com/new-yark-state-
empioyee/Vernan%2C_Thormas_G)

Daniel M Piroscafo {ntlps:/opengovus.com/new-york-state-
employee/Piroscafo%2C_Daniel_M}

Maria G Nunez {hilps://fopengovus.com/new-york-state-
employee/Nunez%2C_Maria_G)

Timothy J Buckley (hitos://opengovus.com/new-york-state-
employee/Buckley%2C_Timothy_J}

Peter M Torregrossa (hitps://opengavus.com/new-york-state-
employee/Torregrossa%2C_Peter_M}

John Gaito (https-//opengovus.com/new-york-state-emnployee/Gaito%2C_John}

John A Fabilli (https://opengovus.com/new-york-state-
employee/Fabilli42C_John_A)

William Scheuer (htps://opengovus.com/new-york-state-
employee/Schever%2C_ William}

Charles E Glasgow (https://opengovus.com/new-york-state-
employee/Glasgow%2C_Charles_E)

Position Information

Employees with the same position and employer

Name

Stephen O Burns (https:/fopengovus.com/new-york-state-employee/Burns%s2C_Stephen_O}

Maurice A McKay {https://opengovus.cormn/new-york-state-employee/McKay%2G_ Maurice Aj

Frederick H Weeks (hitps://opengovus.cam/new~yark-state-
employee/Weeks%2C_Frederick_H)

Vinny K Pharm (hitos:/fopengovus.com/new-york-state-employee/Pham%2C_Vinny_K}

Claus G Schmid {https /opengovus.cam/new-york-state-ermnployee/Schmid%2C_Claus_G)

Vanessa Parker {ntips://opengovus.com/new-york-siate-empioyee/Parker%azC_ Vanessa}

Robby M Anderson (hitps://opengovus.com/new-york-state-
employee/Anderson%e2C_Robby_M)

Salvatore Surleti (https://opengovus.com/new-york-state-employec/Surletiv2C_Salvatore}

ohron H Preddy (https://opengovus.com/new-york-state-employee/Preddy%2C_Kohron_H}

Daniel C Monahan (https://opengovus.com/new-york-state-
employee/Monahan%2C_ Daniel_C}

Employees with the same position

Name

Stephen © Burns {https://opengovus.com/new-york-state-employee/Burns%2C_Stephen_O}

Maurice A McKay (hitps://opengovus.com/new-york-state-employee/McKay%20_Maurice_A}

Frederick H Weeks (hitps://opengovus.com/new-york-state-
employee/Weeks%2C_Frederick_H}

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Leyland C Crocilla - Police Officer - Metropolitan Transportation Authority

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Conductor

Supysg Agent-Penn

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Sergeant

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$96,295

$95,841

$99,816

$89,739

$85,114

$83,469

$79,936

$76,282

$74,662

Compensation

$97,034

$96,295

$95,841

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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 249 of 291

9/1/2024 Leyland C Crocilla - Police Officer - Metropolitan Transportation Authority

Vinny K Pham {ntips:/fopengovus.com/new-york-state-em ployee/Pham%s2C_Vinny_K} Metropolitan Transportation Police $89,816
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Claus G Schmid (hitos://opengovus.com/new-york-state-employee/Schmid%2C_ Claus_G) Metropolitan Transportation Police $89,739
Authority Officer

Vanessa Parker (htlos://opengovus.com/new-york-state-employee/Parker%2C_Vanessa} Metropolitan Transportation Police $85,114
Authority Officer

Robby M Anderson (htips:/fopengovus.com/new-york-state- Metropolitan Transportation Potice $83,469

employee/Anderson%2G_Robby_M) Authority Officer

Salvatore Surleti (https://opengovus.com/new-york-state-e mployee/Surleti*2C_Salvatore} Metropolitan Transportation Police $79,936
Authority Officer

Kohron H Preddy (https://apengovus.com/new-york-state-employee/Preddy%2C_Kohran_H) Metropolitan Transportation Police $76,282
Authority Officer

Daniel C Monahan (htips:/opengovus.com/new-york-state- Metropolitan Transportation Police $74,662

employee/Monahan%2C_Daniel_C} Authority Officer

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Data Provider New York State, Authorities Budget Office

Jurisdiction New York State

This dataset includes 314 thousand employees worked in public authorities of New York State. Public authorities are required by Section 2800 of Public Authorities
Law to submit annual reports to the Authorities Budget Office that include salary and compensation data. The dataset consists of salary data by employee reported
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9/4/2021 Joyner y. The Metropolitan Transportation Authority ef al 1:2021cv00080 | US District Court for the Southern District of New York | Justia

 

_ Allen Joyner

| The Metropolitan Transportation Authority, MTA Police Officer Joseph Interdonati,
' Metropolitan Transportation Authority Police Department, MTA Police Officers John
- Doe #1-10, MTA Police Officer Leyland Crocilla and MTA Police Officer FNU Lomonaco

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| 1:2021cvO00080

: January 5, 2021

: US District Court for the Southern District of New York
: Paul A Engehnayer

: Civil Rights: Other

| 4211983

Plaintiff

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Joyner v, The Metropotitan Transportation Authority et ai 1:2024cv00080 | US District Court for the Southern District of New York | Justia

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. Filing 11, NOTICE OF INITIAL PRETRIAL CONFERENCE: The parties should call

- into the Court's dedicated conference line at (888) 363-4749, and enter Access Code

| 468-4906, followed by the pound (#) key. (And as further set forth herein.) SO

~ ORDERED. Initial Conference set for 4/8/2021 at 02:00 PM before Judge Paul A.
Engelmayer. (Signed by Judge Paul A. Engelmayer on 2/26/2021) (jca)

| Filing 1c ANSWER to Complaint. Document filed by MTA Police Officer Leyland

» Crocilla(Shield No. 2477, Individually), MTA Police Officer Leyland Crocilla(Shield No.,
‘2477, in his/her Official Capacity), MTA Police Officers John Doe #1-10(in their Official
- Capacity (the name John Doe being fictitious, as the true names are presently
unknown)), MTA Police Officers John Doe #1-10(Individually (the name John Doe

 

 

being fictitious, as the true names are presently unknown)), MTA Police Officer Joseph

» Interdonati(Shield No. 2481, Individually), MTA Police Officer Joseph Interdonati
(Shield No, 2481, in his Official Capacity), MTA Police Officer FNU Lomonaco((the

. name FNU being fictitious as the true first name is presently unknown), Shield No.

| 2470, Individually), MTA Police Officer FNU Lomonaco((the name FNU being fictitious
as the true first name is presently unknown), Shield No. 2470, in his/her Official

. Capacity), Metropolitan Transportation Authority Police Department, The Metropolitan
_ Transportation Authority..(Preston, Andrew)

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. Filing 9 WAIVER OF SERVICE RETURNED EXECUTED. MTA Police Officer FNU

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' Lomonaco((the name FNU being fictitious as the true first name is presently unknown),
_ Shield No. 2470, Individually) waiver sent on 1/22/2021, answer due 3/23/2021; MTA
Police Officer FNU Lomonaco((the name FNU being fictitious as the true first name is

. presently unknown), Shield No. 2470, in his/her Official Capacity) waiver sent on
1/22 /2021, answer due 3/23/2021. Document filed by Allen Joyner..(Fuchs, Ilyssa)

- Filing 8 WAIVER OF SERVICE RETURNED EXECUTED. MTA Police Officer Leyland -
Crocilla(Shield No. 2477, Individually) waiver sent on 1/22/2021, answer due

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. Capacity) waiver senton 1722/2021, answer due 3/23/2021. Document filed by Allen

. Joyner..(Fuchs, Ilyssa)

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Joyner v. The Metropolitan Transportation Authority et al 1:2021cv00080 | US District Court for the Southern District of New York j Justia

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. Filimg 7 WATVER OF SERVICE RETURNED EXECUTED. MTA Police Officer Joseph
» Interdonati(Shield No. 2481, Individually) waiver sent on 1/22/2021, answer due
3/23/2021; MTA Police Officer Joseph Interdonati (Shield No. 2481, in his Official

- Capacity) waiver sent on 1/22/2021, answer due 3/23/2021. Document filed by Allen
~ Joyner..(Fuchs, Hyssa)

Filing 6 SUMMONS RETURNED EXECUTED Summons and Complaint,,,, served.
' Metropolitan Transportation Authority Police Department served on 1/18/2021, answer
. due 2/8 /2¢ 2021. Document filed by Allen Joyner..(Fuchs, tlyssa)

Filing 5 SUMMONS RETURNED EXECUTED Summons and Complaint,,,, served.

_ The Metropolitan Transportation Authority served on 1/18/2021, answer due 2/8/2021.
- Document filed by Allen Joyner..(Fuchs, Ilyssa)

Filing 4 ELECTRONIC SUMMON S ISSUED as.to MICA Police Officer Lesland ___,
- Crocillat Shield No. 2477, Individually), MTA Police Officer Leyland Cr rocilla(Shield No.

 

 

 

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2477, in his/her Official Capacity), MTA Police Officer Joseph Inter donati(Shield No.

- 2481, Individually), MTA Police Officer Joseph Interdonati (Shield No. 2481, in his
- Official Capacity), MTA Police Officer FNU Lomonaco((the name FNU being fictitious
as the true first name is presently unknown), Shield No. 2470, Individually), MTA Police

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_ Officer FNU Lomonaco((the name FNU being fictitious as the true first name is
- presently unknown), Shield No. 2470, in his/her Official Capacity), Metropolitan

- Transportation Authority Police Department, The Metropolitan Transportation
Authority. sj)

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9/1/2021 Joyner v. The Metropolitan Transportation Authority et al 1;2021cv00080 | US District Court for the Southern District of New York | Justia

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Magistrate Judge Barbara C. Moses is so designated. Pursuant to 28 U.S.C. Section

| 636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed
before a United States Magistrate Judge. Parties who wish to consent may access the

: necessary form at the following link:

_ #https://nysd.uscourts.gov/sites/default/files/2018-06/A0-3. pdf. (s])

. Case Designated ECF. (sj)
Filing 3 3 CIVIL COVER SHEET filed..(Fuchs, Ilyssa)

Filing 2 2 REQUEST FOR ISSUANCE OF SUMMONS as to THE METROPOLITAN
TRANSPORTATION AUTHORITY,METROPOLITAN TRANSPORTATION

, AUTHORITY POLICE DEPARTMENT, MTA POLICE OFFICER JOSEPH
INTERDONATI, Shield No. 2481, MTA POLICE OFFICER FNU LOMONACO, Shield

- No, 2470, MTA POLICE OFFICER LEYLAND CROCILLA, Shield No. 2477, re: #1

| Complaint,,,,. Document filed by Allen Joyner..{(Fuchs, Ilyssa)

_ Filing 1 COMPLAINT against MTA Police Officer Leyland Crocilla(Shield No. 2477,.

' Individually), MTA Police Officer Leyland Crocilla(Shield No. 2477, in his/her Official

_ Capacity), MTA Police Officers John Doe #1-10(in n their Official Capacity (the name —

- John Doe being fictitious, as the true names are presently unknown)), MTA Police

: Officers John Doe #1-10(Individually (the name John Doe being fictitious, as the true

- Names are presently unknown)), MTA Police Officer Joseph Interdonati(Shield No.

_ 2481, Individually), MTA Police Officer Joseph Interdonati (Shield No. 2481, in his

- Official Capacity), MTA Police Officer FNU Lomonaco({the name FNU being fictitious

~ as the true first name is presently unknown), Shield No. 2470, Individually), MTA Police .

- Officer FNU Lomonaco((the name FNU being fictitious as the true first name is

. presently unknown), Shield No. 2470, in his/her Official Capacity), Metropolitan

_ Transportation Authority Police Department, The Metropolitan Transportation :
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_ Allen Joyner..(Fuchs, Ilyssa)

 

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Defendant: MTA Police Officer Joseph Interdonati

Represented By: Andrew Kenneth Preston

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Defendant: MTA Police Officers John Doe #1-10

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Defendant: MTA Police Officer Leyland Crocilla

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Defendant: MTA Police Officer FNU Lomonaco

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9/1/2021 Joyner v. The Metropolitan Transportation Authority et af 1:2021¢cvG0080 | US Cistrict Court for the Southern District of New York | Justia

Plaintuf: Allen Joyner
Represented By: Tlyssa S Fuchs

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friend whom work at Penn station Jenny. Several complaint:
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her to give to her father for me since she works 11/7 am afte
grabbed me an handcuff after he called another officer over,
him te instagram and block him from harrassing mw here als
orman book i was reading that i had my December investme
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in the elevator told me that "] can rapped you a kills you and
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#2477 push me broke my wheel dragged out from the eleva
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with my social security card is gone #me2movement @me-.
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Reply Forward

1/29/20, 1:58 PME
  
  

   
    

 

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SEE Department of Law

Claim Against

        
 

   

TO THE NEW York city TRANSIT AUTHORITY: SE ee
: herewith présent my claim against the NYC Transit Authority for personal injurie
“Claimant's Name trims Pie aX od a LL

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| Claimant's Full Address. ce ecles

   
 
   
   

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Location of Accident

  
 

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Description of Accident | __-

  
   

 

   

Witnesses to Accident—

  
 
  
 
 

Names and Addresses °

My Injuries Consisted of
Name.and Address of Doctor 7

Vame and Address of Hospital, if any Sf

 
  
   
  

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~ _ Other Expenses

 

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CHATS RAMIREZ |
a BL C-STATE OF NEW YORK
_. Notary puptig ee No. OFRAG227971:
Commissioner of Deeds Qualified.in New York County,

. My. Commission Expiras 09207-2022

 

 

   

  
 

Your n notarized claim | must be. filed either: ‘personally or: ‘by registered or  eetified mail within 00. gays from date ve
OF accident at the office ot NYG Transi . 1

  
  
  

 

 

 

 

 

 

 

: Date of Damage _

Place of Accident

 

 

State whether Subway — = _ Elevated Line

 

    
 
   
 
 
 
 
  
   

“Car or: Bus No: ee _ _Ditection _ Operators Name / Badge No.

 

 

 

 

"Name of Driver,

 

Driver’ Ss Address.

 

‘if Damage i is to! Property Other Than ¢ a 2 Vehicle, spect Tyee. Pre

 

 

Description of Accident _

 

Description of Damage"

 

Names and.Addresses of Passengers in Auto or Truck 3°

 

Names and Addresses of Witnesses to Accident

 

   

Estimated / Actual Cost of: Repairs attach itomized Statement $ _ _ _ ee Collision Insurance? nr’ a
sompany Name 1 Policy No. . - cae . = Has Claim Been Made against Company?
iny Prior or Subsquent Accidents

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CHRIS RAMIREZ,

PULL STATE OF NEW: VoRK
BAG227TS74

Yark County ’.”

 
 

 

(Signature of Clairiani)

 

 
  

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Commissioner of Deeds wits
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Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 267 o0f 291 _ |

 

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Date Route Vehicle or . . Station/Bus Stop/Intersection
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Time On Gs
face am. | E | w
aer p.m. | Other
innel Aileged Assault by Employee Equipment Defective Heating/Cooling {circle}

Closed Doors on Passengers

Failure to Act Against Fare Evasion
Failure to Announce Delay/Route

Failure to Assist Passenger or Cal! Police
Failure to Identify Self or to Display Badge
Passengers Discharged

Defective Lighting

Defective Turnstife
Leaks/Puddles (circle)

Failure to Announce Delay/Route
Littered Car/Bus/Station {circle}
Odors in Siation

Reckless Driving Rats/Roaches {circle}
Refused ts Accept Sr. CHizen/Disability ID Seats Dirty/Wet (circle)
Rudeness Miscellaneous _Dereticts

Shorichanging
Transfer or Block Ticket Dispute

__ Disorderly Passengers
__ Fare Evasion

ice = Bus Bunching __ Graffiti
Bypassing __... insufficient Police Coverage
Delays __.. Passenger Assaulted or Robbed

Express Bus Off Schedule

Locked Turnstile Employee's Description Badge#

Long Headways D Ae tH.

Overcrowding | \\

Poor Connections ANA Po \ (@ Shean C Cr. On.

Toilets

 

 

 

 

 

 

1ase be Aware: In the event our investigation results in disciplinary action against the NYC Transit Employee, it may be necessary for you to testify at
adminisirative hearing io sustain the Sw If it becomes oe would you be willing to testify? LO Yes L] No

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New York Clty Transit

Case 1:20-cv-00524-LTS-GWG Document 38 Filed 09/09/21 Page 286 of 291

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v
Description of incident, Suggestion or Commendation

 

 

 

 

 

 

 

 

     
 
 

 

 

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___. Transfer or Black Ticket Dispute ___ Fare Evasion "yo
Service _ Bus Bunching _. Graffiti
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_ Express Bus Off Schedule

Please be Aware: in the event me

Locked Turnstile

__.. Long Headways
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Employee's Description

 

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